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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF NEW YORK JUL 20 2012 O R | 6 | N L

KIM DE PRIMA, PRO SE OFFICE
PLAINTIFF

 

 

 

 

 

 

   

 

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CITY OF NEW YORK DEPARTMENT OF S Ly RA = *
EDUCATION, PII

DEFENDANT. x MMONS ISSUED “SS 2

COMES NOW THE PLAINTIFF, KIM DE PRIMA, and files this federal complaint against the DEFENDANTS, CITY OF NEW
YORK DEPARTMENT OF EDUCATION and moves this honorable court in the United States District Court for the Eastern
District of New York for a trial by jury at a time and place appointed by this honorable court.

JURISDICTIONAL STATEMENT

Yrs action is brought pursuant to the 14th Amendment of the United States Constitution and the Equal Protection Clause of

that Amendment. The action is brought pursuant to New York State Executive Law Section 296 (16) and New York Criminal
Procedure Law Section 160.60. This action also arises under Title 28 U.S.C. Section 1331 and 1343

PARTY ADDRESSES AND ACTION DATE
1. Plaintiff resides at 158 Willowbrook Road, Staten island, New York 10302.

2. The Defendants have its place of business at 52 Chambers Street, Room 308 New York, New York 10007 and is

represented in this action by Cariyne B. Tuner-Beverly who is an Agency Attorney for the New York City Department of
Education. The phone number is 212-374-6044,

3. Plaintiff was terminated from her employment at P.S. 26 located in Staten Island within District 31 also known as the Carteret
School.

4. Plaintiff asserts that the action complained of took place on November 11,2011,
FIRST CAUSE OF ACTION:

Defendants have wrongfully and unlawfully terminated Plaintiff's employment in violation of federal law under the 14th
Amendment, specifically her right to equal protection of the laws.

SECOND CAUSE OF ACTION:

Defendants have wrongfully and unlawfully terminated Plaintiffs employment under New York State Law which protected her

fram being discriminated against based on criminal charges which were never filed against her and which were required to be
e-aled, specifically New York Executive Law 296 (16) and New York Criminal Procedure Law 160.60

Vrirp CAUSE OF ACTION:

Defendants discriminated against Plaintiff because it sought her termination in two separate 3020(a) hearings and its attempts
to terminate her were denied. On the third attempt, the Defendants unlawfully and wrongfully obtained Plaintiff's termination
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\weJRTH CAUSE OF ACTION:

Defendants discriminated against Plaintiff based on the prior two 3020(a) hearings which demonstrate that none carried the
penalty of termination.

FIFTH CAUSE OF ACTION:

Defendants have discriminated against Plaintiff because the history of the prior 3020(a) hearings demonstrate that the instant
3020(a) hearing cited conduct of Plaintiff as questionable but in all other respects found her to be competent to continue
teaching in her classroom.

SIXTH CAUSE OF ACTION:

Defendants have discriminated against Plaintiff because the prior 3020(a) hearings demonstrate that Defendants deliberately,
intentionally and with reckless disregard for the truth leveled arbitrary and capricious charges against the Plaintiff continuously
in order to achieve her termination.

SEVENTH CAUSE OF ACTION:

Defendants have discriminated against Plaintiff because after its prior attempts to terminate her were rebuffed by independent
arbitrators, Defendants continued to file arbitrary and capricious charges against Plaintiff until it achieved her termination.

EIGHTH CAUSE OF ACTION:

Defendants have discriminated against Plaintiff because it violated New York State Law by using information that it knew or
should have known was barred from being used at the instant 3020(a) hearing.

\wriTH CAUSE OF ACTION:

Defendants have discriminated against Plaintiff because it commenced the instant 3020(a) hearing prior to resolution of the
criminal allegations in order to specifically gain a tactical advantage over Plaintiff to achieve her termination.

TENTH CAUSE OF ACTION:

Defendants knew that if it commenced the 3020(a) hearing prior to the resolution of the criminal allegations, it could rely on the
acts alleged to terminate Plaintiff, this violated the Plaintiffs rights to be treated equally and fairly under the law.

ELEVENTH CAUSE OF ACTION:

Defendants discriminated against Plaintiff and knew that it was discriminating against her when it sought and obtained
Plaintiffs termination because it had sought her termination for conduct in a previous 3020(a) hearing that it felt she should be
terminated for; but which an arbitrator found that she should not be terminated for.

TWELFTH CAUSE OF ACTION:

Defendants have discriminated against Plaintiff because the Constitution requires under the 14 Amendment that the
Defendants await the resolution of the criminal allegations before relying upon such allegations which comprised the conduct
that were the subject of Plaintiff's termination.

THIRTEENTH CAUSE OF ACTION:

Defendants have not treated the Plaintiff equally and fairly under the taw as is required by 14th Amendment standards in order
tr achieve her termination within the confines of the law.

SSURTEENTH CAUSE OF ACTION:

Defendants have discriminated against Plaintiff because it terminated her employment for criminal ailegations for which she
was never convicted in violation of New York State Law which specifically prevents the use of the criminal allegations to
terminate her when those allegations were resolved in her favor.
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FIFTEENTH CAUSE OF ACTION:

Defendants have discriminated against Plaintiff because they have deprived her of a property right in which she had an interest
and such right was protected under the 14th Amendment to the Constitution and under New York State Law.

SIXTEENTH CAUSE OF ACTION:

Defendants have discriminated against Plaintiff because its findings to justify her termination was an illegally concerted effart on
the part of the Defendants to achieve her termination even though it knew that it was barred from using the allegations against
her.

SEVENTEENTH CAUSE OF ACTION:

Defendants have discriminated against Plaintiff because of its own admission that Plaintiff was net convicted of the criminal
allegation that were used in the instant 3020(a) hearing to achieve her termination and such a finding demonstrates that
Defendants were only interested in termination.

EIGHTEENTH CAUSE OF ACTION:

Defendants have discriminated against Plaintiff because had Plaintiff not been the subject of a prior 3020(a) hearing that
involved manslaughter, Defendants would not have consistently sought her termination.

NINETEENTH CAUSE OF ACTION:
Defendants have discriminated against the Plaintiff because the alleged conduct that was never charged against the Plaintiff
later denied by the alleged participants in the alleged conduct and such a denial implicates the 14 Amendment's equal
tection clause and New York State Law, both of which protects Plaintiffs property right and interest in her employment.
TWENTIETH CAUSE OF ACTION:

Defendants have discriminated against Plaintiff in finding that the alleged conduct constituted grounds for termination when a
court of competent jurisdiction dismissed the allegations and key participants in the alleged conduct deny that the conduct took
place as originally reported.

TWENTY FIRST CAUSE OF ACTION:

Defendants discriminated against Plaintiff when it deprived Plaintiff of the right to a fair hearing that excludes information and
alleged conduct that is barred by law when it circumvented the legal process and preempted the court's findings and order that
the criminal allegations be dismissed for the sole and only purpose of terminating Plaintiffs employment.

TWENTY SECOND CAUSE OF ACTION:

Defendants discriminated against Plaintiff when it took hearing action and refused to separate professional standards in the
work place from that of the private personal decisions of the Plaintiff in order to achieve her termination.

TWENTY THIRD CAUSE OF ACTION:

Defendants have discriminated against Plaintiff when two prior hearing officers in 3020(a) hearings found that the Defendant's
were wrong to seek the termination of Plaintiff when her work history and performance as a teacher demonstrated that her
private choices did not affect her ability to effectively teach her students.

TAENTY FOURTH CAUSE OF ACTION:

“Sendants have discriminated against Plaintiff when the hearing officer in the instant 3020(a) hearing like the previous two
hearing officers found that Plaintiff's work history was satisfactory and she was not terminated in either of those proceedings.

TWENTY FIFTH CAUSE OF ACTION:
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\warintiff was a tenured teacher and was entitled to have a fair hearing free from bias and discrimination because of past acts
and Defendants deprived Plaintiff of this right solely because of the manslaughter conviction.

TWENTY SIXTH CAUSE OF ACTION:

Defendants had the goal of terminating the Plaintiff since the November 7, 2009 3020(a) hearing in which the manslaughter
conviction was the main issue and when the Defendants were denied their request for termination, they continued to level
arbitrary and capricious charges against the Plaintiff to achieve her termination.

TWENTY SEVENTH CAUSE OF ACTION:

Defendants discriminated against the Plaintiff because it used charges that contained filing falsified instruments and a massive
number of procedural violations that included tardiness and absences in the aftermath of the 3020(a) manslaughter hearing to
try and achieve the termination of the Plaintiff.

TWENTY EIGHTH CAUSE OF ACTION:

Defendants showed a pattern of discrimination against Plaintiff by seeking to terminate Plaintiff specifically for conduct that
would not have been pursued toward a vast majority of other tenured teachers, for example multiple tardy and absence
violations.

TWENTY NINTH CAUSE OF ACTION:

Defendants showed a pattern of discrimination by achieving the termination of Plaintiff using actions that were later found to be
without merit and untrue, specifically, the Arbitrator found that the Plaintiff had not submitted any false documents at all.

'RTIETH CAUSE OF ACTION:
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Defendants showed a pattern of discrimination by achieving the termination of Plaintiff using an unfair reassignment that was
not reflected in her performance evaluations, specifically Plaintiff never received an unsatisfactory report by superiors prior to
her termination.

THIRTY FIRST CAUSE OF ACTION:

Defendants showed a pattern of discrimination because it in fact discriminated against Plaintiff, specifically noting that her
termination was based on "conduct" that affected the Defendant, but the conduct was never charged to Plaintiff, was denied by
key participants and it was used against her only to achieve her unlawful termination.

THIRTY SECOND CAUSE OF ACTION:

Defendants showed a pattern of discrimination against Plaintiff because Defendants do not have a history of terminating
tenured teachers because of conduct that did not directly impact upon the tenured teacher's ability to perform her duties.
Specifically tenured teachers who have had relationships with their students are normally terminated, physical abuse of

students are also grounds for termination, and no such history is present with the Plaintiff.

THIRTY THIRD CAUSE OF ACTION:

Defendants have in fact discriminated against Plaintiff because no such charges have been leveled against Plaintiff and Plaintiff
has received several years of satisfactory evaluation reports; even in the instant 3020(a) hearing, there were no unsatisfactory
reports, thus making unreasonable any finding by the Defendants that Plaintiff could no fonger perform her duties.

THIRTY FOURTH CAUSE OF ACTION:

‘endants have shown a pattern of discrimination and a concerted, deliberate and planned effort to terminate Plaintiffs
\ypioyment in violation of the law, for specificity, two independent arbitrators found that Defendant's request for termination in
two separate 3020(a) hearings were not warranted.

THIRTY FIFTH CAUSE OF ACTION:
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wee 2ndants have discriminated against Plaintiff in terminating her employment on the grounds that she was not able to perform
her duties in the classroom and to be impressionable upon her students, because prior attempts for those reasons were
rejected.
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THIRTY SIXTH CAUSE OF ACTION:

Specifically on Novenber 7, 2009, the independent Arbitrator found that there was "no evidence in the record whatsoever to
suggest Respondent has ever failed to properly supervise the children in her class, nor any indication that Respondent has
exercised poor judgment in the performance of her duties." Thus the Defendant discriminated against Plaintiff in using this
hearing as justification for termination in the instant 3020(a) hearing.

THIRTY SEVENTH CAUSE OF ACTION:

On November 7, 2009 the independent Arbitrator found specifically that "the Arbitrator is not persuaded that the unfortunate
circumstances of the dogs getting loose on the property would transiate into the Respondent being negligent in the care of her
students." Thus the Defendant discriminated against Plaintiff in using this hearing as justification for termination in the instant
3020(a) hearing.

THIRTY EIGHT CAUSE OF ACTION:

The independent Arbitrator found, " Similarly, the alleged generalized comments by the faculty and administration regarding
_ Respondents choice of boyfriend is little more than idle gossip, absent any proof of demonstrated poor judgment in the
classroom." Thus the Defendants discriminated against Plaintiff in using such information in the instant 3020(a) hearing to
achieve her termination.

Wty NINTH CAUSE OF ACTION:

Finally, the arbitrator found in rejecting Defendants request for termination, “the arbitrator aiso considered that Principal Barnes
expressed to Respondent in April 2009 that she hope the Respondent could return to the school and participate in the Reading
Recovery Program. Further, there is no evidence in the record critical of the Respondents performance when she was in
school." Defendants discriminated against Plaintiff in terminating her employment based on this reasoning in the instant 3020(a)
hearing.

FORTIETH CAUSE OF ACTION

On December 1, 2010 Defendants yet again sought the termination of the Plaintiff, less than one year after being rejected in a
further pattern of discrimination against Plaintiff. _

FORTY FIRST CAUSE OF ACTION:

The Defendants sought termination under the "progressive discipline” theory relying upon the November 7, 2009 3020(a)
hearing, but the Defendant's request was again denied and rejected as “unsubstantiated.” Defendants continued a pattern of
discrimination as a result.

FORTY SECOND CAUSE OF ACTION:

The Arbitrator of December 1, 2010 held, “Generally the important timing question for purposes of progressive disciptine is
whether the supposedly prior discipline occurred before the acts for which current discipline is being considered." Defendants —
discriminated against Plaintiff in the instant hearing because it sought to use the "manslaughter hearing” as justification for
terminating the Plaintiff which had been rejected.

FARTY THIRD CAUSE OF ACTION: .

Sr Arbitrator found, "That is not the case here, and it would not be consistent with progressive discipline for me to consider
Respondent's prior 3020(a) hearing penalty in this case." Defendant discriminated against Plaintiff because it had been on
notice that using prior acts from prior hearings had already been rejected, thus use of the information again to obtain
termination shows a pattern of discrimination.
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\ee?X TY FOURTH CAUSE OF ACTION:

The Arbitrator found that the Defendants charges against Plaintiff in the December 1st hearing were not “substantiated.”
Finding, "I have found that the Department has not proved that this Respondent submitted any false documents, so the cases
the Department cites are not instructive to me on the propriety of termination in this case." Defendants discrimination against
Plaintiff is plain in the continuous nature that it sought Plaintiffs termination for acts that she has never committed.

FORTY FIFTH CAUSE OF ACTION:

Finally the Arbitrator found, “Submitting false documents is, all else equal a far more serious offense than the single non-
falsification act | have found Respondent committed." Defendants had continued to seek the termination of Plaintiff through
frivolous accusations and were rebuffed by two independent arbitrators, thus the discriminatory practice against the Plaintiff is
plain.

FORTY SIXTH CAUSE OF ACTION:

The two Opinion and Awards on November 7, 2009 and December 1, 2010 more than demonstrate that the Defendant's used
discriminatory practices against the Plaintiff and establishes a discriminatory pattern designed only to achieve her termination.

FORTY SEVENTH CAUSE OF ACTION:

Defendants yet again filed charges against Plaintiff less than a year after the second attempt to achieve termination had failed,
and after these failed attempts, Defendants finally achieved what they had sought two years before, on November 11, 2011,
Defendants finally untawfully obtained the termination of Plaintiff.

FORTY EIGHTH CAUSE OF ACTION:

\wefendants used a domestic dispute in which the Plaintiff was found by the Arbitrator to have been involved; even after a court
of competent jurisdiction has dismissed the ailegations, to achieve her termination in violation of the law and through deliberate
discrimination.

FORTY NINTH CAUSE OF ACTION:

Defendants commenced a third 3020(a) hearing against the Plaintiff based on the alleged conduct prior to the allegations being
adjudicated in court, thus violating the equal protection of the Plaintiff's right to a fair and equal hearing without the use of
barred information.

FIFTIETH CAUSE OF ACTION:
Allegations against the Plaintiff were dismissed.with prejudice for lack of evidence by the court, yet Defendants still used the

information against Plaintiff in violation of New York State Law for the specific purpose of obtaining the Plaintiff's termination
after it had failed to do so on two separate occasions.

FIFTY FIRST CAUSE OF ACTION:

In an Opinion and Award on November 11, 2011, the arbitrator finally terminated the Plaintiffs employment, untawfully granting
the Defendants what it had been strategically seeking since 2009.

FIFTY SECOND CAUSE OF ACTION:
The Arbitrator found "the fact that the charges against Respondent where dismissed does not mean that the conduct did not
occur." But under the law, the fact that Plaintiff was not charged with the conduct is the precise reason that New York State

rravented its use in a subsequent hearing, so that Plaintiff would not be negatively affected by a favorable ruling. Since the
W endants were seeking Plaintiff's termination, it ignored the rights that she was entitled to.

FIFTY THIRD CAUSE OF ACTION:

The arbitrator found that the change in testimony of the key participants in the hearing was contradictory to the initial reports,
but that it was incredible and a shock. The Arbitrator’s decision to terminate supported the discrimination that Defendants have
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Yee! practicing against Plaintiff because the testimony from the key participants in the alleged conduct is what prompted the
New York State Attorney's Office to recommend dismissing the case which the court ultimately did. Thus, the findings of the
arbitrator supports the discrimination complained of by Plaintiff.

FIFTY FOURTH CAUSE OF ACTION:

The arbitrator found, "I cannot require the Department of Education to assume the risk that in the future, Respondent could
engage in conduct which would jeopardize the well being of students entrusted to her care." But, this finding supports the
discrimination against the Ptaintiff in that the Defendants never presented and the arbitrator never found that Plaintiff had
placed the well being of students in danger at any time. indeed she had heen found to be a satisfactory teacher her entire

career.
FIFTY FIFTH CAUSE OF ACTION:

The historical findings that Plaintiff had been a satisfactory teacher and the fact that two prior hearing officers held that the
Defendants were not justified in the action that it sought further supports the fact that Defendant had a concerted effort to
terminate Plaintiffs employment.

FIFTY SIXTH CAUSE OF ACTION:

The Arbitrator of November 11, 2011 found, "While certain aspects of Respondent's private life may be of no legitimate concern
to the Department, in this case the fact that Respondent engaged in the type of behavior at issue is a matter of legitimate
concern to the Department.” The Court did not hear any facts that would make Plaintiff responsible for the aileged acts that the
arbitrator found, those facts were denied by the key participants and the court dismissed the case, thus the only conclusion
fram this finding is that the Defendants used the alleged acts unlawfully to justify the termination of Plaintiff.

'” SEVENTH CAUSE OF ACTION:

Discrimination is evident in this case because the information used against the Plaintiff in the 3020(a) hearing was prohibited
from being adversely used against her, Defendants permitted its use and terminated Plaintiff.

FIFTY EIGHTH CAUSE OF ACTION:

Defendants discriminated against Plaintiff because the Arbitrator found that the conduct "impacted her fitness to teach" based
on conduct dismissed by a court of competent jurisdiction; it was prevented from being used by the Defendants against the
Plaintiff; and there was no finding independently that Plaintiff could not perform her duties. The Defendants offered no evidence
that termination was required because Plaintiff was unfit to teach.

FIFTY NINTH CAUSE OF ACTION:

The Arbitrator acknowledged, "While | agree there is no evidence in this record that Respondent was not a satisfactory teacher
as of January 7, 2011 that does not conclude the inquiry whether she continues to be fit to teach." But the inquiry was never
about whether she was fit to teach because no evidence of charges where presented for such an inquiry. The inquiry was held
on conduct that was never to be before the Arbitrator because of New York Law and had the inquiry been about Plaintiff's
ability to be fit to teach, the 14 Amendment required that she be given an opportunity to address that issue. Plaintiff was
discriminated against.

SIXTIETH CAUSE OF ACTION:

Neither the Arbitrator nor the Defendants presented any incident which happened over the course of Plaintiffs career that
demonstrated that she was unable or unfit to be an effective teacher, thus the Defendants continued their pattern of
discrimination.

We TY FIRST CAUSE OF ACTION:

Defendants did not cite any student who had made a complaint against the Plaintiff, and it did not cite any complaints from
student's parents about the Plaintiff's inability to teach her students even after the incident was referenced in local news papers.
The alleged acts were dismissed and Plaintiff was not charged with the conduct upon which her termination was based, thus
this reveals the discriminatory nature of the Defendants against Plaintiff.
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SIXTY SECOND CAUSE OF ACTION:

The Arbitrator found on behalf of Defendants that Plaintiff" cannot be a role model for impressionable students" and that she
showed “an astounding lack of judgment” and that "she can no longer be trusted to exercise the type of judgment required of
teachers working with students in New York City Schools. But the finding is clearly at odds with the history of Plaintiffs
performance and shows the discriminatory lengths at which the Defendants went to achieve her termination.

SIXTY THIRD CAUSE OF ACTION:

Defendants did not produce any evidence that Plaintiff lacked good judgment when it came to teaching her students in the
classroom. And Plaintiff consistently received satisfactory evaluations that do not support the discriminative position of the
Defendants.

SIXTY FOURTH CAUSE OF ACTION:

The Defendants created a risk for the Plaintiff that did not exist, was not present to support her termination and there was no
support or evidence in the record that Plaintiff was a future risk to students in the classroom. Thus risk was created for the sole
purpose discriminating against the Plaintiff to terminate her employment.

SIXTY FIFTH CAUSE OF ACTION:
The Arbitrator on behalf of the Defendants cited both the November 7, 2009 and December 1, 2010 3020(a) hearings to support

its conclusion. But the findings in both these proceedings were more favorable to the Plaintiff than Defendants had sought, they
did not achieve her termination and they brought additional charges in an effort to terminate her yet again, it is discrimination.

‘TY SIXTH CAUSE OF ACTION:

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Defendants have used a deliberate, planned and concerted effort to terminate the Plaintiff. it has sought her termination since
November of 2009 and tried each subsequent year thereafter to terminate her until those efforts succeeded in 2011.

SIXTY SEVENTH CAUSE OF ACTION:

Defendants violated Plaintiff rights under New York State Law. It violated her rights under the Constitution.
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Defendants have distorted and misrepresented Plaintiff's teaching record in order to achieve her unlawful termination.
SIXTY EIGHTH CAUSE OF ACTION:

This Complaint more than sufficiently establishes factual disputes that should proceed to the jury for trial.

SIXTY NINTH CAUSE OF ACTION: |

Defendants should riot be allowed to commit these obvious patterns of discrimination against Plaintiff and terminate her
employment in violation of the laws of New York State and the Constitution.

SEVENTIETH CAUSE OF ACTION:

Defendants should be held accountable for the discrimination that it has committed against the Plaintiff in 2009, 2010, and
2011.

SEVENTY FIRST CAUSE OF ACTION:

Because of the discrimination of the Defendants against Plaintiff, Plaintiff is entitled to punitive damages in the amount of $3.5
million and compensatory damages of $500,000.

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in the alternative, Plaintiff should be immediately reinstated to her employment and compensated $250,000 for her loss of
wages and income, duress, emotional distress, and mental strain.

/ENTY SECOND CAUSE OF ACTION:

5. Plaintiff prays for this relief and any other relief that is deemed appropriate by this court. In the event that this Court finds that
the Plaintiff has not stated grounds on which relief may be granted, Plaintiff seeks the right to amend this Complaint.

6. On February 15, 2012, Plaintiff flied a verified Complaint with the New York State Division of Human Rights and on March 17,
2012 the NYSDHR dismissed Plaintiffs Complaint for no probable cause.

7, On March 21, 2012, The Supreme Court of the State of New York (Hon. Philip G. Minardo) of Richmond County entered an
order dismissing the appeal of the Decision of the Arbitrator and the NYSDHR'‘s no probable cause findings.

8. On April 25, 2012, the United States Equal Employment Opportunity Commission dismissed Plaintiffs charges finding that the
charge did not state a claim enforceable under statues by the EEOC.

9. On the same date immediately above, the EEOC issued a right to sue letter.

WHEREFORE PLAINTIFF attests that the facts listed above are true and correct to the best of her knowledge and prays that
the court grant the TN sought and grants the demand of a jury trial on the facts claimed above.

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Kim De Prima
PLAINTIFF n

Dated this dS Day of July, 2012

we
EEOC Form 164 (11/09) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To Kim DePrima From: New York District Office
158 Willowbrook Road 33 Whitehall Street
we Staten Island, NY¥ 10302 5th Floor

New York, NY 10004

 

[ ] On behaif of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7{a))
EEOC Charge No. EEOC Representative Telephone No.

Jean E. Mulligan,
520-2012-01296 Investigator (212) 336-3748

 

THE EEOC IS CLOSING JTS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This doses not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

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Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent({s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equai Pay Aci (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for wiliful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

 

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Enctosures(s)} Kevin J. Berry, (Date Mailed)

District Director

°c Robin Singer

Associate Counsel
NYC DEPARTMENT OF EDUCATION
Office of Legal Services
: 52 Chambers Street, Room 308
‘ee New York, NY 10007
 

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UNIVERSITY OF THE STATE OF NEW YORK
STATE EDUCATION DEPARTMENT
SCHOOL DISTRICT EMPLOYER-EMPLOYEE RELATIONS ihaaiston # 20FjON O31 OOS “By
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In the Matter of the Proceeding Pursuant Atty. IE _ Fie @
to Section 3020-a of the Education Date Rec'd
Law
between
OPINION and AWARD
THE DEPARTMENT OF EDUCATION OF THE CITY File #13,330
SCHOOL DISTRICT OF THE CITY OF NEW YORK
and
KIM DEPRIMA
|
BEFORE: Bonnie Siber Weinstock, Arbitrator
APPEARANCES:
For the Complainant: Michael Best, akg
Counsel, by Crystal Barrow, Esq.
ee For the Respondent: James Sandner, Esq., by Keith J.

Gross, Esq. - Associate Counsel
Richard A. Shane, Esq. - Associate
General Counsel
Kim DePrima - Respondent
Pursuant to Section 3020-a of the New York Stare
Education Law, Charges were preferred by The Department of
Education of the City School District of The City of New York
{"Department”") against tenured teacher Kim DePrima ("Respondent")
which alleged that the Respondent engaged in criminal conduct,
conduct unbecoming her profession and that she was excessively
absent. (D-1)? Those Charges sought as a penalty the

Respondent ’s dismissal from service. Each of the Specifications

contained in the Charges is discussed below. A prehearing

 

1 The Department's exhibits are referred to herein as "D-"
and the Respondent's exhibits" are marked "R-."
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conference was held on September 22, 2009. Thereafter, hearings
on the Charges were conducted before the undersigned Arbitrator
on October 2 and 5S, 2009. The hearings were tranacribed.? The
parties had full and fair opportunity to present evidence and
argument, to engage in the examination and cross-examination of
sworn (or affirmed) witnesses, and otherwise to support their
respective positions. The record was declared closed after oral

summations.

BACKGROUND

The Respondent has been employed by the Department as a
teacher for more than twelve years. The last position she held
before her removal from service was as a Reading Recovery
Teacher. At all times relevant to these Charges, the Respondent
was assigned to P.S. 57, the Hubert H. Humphrey School in
Dastrict 31 in Staten Island.

The instant Charges and Specifications can be grouped
into two categories. The first concerns an incident in the
summer of 2008 which ultimately resulted in the death of an
elderly neighbor of the Respondent, and the second group involves
alleged time and attendance violations during the academic years
2006-2007, 2007-2008, and 2008-2009.

The Department urges that the criminal conduct for

which the Respondent pled guilty demonstrates her unfitness for

 

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duty, ag she exercised extremely poor judgment in getting
invelved with a man ten yeare her junior who had been
incarcerated for a serious crime, and in ailowing pit bulls to be
in a home with young children. The Department also expressed
that the Respondent’s criminal activity brought negative
publicity and embarrassment to the Department. Finally, the
Department urges that the Respondent’s excessive absence and
lateness record indicates that the Respondent neglected her
duties. The Department urges that termination is the appropriate
penalty in this matter.

The Respondent, on the other hand, maintains that the
Department has failed to prove that she is unfit to be a teacher.
With respect to the time and attendance Specifications, the
Respondent urges that she received a "satisfactory" rating, even
with reapect to attendance, for the 2006-2007 and 2007-2008
school years. The Respondent argues that the Department has
failed to produce any policy regarding excessive lateness, and as
to the policy on excessive absences, the Respondent did not
exceed the ten absences that would produce a "U" rating for the
2006 through 2008 school years. As to the 2008-2009 school year,
the Respondent urges that there are mitigating factors that
should be considered.

With respect to the criminal activity to which she pled
guilty, the Respondent argues that she expressed remorse and that
she is still capable of being an effective teacher. The

Respondent urges that any publicity attached to the unfortunate
*

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incident in July 2008 did not rise to the level of "notoriety, "
as the only media entity showing any interest in the matter was a
local newspaper. The Respondent urges that she be restored to

the payroll and retuzned to full duty.

DISCUSSION

A. CRIMINAL ACTIVITY

The first group of Specifications concerns an incident

in July 2008, Specifications 1 through 9 state:

SPECIFICATION 1: On or about the months of May through
June, 2008, Respondent, along with another, failed to
ensure dogs under their care and control did not escape
the confines of 59A Newkirk Avenue, Staten Island, ny,
where Respondent resided.

~ SPECIFICATION 2: On or about July 1, 2008, Respondent,
along with another, failed to restrain dogs under their
care and control.

SPECIFICATION 3: As a result of the conduct in
Specification 2, above, Respondent, along with another,
recklessly caused serious physical injury to Henry
Piotrowski, her 90 year old neighbor.

SPECIFICATION 4: As a result of the conduct in
Specification 2 and 3 above, Respondent waa arrested
and indicted and charged with: Assault in the Second
Degree, New York State Penal Law, (hereinafter P.L.)
§120.05(4); Agsault in the Third Degree, P_L.
§120.00(2); Unlawfully Dealing with Pireworks, P.L.
§270.00(2) (a) (i), and two counts of Dogs to be
Restrained, New York City Health Code §161.05.

SPECIFICATION 5: As a result of the conduct in
Specifications 2 and 3 above, on or about August 17,
2008, Respondent, along with another, recklessly caused
the death of Henry Piotrowski.

SPECIFICATION 6: On or about October 1, 2008, as a
result of the conduct in Specifications 2, 3 and 4
above, Respondent, along with another, was arraigned on
superseéding indictment charging her with Manslaughter
in the Second Degree, P.L. §125.15(1) for recklessly
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causing the death of Henry Piotrowski and the charges
listed in specification 3, above.

SPECIFICATION 7: On or about February 25, 2009, as a
result of the conduct listed in specifications 2, 3, 4
and 5 above, Respondent plead (sic) quilty to
Manelaughter in the Second Degree, P.L. §265.15(1), a
Class C Felony for recklessly causing the death of
Henry Piotrowski.

SPECIFICATION &: On or about April 16, 2009, ag a

result of the conduct listed in specifications 2, 3, 4,

5 and 6 above, Respondent was sentenced for the crime

of Manslaughter in the Second Degree, P.L. §25.15{1), a

Clase C Felony, to five years probation, for recklessly

causing the death of Henry Piotrowski.

_SPECIPICATION 9: Respondent's conduct ag detailed in
specifications 2, 3, 4, 5 and 6 above, caused
widespread negative publicity, ridicule and notoriety
to the NYC Department of Education as said misconduct
wag reported in the news reports and newspapers in the
New York area, during on or about the monthe of July,

N August, September, October 2008 and February and April

2009.

The Respondent did not testify in this proceeding, as
is her right. The record reveals that the Respondent pled guilty
to the Class C Felony, Manslaughter in the Second Degree, for
recklessly causing the death of Henry Piotrowski, and was
sentenced by the court to five years probation. The information
regarding the plea and sentencing is contained in documentary
evidence, including the transcript from the February 25, 2009
court proceeding which contains her allocution (R-21), and the
transcript from the sentencing (R-22).

The Arbitrator notes certain facts from the court
transcript (R-22). Firat, the Judge described this as a plea to
a "class C nonviolent felony." (R-22, page 12). The Respondent

allocuted to the following essential facts: That on or about
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July 1, 2008, she and her codefendant, James McNair, raised two’
pit bull dogs and recklessly failed to properly restrain the
dogs. Mas. DePrima told the court that she was not aware that the
dogs had violent tendencies or that they had harmed anyone in the
past, though she was told by a neighbor that the degs had chased
a neighborhood cat. (R-22, pages 198-20}. The newspaper articles
Gescribed that the degs mauled a 90 year old neighbor, Henry
Piotrowski, who later died. The Respondent allocuted to, along
with James McNair, recklessly causing the death of Mr.
Piotrowski. (R-22, p. 20).

Based on the Respondent’s allocution and plea, the
Arbitrator finds that the facts ag stated in Specifications 1
through 9 are proven. In the pre-hearing conference (R-1), and
again at the close of the Department’s case (T:389-94}, the
Respondent Moved to Dismiss Specifications 1 through 9 as failing
to allege any nexus between the off-duty/off-premises acts and
the Respondent’s employment. The Respondent also alleged that
Specifications 4 and 6 do not allege any offense and simply
restate that the Respondent was criminally chaxged and arraigned.
The Arbitrator denied the Motion to Dismiss Specifications i
through 9 at the hearing and stated that the ruling would be
fully considered in the Opinion and Award. (T:393). I now
explain that ruling.

The Arbitrator finds that as a technical matter,
Specifications 1 and 2 do not allege any failure to perform the

duties of the Respondent's position and do not, standing alone,
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render her unfit to serve a teacher. To be sure, the asaertion
(in Specifications 3 and 5) that the Respondent acted recklessly
which resulted in serious physical injury and, ultimately, death
to a person does state an allegation that has potential
connection to the Respondent‘s ability to serve as a teacher and
be responsible for the well-being of students, Specifications 4
and 6 connect to Specification 9 insofar as the negative
publicity concerning the arrest and indictment impacted the
school. The Arbitrator therefore finds that while the facts
contained in Specifications 1 and 2 are relevant to the
Reapondent’s ultimate plea, they do not constitute discrete bases
for conduct unbecoming a professional nor do they render the
~ Respondent unfit to serve aa a teacher. Accordingly,

Specifications 1 and 2 are dismissed. The Arbitrator denies the
Motion to Dismiss Specifications 3 through 9.3

The Arbitrator now turns to the heart of the matter
regarding this group of Specifications. The Respondent pled
guilty to Manslaughter in the Second Degree for recklessly
causing the death of a 90 year old neighbor by failing to secure

two potentially violent dogs on her property. The Respondent's

 

3 At the hearing, the Arbitrator expressed that
Specifications 4 and 6 contain facts which need to be in the record
"as factual predicates to what caused [the Respondent} to he

removed from the classroom." However, the Arbitrator agreed that
the mere statement of an indictment or arrest is not enough to
prove misconduct. (T:390-91). The indicrment and arrest do become

relevant where, as here, they bring negative publicity to the
school, as charged in Specification 9. Accordingly, Specifications
4 and 6 are sustained insofar as they are incorporated in
Specification 9 regarding adverge publicity.
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guilty plea establishes the facte contained in Specifications 3
through §. To be gure, this is a tragedy for the decedent who
suffered a horrible death, and for hig family. The Arbitrator
notes from the numerous newspaper articles and on-line news
reports about this tragedy that were offered into the record (D-
12), that thia matter received substantial coverage in Staten
Island where the Respondenr taught. The Arbitrator finds that
the Respondent's conduct caused negative publicity for the school
in and around the time noted in Specification 9, which I now
sustain. The Arbitrator also sustains Specifications 3, 4, 5, &,
7 and @. These Specifications demonstrate conduct unbecoming a

professional. The appropriate penalty is discussed below.

BR. TIME and ATTENDANCE

The following Specifications allege excessive lateness
and absence in each of three school years. Principal Sandra
Barnes testified that the Teacher Handbook she created commencing
with the 2007-2008 school year notified teachers that ten or more
absences could result in a "U" rating. (R-2; T:315). From this,
the Respondent argues that fewer than ten absences per year must
be permissible. The Arbitrator does not agree, First, an
employee who demonstrated "patterned absences" (e.g., absences on
days surrounding weekends or holidays) could still be disciplined
for unexcused or excessive absences. Second, an employee who
called in sick and then was seen at a televised baseball game may

be guilty of sick leave abuse, even with fewer than ten absences.
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Therefore, questions of time and attendance abuse must be
carefully evaluated to determine when discipline may be imposed
for lack of dependability. Chancellor‘s Regulation C-601 (D-8)

Places employees on notice of such factors when it states, in

pertinent part:

1. Service Required in Schools

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c. While actual absence which has been excused in
accordance with regulations does not, of and by
itself, constitute grounds for disciplinary
action, absences which are so numerous as to Limit
the effectiveness of service may lead to
disciplinary action for incompetent service or
unfitness to perform obligations properly to the
service. The fact that excuse or leave was
applied for and granted properly does not preclude
disciplinary action which may range from adverse
rating to the inatitution of proceedings for
dismissal or termination of service. Such
disciplinary action shall net be precluded even
when the cause of absence is a medical or physical
condition.

Applying this standard, the Arbitrator now evaluates the record
evidence regarding Specifications 10 through 15.

Angela Ulsamer, the long-service Payroll Secretary at
the Respondent‘s school, testified regarding the time records for
lateness and absence. As indicated below, the documentation
regarding certain of the dates charged is conflicting. (T:421).
The Arbitrator endeavored to resolve conflicts in favor of the
Respondent but, as noted below, that still produced a finding of

excessive lateness and absence in certain years.

SPECIFICATION 10: During the 2006-2007 school year
Respondent was absent eight (8) times on the following

Ne dates:
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1 Friday October 13, 2006*

2 Wednesday November 22, 2006

3 Tuesday January 16, 2007*

4 Wednesday January 17, 2007

5 Monday March 19, 2007*

6 Friday April 20, 2007+

7 Friday June 1, 2007*

3 Monday June 18, 2007%*

*The above-mentioned absences occurred preceding or
following a weekend and/or holiday.

The Cumulative Absence Reserve ("CAR") (D-2) for the
Respondent demonstrated that each of the above dates was listed
as an absence and the Respondent signed her name next to each
entry indicating her understanding that the date was logged as
absent from school. (Her signature also appears next to every
entry for lateness.) The CAR reflects, and Ms. Ulsamer
confirmed, that medical notes were provided for the November 22nd
(R:51; R-3) and the January 16 and 17 dates (T:53-56; R-4,5),
while March 19, April 20 and June 1 were coded ag self-treated
absences. The Arbitrator finds that none of the medical notes
offered a diagnosis to explain the absence.

The record indicates that for the 2006-2007 school
year, the Respondent taught second grade. ‘Therefore, if she was
absent, a substitute had to be arranged (T:22) and instruction
was impacted. Likewise, her class had to be covered if she was
late. The Arbitrator finds that the Reapondent was absent §
times, with 7 of the § absences contiguous to a weekend or
holiday. While this may not meet the rule contained in the
Handbook (i.e., ten absences produce a "U" rating}, it

nevertheless evidences an unacceptable pattern. Specification 10

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is sustained.

SPECIFICATION 11: During the 2006-2007 school year
Respondent was late eight (8) times on the following

dates:
1 Wednesday October 11, 2006 @ minutes
2 Tuesday October 16, 2006 7 minutes
3 Thursday November 2, 2006 &8 minutes
4 Monday November 13, 2006 30 minutes
5 Friday January 19, 2007 21 minutes
6 Thursday May 10, 2007 5 minutes
7 Thursday May 15, 2007 a minutes
8 Monday dune 11, 2007 8 minutes

Ms. Ulsamer testified that the teacher workday was 8:10
AM to 3:05 PM. (T:24).* The Respondent’s CAR (D-2) indicates
that for items 2, 3, 4 and 5 above, the Respondent signed her
name indicating that she knew she was marked late on those days
and for the number of minutes listed. The Respondent's CAR does
not list a late arrival for October 11, May 10 or June 11, though
those latenessea are listed on the computer records (D-6; T:66-
67). The Arbitrator finds that the employee is given the
opportunity to sign the CAR, but not the computer recards.
Therefore, the CAR is whar places the employee on notice of the
timekeeping information the Employer has, and the CAR would

enable the employee to challenge any incorrect data. Therefore,

 

4 principal Barnes testified that for the 2006-2007 school
year, the teacher workday was 8:00 AM to 3:05 PM. (T:318). The
Arbitrator finds it more likely that Ms. Ulsamer is correct,
because the time cards provided for the 2007-2008 school year (D-3)
seem to be based on an 6:10 AM start, and no one has suggested that
the start time for school changed between the 2006-2007 and 2007-
2008 schoo! years. In any event, MS. DePrima signed her CAR which
listed the number of minutes of lateness and she did not dispute

\ the amounts.
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for the purpose of this analysis, and to give every consideration
to the Respondent, the Arbitrator gives weight to the CAR over
the employee information system time record (D-6).7 The
Arbitrator finds that items 1, 6 and §& of Specification 11 are
dismissed. With respect to May 15th, the CAR states that the
Respondent was 14 minutes late, and the Respondent signed that
entry on her CAR. However, she is only charged with an 8 minute
lateness and the Arbitrator sustaina that item. Thus, the
Respondent was late five times in the 2006-2007 school year.
Together with the pattern absences sustained in Specification 10,
the Arbitrator finds that the Respondent had an unacceptable time
and attendance record in the 2006-2007 school year.

Specification 11, except for items 1, 6 and §, is sustained.

SPECIFICATION 12: During the 2007-2008 school year,
Respondent was absent times on the following dates

(sic):
1 Friday October 12, 2007*
2 Thursday November 9, 2007
3 [withdrawn at hearing on October 2, 2009}
(T:8)
4 Thursday May 1, 2008
5 Tuesday May 13, 2008
6 Friday May 23, 2008*
7 Tuesday May 27, 2008
8 Thursday June 5, 2008
9 Friday June 20, 2008%
10 Thursday June 26, 2008 *last day of

school

 

5 In so doing, the Arbitrator is not suggesting that the
employee information system is anything other than an official
record. The Arbitrator simply indicates that even using the time
and attendance data signed by the Respondent, her record

demonstrated neglect of duty.
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*The above-mentioned absences occurred preceding or
following a weekend and/or holiday.

The Respondent signed her Cumulative Absence Reserve
(D-2) to reflect that she was absent on each of these dates.
However, these absences do not demonetrate the pattern absences
evidenced in Specification 10, nor do they rise to the level of
being excessive. Of significance, the Respondent did not have
absences in the six month period between November 8th and May
ist. Accordingly, while the Respondent was absent ‘as charged,
she ia not guilty of misconduct or neglect of duty based on these

absences alone. Specification 12 is dismissed.

SPECIFICATION 13: During the 2007-2008 school year,
Respondent was late thirteen (13) times on the
following dates:

1 Thursday September 6, 2007 11 minutes
[amended at the October 2, 2009 hearing]
{T:9}
2 Monday September 17, 2007 3 minutes
3 Wednesday November 278, 2007 2 hours 45
min.
4 Thursday November 29, 2007 4 minutes
5 Tuesday January 29, 2008 3 minutes
6 Monday February 4, 20098 Li minutes
7 Tuesday February 5, 2006 2 minutes
8 Friday Friday (sic) 8, 2008 1 minute
3 Thureday March 4, 2008 2 minutes
10 Friday March 5, 2008 3? minutes
11 Friday March 7, 2008 11 minutes
42 Friday April 11, 2008 5 minutes
13 Monday April 14, 2008 2 minutes

Ms. Ulsamer testified that for the 2007-2008 school

year, the teacher workday was 6:10 AM to 3:05 PM. (T:24. See
note 4, supra). In evaluating the documentary evidence and

whether the time cards demonstrate the lateness charged, the
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Arbitrator uses 8:10 AM as the start time.

On the Respondent's Cumulative Absence Reserve Card (D-
2), November 28th is not listed as a lateneas, but as an absence
of 2 hours and 45 minutes. On the Respondent's time card (D-3),
there is a punch out time of 12:12 PM for November 28th. It thus
appears that the Respondent left the building and did not return.
Thia should not have been classified as a lateness, but as a
partial absence. Ms. Uleamer testified that it is possible the
Respondent attended a conference that day. (T:78). Accord-
ingly, item 3 of Specification 13 is dismissed.

Item 8, though listed in the Specification as "Friday"
is listed on the CAR as February 8th, a one minute lateness, In
all other respects, the lateness charged in Specification 13
appear on the Respondent’s CAR and she has signed her name next
to every entry. However, the Respondent’s time card (D-3) for
March 7th indicates a punch in time of 6:11. Therefore, she was
one minute late and not 11 minutes as charged. Accordingly,
Specification 13, item 11 ia dismissed. In all other respects,
the items in Specification 13 are factually accurate. The
Arbitrator finds that of the 11 items remaining, 7 are latenesses
of one to 3 minutes. To be sure, these short duration latenesses
evidence a disregard of the obligation to be on time and must he
remedied by the Respondent. However, these proven latenesses,
standing alone would not support a finding of neglect of duty and
would not merit the severe discipline imposed herein. For this

reason, the Arbitrator dismisses Specification 13 in ita
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entirety.

SPECIFICATION 14:

15

During the 2008-2009 school year the

Respondent was absent eighteen (18) times on the

following dates:

1 Friday September 19, 2008*
2 Monday October 20, 2008+
3 Friday October 31, 2005* (sic)
4 Tuesday December 9, 2008
5 Friday January 9, 2009
6 Wednesday January 14, 2009
7 Thursday Janyary 29, 2009
B Friday February 6, 2009* .
9 Monday February 23, 2009
10 Tuesday . February 24, 2009
12 Wednesday February 25, 2009
12 Thursday February 26, 2009
13 Friday February 27, 2009%
. 14 Monday March 2, 2009°
15 Tuesday March 3, 2009
16 Wednesday March 4, 1009
17 Thursday March S, 2009
18 Friday April 3, 2009*

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*The above-mentioned absences occurred
following a weekend and/or holiday.

SPECIFICATION 15: During the 206
the Respondent was late approxima
times on the following dates:

preceding or

08-2009 school year
tely thirty-seven (37)

New 15

1 Monday October 6, 20086 20 minutes
2 Tuesday October 14, 20098 10 minutes
3 Tuesday October 21, 2008 40 minutes
4 Monday October 27, 2008 30 minutes
5 Thursday October 30, 2008 10 minutes
6 Friday November 7, 2008 50 minutes
7 Wednesday November 19, 2008 19 minutes
8 Thursday November 26, 2008 1 hour 20
min.
9 Friday November 21, 2008 1 hour 50
man.

10 Monday
il Tuesday
12 Tuesday
13 Wednesday
14 Thursday
Monday

2008 10 minutes
2008 25 minutes

November 24,
November 25

December 2, 2008 35 minutes
December 3, 2008 10 minutes
December 4, 2008 35 minutes
December 9, 2008 35 minutes
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During the 2008-2009 school year, the Respondent was in

the Reassignment Center.

Since she was not at the school,

her

Signature does not appear on her CAR for the 2008-2009 entries.

Ms. Ulsamer testified that personnel at the Reassignment Center

sent her the time record information for the Respondent at the

end of each month and Ms. Uleamer entered that data onto the

Respondent’s CAR (D-2)

(T:40-412) .

Center appears in the record as Department exhibit 4.

and into the employee information system.

The documentation received from the Reassignment

As to the 18 absences charged in Specification 14, the

record evidence reveals that March 2, 2009 was a snow day.

(T:98-99, 356).

member was expected at work.

Neither the Respondent nor any other faculty

This date should not have heen
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charged, and item 14 is dismissed. (T:392). The Arbitrator
finds that the 17 absences clearly are excessive in number and
Specification 14 is sustained (except as to item 14).

Specification 15 charges 37 latenesses. Item 17 of
this Specification is December 12th. On the CAR, the date is
listed but there ig no entry to indicate whether it is an absence
or, if a lateness, the duration. The time records from the
Reassignment Center (D-7) show that the Respondent signed in at
8:20 and left at 3:00. Therefore, she was ten minutes late for
work; she was not absent. The Specification regarding December
12th is sustained.

“ The sign-in sheet from the Reassignment Center states
that the Respondent’s work schedule is 9:20 to 3. (D-7). Ms.

Ulsamer testified that the teacher work day at the school began
at 8:15 AM that year. (T:106). The Arbitrator finds that the

paperwork given to the Respondent advised her Ehat her workday

began at 8:10 and she was Charged according to that schedule.

The Respondent presented no evidence to indicate that she thought

her workday began after 8:10.

With respect to these latenessesa, which certainly are
numerous, because the Respondent was not in the school, her
lateness did not impact the instructional program. Nevertheless,
the Arbitrator finds that the Respondent was required to be
present and on time even while in the Reassignment Center. A
document offered inte the record by the Respondent shows that her

day was 8:10 AM to 3:00 PM and it states, "Enter and initial your
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actual arrival and departure times daily." (R-20). That the
Respondent failed to be present on time ig an indication of a
lack of dependability. The Arbitrator finds that the Respondent
knew she was expected to keep the hours listed on the time sheet.
No evidence has been presented to indicate that she could modify
the arrival or departure times for her personal convenience.

The Arbitrator further finds that 15 of the 37
latenesses were for 30 minutes or more, with 5 of the 15 lateness
of one hour or more. The Arbitrator finds the latenesses to be
excessive and meriting discipline. In reaching this conclusion,
the Arbitrator acknowledges Principal Barnes’ testimony that the
Respondent told her that she was having babysitting problems.
(T:359). Principal Barnes stated that the Respondent was
pregnant during the 2007-2008 school year and gave birth shortly
after the end of school. The Arbitrator finds that even if
babysitting problems were the cause of the Respondent's lateness,
she had an obligation to remedy that problem and to report to the
Reasgsignment Center on time. There is no evidence in the record
to suggest that the Respondent made any arrangements for a later
arrival time than 8:10 AM.

In weighing the appropriate penalty for the Charges
proven on this record, the Arbitrator also considera that certain
of the Respondent’s defenses to the time and attendance Charges
are quite suspect. For example, the Reapondent submitted a nore
from the attorney representing her in the criminal matter

claiming that she was in court on eight listed dates. (R-16).
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Included in that list were the dates February 23 and 25, 2009.
However, the Respondent submitted doctors notes to excuse those
Bame two dates. (R-13). There can be no suggestion of
confusion, as the Respondent reiterated her desire for a medical
excuse for those dates in her undated letter apparantly
responding to her meeting with Principal Barnes on April 284,
2009. (R-17).

Principal Barnes testified that on April 28, 2009, she
spoke to the Respondent ahout her lateness and absences. (D-11;
T:322, 325). The Respondent argues that she was not late on any
day in May, demonstrating that she improved her time and
attendance record once she was admonished. The Arbitrator finde
that the Reapondent knew that she had an obligation to be at work
on time, every day. The Arbitrator expressly rejects any
suggestion by the Respondent that her failure to receive a copy
of the Teacher Handbook for 2008-2009 (since she was in the
Reassignment Center) somehow denied her notice of the expectation
to report for work on time, even though she understood that
obligation in all of her prior years of service. In addition,
the Arbitrator credits the uncontroverted teatimony of Principal
Barnes that before making the Respondent the Reading Recovery
Teacher for the 2007-2008 school year, Ms. Barnes spoke with the
Respondent about her attendance "because there were some problems
with her being at work al] the time -- on time and at work."

(T:321).

The Arbitrator notes that the Department did not charge
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the Respondent with six latenesges ranging from 20 to 50 minutes
in January 2009. (D-4). The Arbitrator points this out simply
to show that the record lacks evidence of animus against the
Respondent. The Arbitrator sustains Specification 15 and finds
that the 37 instances of lateness charged were excessive and

constitute neglect of duty.

The Arbitrator now turns to the question of the
appropriate penalty based upon the Specifications sustained in
this record. To be sure, conduct which occurs off-duty and off-
premises can be the basis for discipline by an employer if the
off-duty/off-premises conduct has a nexus to the work of the
employee. The Department urges that a nexus has been
demonstrated because the Respondent demonstrated very poor
judgment in getting involved with Mr. McNair who served time for
a violent crime (T:337), and for being reckless by having pit
bulls, which are known to be violent dogs, in the vicinity of her
young children. According to the Department, all of these
factors indicate that the Respondent showed poor judgement in her
personal life and she cannot be depended upon to demonstrate good
judgment when she is in the classroom. The Department algo
argues that the Respondent's actions brought negative publicity
and ridicule to the school.

The Arbitrator finds that there is no evidence in the
record whatsoever to suggest that the Respondent has ever failed

to properly supervise the children in her class, nor is there any
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indication that the Respondent hag exercised poer judgment in the
performance of her duties as Reading Recovery Teacher, the
position Principal Barnes asked the Respondent to assume for the
2007-2008 academic year. (Ms. Barnes did speak with the
Respondent about her absences and latenesses as a dependability
matter, and that is discussed below.) Thus, the record is devoid
of any evidence to indicate that the Respondent exercised poor
judgment in the classroom, or that she was at riak of failing to
supervise her students. Accordingly, the Arbitrator is not
persuaded that the unfortunate circumstances of the dogs getting
loose on her property would translate into the Respondent being
negligent inthe care of her students. Similarly, the alleged
generalized comments by the faculty and administration regarding
the Respondent’s choice of boyfriend is little more than idle
gossip, absent any proof of demonstrated poor judgement in the
classroom.

However, the Arbitrator is persuaded that the
Respondent’s actions brought ridicule and negative publicity to
the school. Any argument that several of the articles offered
into the record (D-12) come from unknown websites and were not
likely to have been viewed by many people ig not compelling. The
record indicates that numerous articles appeared in the Staten
Island Advance, which has a local readership. This case gained
notoriety because of the tragic outcome, i.e., the gruesome death
of a 90 year old man. The negative publicity does constitute a

nexug to the Respondent’s employment, though the strength of this
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connection should not be overstated.

The Department offered approximately 33 newa articles
or on-line news items into the record (D-12) regarding the story
of Mr. Piotrowski being mauled by two pit bulls, requiring two
amputations and ultimately dying. At least 9 of these 33
articles mentioned only Ms. DePrima’s boyfriend (McNair) as the
owner of the dogs and did not mention the Respondent at all, and
several other articles named neither the Respondent nor Mr.
McNair. Only one article referred to the Respondent as a New
York City school teacher, and that article was written by the
decedent's niece. Thus, while those who already knew Ms. DePrima
-- including her students and their parents -- could read ample
articles about this incident and know that it concerned a
teacher, this was not a case where negative publicity completely
Flooded the school or the Department. Ms. Barnes testified that
several teachers, administrators and a parent liaison discussed
this incident and the publicity with her. The Arbitrator is
persuaded that the Respondent brought negative publicity to the
school and that provides a connection between the off-duty/off-
premises conduct and the Respondent’s employment. Thus, some
discipline is appropriate.

In deciding on the appropriate penalty, the Arbitrator
also considered that Principal Barnes expressed to the Respondent
an April 2009 that she hoped the Respondent could return to the
school and participate in the Reading Recovery Program. (T:391-

82). Further, there is no evidence in the record critical of the
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Respondent's performance when she was in school. (There is more
than ample evidence that she had problems getting to school on
time and that she took excessive days of absence.) The
Arbitrator therefore finds that a substantial penalty is
necessary, but termination is not the appropriate penalty for the
neglect of duty and conduct unbecoming a profesgional that is
proven on this recard.

The record indicates that the Respondent has been off
the payroll since June 18, 2009. (T:116). The Respondent argued
that she should be returned to the payroll om October 17, 2009,
the expiration of the two month period described in the
collective bargaining agreement covering teachers.® The
Department had argued that it was entitled to a thirty day
extension of the time off the payroll so long as the Department
was not delaying the 3020-a proceedings. The Arbitrator finds
that the question whether there can be an automatic extension of
the time off the payroll pending the decision in a 3020-a case is
a substantial question that would need to be resolved, if at all,
under the grievance arbitration procedures of the collective
bargaining agreement covering teachers in which Article 21{G) (7)

is centained. (For this reason, the Arbitrator responded

 

6 Article Twenty-One (G)(7) of the collective bargaining
agreement dated October 13, 2007 states: "Tenured pedaqoques who
have been convicted of, or who have pled guilty to, any felony not
addressed in paragraph 5, above shall be suspended without pay
pending the final outcome of the Education Law §3020-a disciplinary
preceeding. The §3020-a hearing should be completed within two
tmonths, but the suspension without pay shall be extended one
additional month if the hearing has not been completed, unless the
Board has received an adjournment or otherwise delayed the case."
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prematurely during the 3020-a proceeding by stating that the
Respondent should be returned to the payroll.)

In e-mail correspondence between Counsel immediately
following the hearing, it appeared that the Department was not
returning the Respondent to the payroll. In determining the
appropriate penalty herein, the Arbitrator has taken into account
that the Respondent has been off the payroll for two months which
would have ended on October 17th, The record in thia matter was
not complete until October 23, 2009, when the Arbitrator received
the transeript of hearing. The Arbitrator finds that a three
month suspension without pay is a substantial and meaningful
penalty which undoubtedly impresses upon the Respondent that her
~ criminal activity brought negative publicity to the achool, and
that her lack of dependability was intolerable, and that neither

can recur.
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AWARD

Specifications 3, 4, 5, 6, 7, 8, 9, 10, 1llexcept items
1, 6 and 3), 14 (except item 14) and 15 are sustained.

Specifications 1, 2, ll{items 1, 6G and 8), 12, 13 and
14 (item 14) are dismissed. The Respondent, Kim DePrima, has
engaged in both criminal conduct and conduct unbecoming a teacher
with respect to Specifications 3 through 9. The Respondent also
engaged in neglect of duty with respect to Specifications 10, 11,
14 and 15, the time and attendance Specifications. The
appropriate penalty is for the Respondent to remain off the
payroll for a total of three (3) months, i.e., through Novem-
ber 16, 2009. After that time has been served off the payroll,

the Respondent may be returned to full duty.

November 7, 2009

 

Bonnie.Siber Weinstock
Arbitrator
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State of New York ) ss.:
County of Suffolk )

On this 7th day of November, 2009, before me personally
came and appeared BONNIE SIBER WEINSTOCK to me known and known to
me to be the individual descrihed in and who executed the
foregoing instrument and she acknowledged, me of
the game.

GARY ALAN WEINSTOCK
NOTARY PUBLIC, STATE OF NEW YORK
No, O1WEBOGESC9
QUALIFIED IN SUFFOLK COV
MY COMMISBION EXPIRES 7
‘eee

 
NEW YORK STATE EDUCATION DEPARTMENT
UNIVERSITY OF THE STATE OF NEW YORK

In the Matter of the Disciplinary Proceeding Between

 

NEW YORK CITY DEPARTMENT OF EDUCATION, SED File No. 16,005

Complainant,
and OPINION
AND
Kim DePrima, AWARD
Respondent,

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Pursuant to Education Law Section 3020-a

   

 

Before DOUGLAS S. ABEL, impartial Hearing Officer
APPEARANCES:
For the Complainant
Michael Best, Esq., General Counsel to the Chancellor
Karen Antoine, Esq., Of Counsel, Office of Legal Services
For the Respondent | |
James R. Sandner, General Counsel, NYSUT
Wendy Star, Esq., of Counsel
Pursuant to the provisions of New York State Education Law § 3020-a, the
| undersigned was appointed to hear and decide whether there is just caused for
disciplinary action against the Respondent, Kim DePrima. A pre-hearing conference
was held in this matter on September 14, 2010. On October 18, 2010, Respondent
moved to dismiss the charges in this matter on the grounds of res judicata and collateral -
estoppel, and the Department opposed that motion. On October 26, 2010, | granted the
Motion to Dismiss as to Specification 5, and denied it as to the remaining specifications.
Tr 116-133. A hearing was canducted at the offices of the New York City Department of
Education at 49-51 Chambers Street in New York City on October 26, 2010, and |

October 28, 2010. At the close of the Department’s case that day, Respondent moved
2. February 25, 2009

SPECIFICATION 4: On or about the following dates, Respondent attended
court proceedings in Richmond County and accepted payment for self-
treated sick leave rather than requesting unpaid leave:

September 19, 2008
December 9, 2008 —
January 9, 2009
January 29, 2009
February 6, 2009

OPWN >

SPECIFICATION §: On or about the following dates, Respondent failed to
notify and/or inform her immediate supervisor and/or the supervisor's
designee of her absences:

February 23, 2009
February 25, 2009
September 19, 2008
December 9, 2008
January 9, 2009
January 29, 2009
February 6, 2009

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« Just cause for disciplinary action under § 3020-a of the Education Law;

« Conduct unbecoming Respondent's position and or conduct prejudicial
to the good order, efficiency, and/or discipline of the service;

_ e Substantial cause rendering Respondent unfit to perform properly her

obligations properly [sic] to the service;

e Criminal conduct;

« Neglect of duty;

« A violation of Chancellor’s Regulations; and

« Just cause for termination

In light of my rulings on Respondent’s two Motions to Dismiss, what remains for
me to decide is whether, based on the evidence as to Specifications 1, 2 and 3, and
Items 2 through 5 of Specification 4, there is just cause for disciplinary action against

Respondent.

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‘the two later dates (February 23 and 25, 2009), she was paid on the basis that these

absences were Medically Certified sick days. |
Angela Ulsamer, the Payroll Secretary for PS 57 during the relevant period,
testified that under the collective bargaining agreement, teachers could take up to ten
Self Treated sick days a school year, and that they could take up to three of these ten
Self Treated days for personal business. No medical certification was required for any
of these ten absences, and indeed for three of these absences, there was no
requirement that the teacher be sick, as they could be used for personal business.
Accordingly, Ms. Ulsamer testified that for three of the days Respondent was in court
she would have been paid if she had applied for them as Personal Business days (as.
the three Personal Business days out of her ten Self Treated sick days). Tr. 218 - 220.
Although still on PS 57's payroll during her reassignment, much of the

administration of Respondent's attendance was handled by the Reassignment Center,
where she was to fill out the Monthly Time Report, indicating her arrival time and her
departure time each day, both of which she initialed. There was a space for
Respondent's signature at the bottom of each form. Ms. Ulsamer received these
completed forms from the Reassignment Center by fax at the end of each month.
Monthly Time Reports for Respondent for September and December, 2008, and
January and February, 2009, were introduced. Dept. Ex. 4. (The Monthly Time Reports
for September, December and January all have Respondent’s signature; the one for
February does not, but it does have Respondent's initials next to entries for arrival and
departure time. Tr. 483 - 184.) For any date for which the form did not reflect

_ Respondent present (because there was no arrival time indicated) Ms. Ulsamer entered

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At some time in the Spring of 2009, Ms. Uisamer received information about
Respondent's court attendance on various dates. Ms. Ulsamer knew she had already
recorded these days as Self Treated sick days, for which Respondent was paid, and
. Ms. Ulsamer did not do anything with this information, or discuss it with anyone. Tr. 221
- 222. |

Ms. Ulsamer testified that from her review of the Payroll Register Detail, and the
Pay Detail History (Dept. Ex. 7) Respondent was paid her full regular salary for each
week when she had any of the absences covered by these Specifications; no
deductions were taken from Respondent's pay for any of the days she was in court. Tr.
207-208. These records do not specifically identify whether a teacher is being paid on
the basis of being at work, or being in Self Treated sick status, or Medically Certified
sick status. Tr. 217. . |

Michelle Knacht was Special Assistant to the Executive Director at the
Reassignment Center. She testified that she or one of her delegates would meet with
reassigned teachers to orient them to the processes and expectations at the
Reassignment Center. Ms. Knacht informed reassigned teachers to call her and leave a
brief message in the event of absence; she also reviewed with teachers the OP-198,
which-she said could be used for Medically Certified absence, with a doctor’s note, or
for Personal Business. Tr. 258 - 259. Ms. Knacht did not recall whether she received
any calls from Respondent about any of her absences that are the subject of this
hearing. Ms. Knacht testified that she kept a log of calls she received, and has been

unable to locate that log. Tr. 261-264.

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year, she reviews Chancellor's Regulations with the teachers; while Respondent was

not at such a review meeting at the start of the 2008-2009 school year, she was present

at the prior year’s meeting. Tr. 171.

Ms. Bames testified that she met with Respondent (with her union
representative) on April 28, 2009 to discuss Respondent's absences and latenesses.
This was the first time Ms. Barnes spoke with Respondent about her attendance in 2008
. and 2009. Tr. 149-151. Respondent's absences included the six dates that are still
before me in this case, as well as other dates. The day before this meeting Ms. Bames
received a fax from Respondent's criminal lawyer. That fax, Dept. Ex. 3, states in part, —

Please be advised that [Respondent] appeared in Court on the
following dates:

July 1, 2008 for unsealed indictment;
October 1, 2008;

December 9, 2008;

January 9, 2009;

February 6, 2009;

February 23, 2009;

February 25, 2009; and

April 16, 2009 for sentencing.

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Respondent followed up this meeting with an undated note “To Whom It May
Concern,” Dept. Ex. 2A, which Ms. Bames received. Tr. 141-142. In that note,
Respondent refers to her April 28, 2009 meeting with Ms. Barnes, and states, in part:

During this meeting | submitted a doctors note for the following
dates:

February 23, 2009

February 24, 2009

February 25, 2009

February 26, 2009

February 27, 2009

March 2, 2009

March 3, 2009

March 4, 2009

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in court - Dept. Exs. 2 and 2A) were also dates that were in the Department's system
as Self Treated sick days, but that Mr. Barnes did not discuss these Self Treated sick |
days with Respondent, or indicate to Respondent that there was anything improper
about those days. Tr. 158-160.

Transcripts of Respondent's criminal proceeding were introduced, as Dept. Exs.
141A through 11E, as follows: Dept. Ex. 11A — December 9, 2008; Dept. Ex. 11B --
January 9, 2009; Dept. Ex. 11C — January 29, 2009; Dept. Ex. 41D — February 6, 2009;
and Dept. Ex. 11E ~ February 25, 2009. As noted above, Respondent’s (or her
lawyer's) letters (Dept. Ex. 2A and 3) already established that Respondent was in court
on December 9, January 9, February 6, and February 25 (as well as February 23, for —
which no transcript of criminal court proceedings was offered). These transcripts reveal
that in each of the criminal court proceedings in Dept. Ex. 11, the next hearing date was
discussed and agreed; in other words, these exhibits show that Respondent had ample
advance notice of each date she was to be in court for her next criminal proceeding.

In addition, Dept. Ex. 11E, pertaining to the February 25, 2009 hearing, has the
following at page 10, lines 19 - 21: |

THE COURT:Do you feel in good physical and mental health
today?

‘DEFENDANT DE PRIMA: Yes.
This was part of a series of questions from the judge to Respondent, preparatory to
accepting her quilty plea in her criminal proceeding.
POSITION OF THE PARTIES
On this record, The Department submits that (a) the basic concept at issue in this

case is that an employee should not deceive her employer, and yet this Respondent did

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\w ~*~ (c)itis undisputed that the doctor’s note Respondent submitted with her OP-198 was
authentic, and indeed, it was Respondent's own voluntary submission of information to
the Department that explicitly demonstrated that for the two Medically Certified sick
days she was in court, so she clearly was not hiding her actions and did not intend to
defraud the Department as to those days; (e) as to Specification 4, Respondent was
clearly entitled to be paid as Self Treated sick days for at least three days she was in
court, so the most the Department has shown is that Respondent received pay for one
day she was not entitled to; and (f} Respondent's “prior” discipline in her previous 3020- |
a matter actually came after all of the events charged in the instant case, so this is not a
case of progressive discipline..

DISCUSSION

\e On the entire record before me, including my assessment of witnesses’ credibility
and of the probative value of evidence, | conclude that Specifications 1, 2 and 3 must be
dismissed, as must Specification 4, Items 2, 3 and 4; and that Specification 4, Item 5, is
sustained. | find that the proper penalty in this matter is a fine of $500.00.

SPECIFICATION 14; On or about March 17, 2009, Respondent offered a
false instrument for filing when Respondent submitted an OP-198
requesting medically certified sick leave for dates when Respondent in

fact attended court proceedings in Richmond County on or about:

1. February 23, 2009
2. February 25, 2009

SPECIFICATION 2: On or about March 17, 2009, Respondent falsified a
business record when with intent to defraud, Respondent submitted an
OP-198 requesting medicaily certified sick leave for dates when
Respondent in fact attended court proceedings in Richmond County that
should have resulted in unpaid leave on or about:

\ee 1. February 23, 2009
2. February 25, 2009

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Certified leave status, were grocery shopping and transporting children to and from
school. It was clear from the testimony of the SCI Investigator that criminal court dates
are not lightly to be missed by a defendant, even one who may be too sick for her
reguiar job. | do not find that the Department has demonstrated that attending criminal
court proceedings, in which one is a defendant, is inconsistent with any Department
regulation regarding absences or pay for absences, or is otherwise necessarily
inconsistent with being on Medically Certified sick leave from work. Accordingly, the
Department has not demonstrated that a teacher could not properly both attend court
and be on Medically Certified sick leave.‘

The Department asks that | find that Respondent was in fact not too sick for work
on February 23 and 25, 2009, and therefore her OP-198 was false to the extent it
indicated otherwise. To the extent the Department’s evidence in this regard is that
Respondent was in court on those days, | have found above that such court attendance
is not inconsistent with being too sick to work, Had the Department established that the
nature of Respondent’s medical restrictions during this period rendered her incapable of
attending court, or that the nature and duration of the court activities she participated in
was inconsistent with the notion of being too sick for work, then the fact that she
attended court might well cail into question the medical certification, but those are not

our facts. Indeed | note that in his interview of the doctor, the SCI investigator did not

4 The Department knew by April 28, 2009 that Respondent had been both in Medically Certified sick
status, and in court, on these two dates, yet it was only much later in 2009, and indeed after an
intervening set of charges was submitted to arbitration, that anyone at the Department determined to treat
this as a matter suitable for charging; this extremely delayed reaction by the Department to this
information is not dispositive, as there was no suggestion that the Department was beyond any limitations
period for this charge, but in the circumstances here | find that it corroborates that there was no obvious
inherent inconsistency between Respondent's Medically Certified status and being in court.

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- that Respondent knew as of February 6, 2009 that she would be in court on February
' 23, 2009 (Dept. Ex. 11D), yet despite having over two weeks, she provided no notice of
needing to be in court on February 23. No transcript of the proceedings of February 23,
2009 was introduced, but for purposes of this part of my opinion, | assume that on
February 23 Respondent leamed that she would next be in court on February 25; the
Department's argument then would be that even as to February 25, Respondent had
the chance to give some, albeit short, advance notice of needing to be absent. . Since
Respondent did not give any such notice, and had not sought or obtained a medical
excuse until after these dates, the Department asks that | infer that Respondent
intended all along to be paid for these dates, and came up with the Medically Certified
gambit after these absences in order to accomplish this. |
There was no.evidence that Respondent gave any advance notice of any of her

court absences.> The problem with the Department’s argument that | should rely on that
fact to infer fraudulent intent is that, whatever Respondent's intentions might have been
on February 23 and 25 regarding her absences on those days, the relevant date for me
to determine Respondent's intentions under Specifications 1, 2 and-3 is March 17,
2009, the date she submitted her OP-198. And the evidence as to her intentions that
date is that she submitted an oP-1 98 supported by a doctor’s note that is indisputably
authentic. Moreover, as | have found, there is nothing in any evidence presented,

including in any rule or regulation or other instruction, or, for that matter, in common

5 | dismissed the “Notice” specification, Specification 5, on October 26, 2010. In discussing the absence
of advance notice in this Opinion and Award, | discuss it only from the perspective of the Department's
argument that J should infer Respondent’s fraudulent intent from the lack of advance notice.

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set as the next hearing. date. That January 29, 2009 was a court date for
Respondent is also corroborated by Resp. Ex. 2. Respondent offered no
substantial basis to suggest that Dept. Ex. 11C is not what it purports to be. The
discussion reflected in that transcript indicates that Respondent was present in .
| court, and her co-defendant was not. So, | find that the Department has proved
that Respondent was in court on the four dates remaining in this Specification.®
Specification 4 charges that Respondent should have requested unpaid leave for
the dates she was in court. The evidence shows that she was entitled to take up to
three of her ten Self Treated sick days for personal business, which would include going
to court. While Respondent could, presumably, have opted to ask for unpaid leave for
these court dates, saving her Self Treated sick days (including the three available for
personal business) for other dates, the Department has not shown any reason that |
could find that, as to the first three such dates, she was required to treat them as unpaid
rather than as paid Self Treated days. So to the extent that Specification 4 charges that
Respondent engaged in misconduct in accepting pay for Self Treated sick days rather
than requesting unpaid leave for December 9, 2008, and January 9 and 29, 2009, | find
that the Specification must be dismissed.
This leaves Specification 4, Item 5 — that Respondent improperly accepted
payment for a Self Treated sick day for February 6, 2009, a day that she was in court,

and on which there is no evidence that she was sick. ! find that this Specification 4,

5 No explanation was offered for why January 29, 2009 was not on either Respondent's or her criminal
lawyer's letters regarding her court appearances. From the text of Respondent's letter, it appears she
was merely repeating what was in her criminal lawyer's letter. The Department has not argued that |
should attach any special weight to the absence of January 29, 2009 from either of these letters. For
purposes of this decision, then, | conclude that this must have been an oversight by the criminal lawyer,
repeated by Respondent.

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decision. | agree with Respondent. Generally the important timing question for
purposes of progressive discipline is whether the supposedly prior discipline occurred
before the acts for which current discipline is being considered. That is not the case
here, and it would not be consistent with progressive discipline for me to consider
Respondent's prior 3020-a penalty in this case.

The parties have cited cases in support of their positions on penalty, which | have
carefully considered. Each of the cases cited by the Department, involving termination
of teachers, had significant elements not present here. New York City Department of
Education v. M.M., NYSED No. 5,244 (Paul S. Zonderman, December 27, 2005)
involved a teacher who repeatedly falsified doctor’s notes to excuse absences. The
teacher in New York City Department of Education v. G.O., NYSED No. 4,725 (Eleanor
E. Glanstein, October 3, 2003) intentionally falsified a court document to excuse an
absence for jury service beyond the duration the teacher actually served: In New York
City Department of Education v. W.H., NYSED No. 3,907 (Gerard G. Restaino, August
. 5, 2002) a teacher submitted time sheets that misrepresented his activities as Title |, on
ten successive occasions; the arbitrator in that case was impressed that the teacher
was not worthy of any belief. The teacher in New York City Department of Education v.
A.W., NYSED No. 4642 (Eleanor E. Glanstein, April 25, 2003) filled out an hourly time
report with knowingly faise information and forged her principal’s signature. And in New
York City Department of Education v. E.A., NYSED No. 7,132 (Deborah M. Gaines,
| August 5, 2010) the teacher submitted several fraudulent documents about an absence
and, again, the arbitrator did not find the teacher to be credible. Unlike these cases, |

have found that the Department has not proved that this Respondent submitted any

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only charge that the Department has substantiated — that Respondent accepted Self
Treated sick pay for one day that she should have asked to have treated as unpaid
leave — is not sufficiently substantial so as to support termination of her employment. |
find that a lesser penalty is appropriate.

Respondent received pay for February 6, 2009, a day she was not entitled to
receive pay. Ata minimum, of course, she must pay it back. Respondent has
calculated the pay for that day as $262.95, a figure not disputed by the Department. Tr.
377. Just requiring Respondent to disgorge this money would not deter future such
conduct. | find it appropriate to nearly double this amount, and order that the penalty in

this matter shall be $500.00, to be paid over two months.

AWARD
1. Specification 1,2 and 3 are hereby Dismissed; and
2. In Specification 4, Item 1 was previously Dismissed; Items 2, 3 and 4 are

hereby Dismissed; Item 5 is Sustained, and the Department has just cause to
discipline the Respondent, Kim DePrima; and

Specification 5 was previously Dismissed; and

The appropriate penalty for the violation noted in Paragraph 2 above is a
monetary penalty of $500.00, to be deducted from Respondent Kim
DePrima’s pay in equal installments over the next two months.

Dated: December 1, 2010
Basking Ridge, NJ / | ( Ly, / |
Douglas’S. Abel, Esq.

Hearing Officer

| DOUGLAS S. ABEL, affirm that | am the individual described in and who executed the
foregoing instrument which is my Opinion and Award.

Lb qlla & fh)
Dougla¥ S. Abel

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THE STATE EDUCATION DEPARTMENT
THE UNIVERSITY OF THE STATE OF NEW YORK

 

In the Matter of the §3020-a Proceeding
SED# 17,502

-by- SED# 17,698
THE NEW YORK CITY DEPARTMENT OF
EDUCATION,
Complainant, OPINION
AND
-against- AWARD’ ~ ~~
x - +

    

KIM DEPRIMA,

 

Respondent. NOV 4 4 Zui;
& ”
BEFORE: MARY L. CRANGLE, Hearing Officer
APPEARANCES: For the Complainant:

 

MICHAEL BEST, Counsel to the Chancellor
By: Jordana Shenkman, Of Counsel

For the Respondent:
JAMES R. SANDNER, NYSUT General Counsel
By: Christopher Callagy, Of Counsel

 

Pursuant to the provisions of New York State Education
Law §3020-a, the undersigned was appointed to hear and
decide whether there is just cause for the proposed
disciplinary action against the Respondent, Kim DePrima.
Hearings were conducted in this matter at the offices of
the New York City Department of Education at 49-51 Chambers
Street in New York City on June 21, June 27, June 29,

August 2, August 8, August 17, September 13 and September
23, 2011.* Both parties placed their oral summations on the
record on September 11, 2011.

Respondent, Kim DePrima (“Respondent”), a tenured
teacher previously assigned to P.S. 26 within District 31
in Staten Island, defends the §3020-a charges brought
against her by the New York City Department of Education
(“Department”). The Charges brought against Respondent (Ex.

D-1) read as follows?:

During the 2010-2011 school year, Respondent engaged in
criminal conduct and conduct unbecoming her profession as a

teacher as follows:

SPECIFICATION 1: On or about January 7, 2011, Respondent
acted together and in concert with Shawn Hicks to fire gun
shots into the residence of Jermaine Gavins, in that
Respondent:

A. Entered Jermaine Gavins’ property with Shawn Hicks
wherein Shawn Hicks displayed a firearm at Jermaine Gavins.

B. While Shawn Hicks pointed said firearm at Jermaine
Gavins, Respondent stated in sum and substance to Jermaine
Gavins, I TOLD YOU THAT YOU WAS DEAD, and Shawn Hicks then
fired approximately five (5) 9 millimeter rounds into
Jermaine Gavins’ residence with said firearm.

C. Fled with Shawn Hicks in a vehicle belonging to
Respondent’s relative.

D. Possessed one unspent 9 millimeter cartridge, in
that said cartridge was located in the vehicle Respondent

fled in.

 

‘Tn addition, prehearing conferences were conducted in this matter on June 7 and July 8, 2011 anda
conference was also conducted on September 21, 2011 with respect to Respondent’s rebuttal case.

? These Charges are referred to herein as the “initial set of charges” in light of the fact that a second set of
Charges were subsequently served on Respondent.
SPECIFICATION 2: On or about January 2011 through April
2011, Respondent’s actions as detailed in the above-
mentioned specifications, caused widespread negative
publicity, ridicule and notoriety to the NYC Department of
Education as said misconduct was reported in the New York
area news reports and papers including but not limited to:

A. On January 11, 2011, Staten Island Live.com ran an
article about Respondent’s conduct entitled Trouble follows
Staten Island teacher, held on $100k bail after bullets
fiy.

B. On February 4, 2011, Staten Island Live.com ran an
article that included information about Respondent’s
conduct entitled: Staten Island felon sought in gun cases
nabbed in New Jersey.

C. On April 25, 2011, The New York Post ran an
article that included information about Respondent's
conduct entitled: N¥C’s fire-proof criminal teachers go
back to class.

D. On April 25, 2011, the Village Voice ran an
article that included information about Respondent’s
conduct entitled: Owner of Killer Dog, White Collar Crooks,
Kid-Tackler Still Working as NYC Teachers.

SPECIFICATION 3: On or about January 7, 2011, Respondent
was arrested and later charged with violating New York
State Penal Law Sections 110/125.25(1) (Attempted Murder in
the Second Degree), 265.03 (Criminal Possession of a Weapon
in the Second Degree), 265.02{1}) (Criminal Possession of a
Weapon in the Third Degree), and 120.25 (Reckless
Endangerment in the First Degree) for the action(s) as
described in Specification i and failed to immediately
report the arrest and/or failed to provide a criminal court
complaint in violation of Chancellor’s Regulation C-105.

The Foregoing Constitutes:

- Just cause for disciplinary action under
Education Law §3020-a;

- Neglect of duty;
—- Criminal conduct;
- A violation of Chancellior’s Regulation €-105;

- Negative Notoriety;
- Conduct unbecoming Respondent’s position, or
conduct prejudicial to the good order, efficiency,
or discipline of the service;

- Substantial cause rendering Respondent unfit to
perform properly her obligations to the service; and

- Just cause for termination.

Thereafter, at the beginning of the second day of

hearing, the Department served the Respondent with a second

set of charges which read as follows’:

During the 2008-2009, 2009-2010 and 2010-2011 school
years, Respondent engaged in criminal conduct and/or

conduct unbecoming her profession as a teacher as follows:

IN PARTICULAR:

SPECIFICATION 1: On or about and in between the time of
February 25, 2009 through January 7, 2011, in disregard of
the terms of her five-year felony probation for
Manslaughter, (implemented on February 25, 2009, Respondent
failed to refrain from consorting with disreputable people
including, but not limited to, convicted felons Shawn Hicks
and/or Jermaine Gavins.

SPECIFICATION 2: On or about January 7, 2011, in disregard
of the terms of her felony probation for Manslaughter,
Respondent:

A. Consorted with convicted felon Shawn Hicks;

B. Consorted with convicted felon Jermaine Gavins;

 

? These Charges are referred to hereafter as the “second set of charges” to distinguish them from the initial
Charges brought against Respondent.
C. Failed to lead a law abiding life when, on January
7, 2011, she acted in concert with Shawn Hicks to fire
gun shots into Jermaine Gavin's home; fled the scene
with Shawn Hicks in her car and possessed a live 9MM
bullet in her car, therein violating New York State
Penal Law Sections 110/125.25(1) (Attempted Murder in
the Second Degree}, 265.03 (Criminal Possession of a
Weapon in the Second Degree}, 265.02(1) (Criminal
Possession of a Weapon in the Third Degree), 120.25
(Reckless Endangerment in the First Degree) and New
York City Administrative Code 10-306(d) (Uniawful
Possession of Ammunition).

D. Failed to refrain from possessing a firearm when
she was arrested for Possession of a Weapon based on
acting in concert with Shawn Hicks to possess a

firearm that was used in the conduct described above.

The Foregoing Constitutes:

- Just cause for disciplinary action under
Education Law §3020-a;

- Neglect of duty;

- Criminal conduct;

- Violation of probation;

— Conduct unbecoming Respondent’s position, and/or
conduct prejudicial to the good order, efficiency,

or discipline of the service;

- Substantial cause rendering Respondent unfit to
perform properly her obligations to the service; and

- Just cause for termination.

These Charges were consolidated (T. at 160).
FINDINGS OF FACT

Respondent has been employed by the New York City
Department of Education as a special education teacher for
approximately 15 years (T. at 353). The instant matter
concerns Respondent’s off-duty conduct on January 7, 2011.
While some of the testimony was conflicting and lacked
credibility in many respects, I find the following facts
based on the credible evidence in the record.

As of January 7, 2011, Respondent had recently been
involved in a romantic relationship with Jermaine Gavins
(“Gavins”) (T. at 229, 247, 357) and she, as well as two of
her children, had lived with him and members of his family
at 594A Newark Avenue in Staten Island, New York for a
period of time (T. at 356-357). Respondent moved out of
59R Newark Avenue in late December, 2010 after the
relationship ended (T. at 228, 233, 356-357). Respondent
and Gavins had problems in their relationship and there was
tension between them at the time Respondent moved out (T.
at 250, 257, 366}. Gavins did not want Respondent to move
out (T. at 238). Respondent and Gavins were both named on
the lease for the 59A Newark Avenue premises at the time
Respondent moved out (Ex. D-15). On January 5, 201ll a
“Forcible Entry/Detainer” action was filed against them in

the Civil Court of the City of New York - Richmond County
seeking to evict them from the premises and recoup unpaid
January rent (Ex. D-i5; T. at 252, 365)‘.

On the evening of January 7, 2011 Respondent went to
299B Newark Avenue, the property adjoining the residence
where she had formerly lived with Gavins (T. at 361).
Lakesha Dennis resided at 59B Newark Avenue along with
members of her family, including her six children and her
fiancé (T. at 320, 334, 336). Respondent and Dennis had
been neighbors when Respondent resided at the adjoining 59A
Newark Avenue premises (T. at 320-321, 361).

On her way to 59B Newark Avenue, Respondent,
accompanied in her car by “Liza”®, stopped to pick up Shawn
Hicks at 65 Holland Avenue (T. at 364). Hicks did not live
at 65 Holland Avenue, which is an apartment building [(T. at
363), but Respondent agreed to pick him up at that location
at his request (T. at 362-364). Respondent had known Hicks
for at least seven to eight years (T. at 360) and had

periodic interactions with him (Id.). For example, Hicks

 

* This matter was subsequently resolved with a Stipulation of Settlement signed by Respondent and Gavins
(Ex. D-15).

> While Respondent testified that a female by the name of “Liza” accompanied her in the car when she
drove to Dennis’ house, there is no indication in the record as to who “Liza” was, or what her relationship
was to Respondent (See, e.g., T. at 364). “Liza” did not testify in this proceeding.,
had done work at Respondent’s mother’s house, at
Respondent’s request (T. at 361, 430) .°

When Respondent arrived at 65 Holland Avenue to pick
Hicks, Hicks was accompanied by Gary Hernandez (T. at 364).
Respondent did not know Hernandez prior to that time (T. at
362, 364, 432). Both Hicks and Hernandez got into the back
of Respondent’s red Toyota Corolla and Respondent proceeded
to drive to 59B Newark Avenue (T. at 364).

Once they arrived at 59B Newark Avenue, Respondent
along with Liza, Hicks and Hernandez went into Dennis’
house (T. at 325, 367). At some point thereafter, Hicks,
Hernandez and Respondent went outside and engaged in a
verbal confrontation with Jermaine Gavins in front of
Gavins’ residence at 59A Newark Avenue (T. at 238, 327,
368, 437). For the reasons which will be discussed at
length below, I find it more likely than not that Hicks and
Hernandez, at Respondent’s behest, engaged Gavins in a
verbal exchange with the intent of intimidating and
threatening him on Respondent’s behalf. I also find, again
for the reasons which will be discussed at length below,

that during this confrontation, outside at the steps to 59A

 

® While Gavins and Hicks both testified that Respondent and Hicks had had a sexual relationship,
Respondent denied that she was ever sexually involved with Hicks. In arriving at my decision in this matter
1 do not find it necessary to resolve this conflict in testimony.
Newark Avenue, Respondent was present and stated to Gavins
words to the effect of “I told you that you was dead”.
Gavins called 911 several times the evening of January
7, 2011, initially reporting that he was “being harassed”
and that his ex had brought some people there to harass him
(T. at 272; Ex. D-10 (the tape recorded 911 calls)). At
approximately 10:05 PM, while Gavins was speaking to a 911
operator, Hicks fired gun shots into the front door of
Gavins’ residence at 59A Newark Avenue. Gavins told the 911
Operator that “someone just shot my door’. Gavins then
identified Respondent by name as being involved, told the
operator that Respondent and Hicks were leaving in
Respondent’s car, and described Respondent’s red Toyota to
the operator (Ex. D-10). Willie Foster, Gavins’ stepfather
who was also residing at 59A Newark Avenue at the time
called 911 as well to report the shooting.’ Furthermore, an
unidentified neighbor also called 911 to report the
shooting (Ex. D-10). When Hicks fired the shots into the
door of 59A Newark Avenue, Gavins, his mother, his
stepfather Willie Foster, and Fosters’ children were

present on the premises (T. at 134, 273-274, 305).

 

7 Foster testified in this proceeding. He initially denied having called 911 that evening, but when
confronted with the 911 tape recording of his call, acknowledged that he did so (T. at 306, 310).
After Hicks fired five shots into the door at 59A
Newark Avenue, Hicks got into Respondent’s red Toyota
Corolla which was then parked on the street in front of 59A
Newark Avenue, and, with Respondent in the driver’s seat,
Hicks in the passenger side front seat, and Hernandez in
the back seat, Respondent drove away from that location (T.
at 369-370, 373).

Respondent drove to Jonesy’s Bar some'10 blocks away
where she parked her car (T. at 373), and she, Hicks, and
Hernandez entered the bar (T. at 373). Respondent was
familiar with Jonesy’s Bar because she used to tend bar
there (T. at 373). When Respondent entered the bar, she saw
a co-worker there, Wade Alston, who was at the bar having a
drink (T. at 374). Respondent spoke to Wade Alston and
asked him to drive her home® (T. at 374). While Respondent
was conversing with Alston, Hicks was seated a few seats
down at the bar (T. at 374). Hicks and Hernandez had at
least one drink and left (T. at 374). About 40 minutes
after Respondent arrived at that location, Respondent and
Alston left Jonesy’s Bar with Wade Alston driving
Respondent’s red Toyota (T. at 376; Ex. D-6). Almost

immediately, Alston and Respondent were pulled over by the

 

® While identified as a witness for the defense, Alston did not testify during Respondent’s case in chief. He
did testify on rebuttai, but his testimony was limited solely to issues which had been raised in the

Department’s rebuttal case.

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police (T. at 43, 377). The car was searched and a live
round of ammunition was found on the floor by the passenger
side front seat (T. at 45). Respondent was taken into
custody and placed under arrest (T. at 44-45). Respondent
did not say anything to the police officers at the scene
other than she wanted a lawyer (T. at 45, 63, 197}. At no
time on January 7, 2011 did Respondent contact the police
or call 911 (T. at 138, 195).

After Gavins’ calls to 911 about the shooting, a
number of police officers, including Officers Anzalone and
Yun, and Detective Carroll, responded to 59A Newark Avenue
after being dispatched at approximately 10:05 PM by the 911
operator (T. at 38, 133). When the officers arrived at the
premises, they spoke to both Gavins and Foster about the
incident (T. at 38-39). Gavins told Officers Anzalone and
Yun that Gavins’ ex-girlfriend, Respondent, and Hicks were
involved (T. at 40, 133) and that Respondent had come out
of the door of the adjacent premises and said to him “I
told you yous was dead” (T. at 40, 59, 76}. Gavins also
told the police officers that Hicks had fired the shots (T.
at 40), and that Hicks and Respondent had gotten into
Respondent’s red Toyota and driven away (T. at 40-41).
Foster confirmed what Gavins told the police officers (T.

at 134) and indicated that Respondent, Hicks, and Gavins

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had been arguing outside the premises (T. at 134, 138).
Officer Yun described Gavins’ and Foster’s demeanor at the
scene as “terrified . . . they were very agitated

shaking (T. at 134). Police Officer Anzalone described
their demeanor at the time as irate, nervous and upset (T.
at 46).

The police officers also observed five bullet holes in
the front door of 59A Newark Avenue (T. at 39-40, 89, 90,
133, 1357; Ex. D-8). Five cartridge casings were retrieved
from the scene (T. at 142).

A description of Respondent and Hicks, as well as
Respondent’s car, was put out over the police radio (T. at
135 - 137) and the police located Respondent’s vehicle
shortly thereafter parked in front of Jonesy’s Bar (T. at
41-42). The police proceeded to observe it from unmarked
police vehicles for about 40 minutes (T. at 41-42, 43)
until Respondent and a male were seen leaving the bar and
getting into Respondent’ s car (Id.). At that point the
police stopped the car.

Gavins was in the back of a police car when
Respondent was apprehended (T. at 268), identified her to
the police, and signed a complaint against her (Ex. D~6).
Both Gavins and Foster also went to the police station that

night, spoke to police about the events, and provided

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handwritten statements about the incident which they signed
in the early morning hours of January 8, 2011 (T. at 242,
262; Ex. D-16 and Ex. D-17). Detective Guariano interviewed
Gavins at the police station that night (T. at 179). Gavins
toid Guariano the substance of what he later memorialized
in a written statement (T. at 180, 185; Ex. D-16) and
insisted to Guariano several times that Respondent had said
to him “I told you you were dead” (T. at 180). Gavins also
signed a Domestic Incident Report, pursuant to procedure,
because he and Respondent were ex girlfriend and boyfriend
(T. at 52, 71; Ex. D-G). Gavins’ statement, which he wrote
and signed in the early morning hours of January 8, 2011,
and acknowledged at the hearing in this proceeding as his

Statement (T. at 263-264}, reads as follows:

120 Detective Squad
1/8/11 0200 hrs

At or about 9 PM on above mention date I was awaken
from my sleep by someone pounding on my door. I answered
and an unidentifiable guy tells me Kim brought him to speak
To me. While conversating with this guy Hicks comes out of
59b and askes “Wat I wanna do” I then returned to my
apartment and called 911. The police arrived promptly and
took a statement as the officers are pulling away Hicks
comes back out of the next door apt-59b and pulls a lack
pistol from his hoody pocket Hicks teels me “them niggsa
gone now what” I told him to shoot. Kim comes out of the
next door apartment, leans over the rail and states “I told
you you are dead mother fucker” My mother hears this and
comes to the door so I push my mother away from the door
close and lock it and call 911. As Im on the phone with

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the operator shoot come through my doors. I crept to the
window to look out and I seen Kim driving Hick in the
passengers’ headed down toward Richmond Terrace. (Ex. D-16)
Detective Guariano also interviewed Willie Foster and
took a written statement about the incident from him (T. at
186, 188). Foster told Guariano that after the shots were
fired, he saw Respondent pushing Hicks to get into her car
(T. at 209). Foster’s statement which he wrote, and signed
in the early morning hours of January 8, 2011, and
acknowledged at the hearing in this proceeding as his

statement (T. at 297, 306-307} reads as follows:

120 Detective Squad
1/8/11 0210 hrs.

At approximately 9:30 PM I Willie Foster, saw Mr.
Hicks pull out a gun and shot at the house which I was
standing at the window — Then I saw Kim make them get in
the car and pull off. (Ex. D-17)

Police Officer Anzalone was present when Gavins and
Foster were interviewed at the police station (T. at 46).
Both Gavins and Foster reiterated to Officer Anzalone what
they had previously told him at the scene (Id.). Both
Gavins and Foster continued to appear irate, nervous and
upset about the incident (T. at 46, 74).

The police investigation which followed, which

included ballistics tests, showed that the bullet found on

the floor in Respondent’s car matched the bullets retrieved

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at the scene of the shooting at 593A Newark Avenue (T- at
51, 144). Wade Alston was also interviewed as part of the
investigation. Alston informed the police at the scene
that Respondent had asked him to drive her home on the
evening of January 7, 2011 because she said she was
intoxicated (T. at 44) and that Respondent had told him to
keep the car and that she would get it back from him the
next day (T. at 113-114). Alston was subsequently
interviewed by Detective Carroll (T. at 90-92; Ex. D-9) and
told Carroll the same thing. Alston never told the police
either at the scene, or later, that Respondent had told him
she had been threatened by Hicks (T. at 93).

A criminal complaint was signed against Respondent
(Ex. D+6). Respondent was not indicted (T-. at 112) and the
criminal complaint against her was dismissed on motion of
the District Attorney on August 30, 2011. (Ex. R-5). The
criminal matter against Respondent was not pursued because
Gavins became uncooperative and changed his story, as did
Foster (T. at 57-58, G64, 73, 242-243, 297, 307).

At the time of the January 7, 2011 incident,
Respondent was on probation. Respondent had been placed on
five years’ probation on April 16, 2009 in Richmond Supreme
Court because of a manslaughter conviction (Ex. D-12).

Respondent’s manslaughter conviction resulted from an

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incident when pit bulls raised by Respondent and her
codefendant, James McNair, mauled and killed a 90 year old
neighbor. Respondent’s probation was deemed violated as a
result of her arrest on January 7, 2011 (Ex. R-1).
Respondent was subsequently restored to probation and the
Violation of Probation was dismissed (Ex. R-6).

Hicks was apprehended and subsequently pled guilty to
a weapons charge, and was sentenced to two years
incarceration (T. at 493, 523).

News reports appeared on Staten Island.Live on January
11, 2011 and again on February 4, 2011 detailing
Respondent’s arrest and the fact that she was a New York
City public school teacher. Respondent lives and taught on
Staten Island. Two articles also appeared in the New York
Post on April 25 and April 26, 2011 describing Respondent’s
arrest, as part of a series critical of school employee
disciplinary hearings. Another article appeared in the
Village Voice on April 25, 2011 which discussed
Respondent’s arrest and the conduct which led to it. (Ex. D-
5).

Respondent has been the subject of two prior §3020-a
disciplinary proceedings (Bxhibits D-3a, D-3b, D-4a and D-
4b). In November, 2009, Respondent received a three month

suspension without pay for engaging in criminal conduct and

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conduct unbecoming a teacher as a result of her guilty piea
to a Class C Felony, Manslaughter in the Second Degree, for
recklessly causing the death of a 90 year old neighbor by
failing to seture two potentially violent dogs on her
property, and for neglect of duty as a result of time and
attendance violations (Ex. D-3b). In December, 2010
Respondent received a $500 fine for accepting pay for a day
off when she was not entitled to be paid fer that day (Ex.

D-4b).

DISCUSSION

I find, based on the credible evidence in this record,
that it more likely than not that Réspondent acted in
concert with Hicks and engaged in the conduct alleged in
Specification 1 of the initial set of Charges brought in
this matter (mx. D-1).

While Respondent denied that she was anything other
than an unknowing and innocent victim of Hicks’ conduct on
January 7, 2010, I am not persuaded by her contentions in
this regard. Based on the credible evidence in the record I
conclude that Respondent was actively involved with Shawn
Hicks in the events which took place on January 7, 2011.

I do not find Respondent’s assertion that she went to

59B Newark Avenue on January 7, 2011 merely to attend a

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party to be credible. I find no persuasive evidence that
there was a “party” at 59B Newark Avenue on the evening of
January 7, 2011. The testimony in the record about such an
event was vague, inconsistent, and inherently incredible.
For example, Dennis testified that the “party” was a
birthday celebration for herself and Respondent (T. at
321), yet Respondent testified that it wasn’t a birthday
party (T. at 431). There is no credible evidence that any
such “party” was planned in advance. The “quests” consisted
solely of Respondent, Respondent’s niece Josie, “Liza”,
Dennis’ children and fiancé who resided at 59B Newark
Avenue with her, and Shawn Hicks who happened to bring Gary
Hernandez along with him. Dennis testified that the “party”
only lasted for two hours, from 6:00 pm to 8:00 pm (T. at
344), while Respondent testified that she arrived at the
“party” around 7:30-8:00 PM and left around 10:00 PM (T. at
434) .?

I find it more likely than not that Respondent
initiated the visit to Dennis’ premises and that the
assertion of a “party” taking place was contrived in an
effort to provide a legitimate explanation for why

Respondent and Hicks would have been at that location at

 

° Dennis also testified that she was in bed by 10:00 PM that evening and heard no gunshots. Her testimony
in this regard in face of the uncontroverted evidence that five gunshots were fired into the front door of the
premises adjacent to hers at around 10:05 PM that evening further undermines the credibility of her

testimony concerning the events of January 7, 2011.

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that time. I also do not find it logical or reasonable that
Respondent having only recently moved out of the adjoining

premises under less than amicable circumstances, and having
a rent dispute with Gavins, would have decided to visit the
adjoining premises simply for social reasons.

Furthermore, I do not believe Respondent’s contention
that she only picked up Shawn Hicks on the way to 59B
Newark Avenue because Dennis had also invited Hicks to the
party and asked her to do so. The testimony concerning the
circumstances under which Respondent was allegedly asked by
Dennis to pick him up and bring him to 59B Newark Avenue
was vague, illogical, and inherently incredible. For
example, Dennis supposedly asked Respondent to pick Hicks
up, yet Dennis testified she did not know where Hicks
lived. There is likewise no credible explanation for the
incongruity of Hick’s presence at the “party” or why he
would come armed with a weapon to a party.

I find it more likely than not that it was on
Respondent’s initiative that Hicks accompanied her to 59B
Newark Avenue and that Respondent asked Hicks to accompany

her to that location so that Hicks could intimidate and/or

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threaten Gavins on her behalf. There is no other plausible
explanation for Hicks’ presence.??

Respondent had a motive for wanting Gavins threatened.
Respondent was the lead name on the lease at 59A Newark
Avenue and a court action had recently been filed against
her seeking, in part, back rent. Respondent testified that
she moved out of 59A Newark Avenue in late December of 27010
because she did not want to be responsible for the rent.
Respondent and Gavins had just broken up after living
together for at least a year; there was tension in their
relationship and Gavins had not wanted Respondent to move
out. There was also a lingering issue of responsibility for
the rent due on 539A Newark Avenue.-

Given these circumstances I find it more likely than
not that Respondent wanted to convey to Gavins in the
strongest way possible that their relationship was over and
that she was not prepared to undertake any further
financial responsibilities with respect to 59A Newark
Avenue. I find it more likely than not that Respondent
wanted Gavins out of her life and she turned to her friend

Shawn Hicks to convey that message to Gavins’’.

 

10 Gavins confirmed that, testifying that “I knew Shawn won’t come where he knows I’m at too much

unless there’s a reason for it” (T. at 243).
"'T do not credit Respondent’s testimony that her split with Gavins was amicable. It is not reasonable or

logical under the circumstances.

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Not only did Respondent bring Hicks to Gavins’
residence that evening, and had a motivation in doing so,
there is other credible evidence in the record to support
the conclusion that she was a knowing participant in what
occurred thereafter.

The record establishes that after arriving at Dennis’
house, Hicks and Hernandez went outside to 59A Newark
Avenue and engaged Gavins, harassing him about Respondent.??
Gavins called 911 to complain. The content of Gavins’ 911
calls demonstrate Respondent’s involvement with Hicks in
the events which transpired on the evening of January 7,
2011 at 59A Newark Avenue and belie Respondent’s contention
that she was merely an innocent bystander when Hicks |
ultimately fired five shots into the front door of 59A
Newark Avenue. When the police later arrived at their
premises, Gavins and Foster corroborated what they had told
the 911 operators, and they both again corroborated
Respondent’s active involvement with Hicks in the
interviews they provided at the police station thereafter,
and in their written statements. It is clear that

Respondent was the subject matter of the dispute between

Gavins and Hicks that evening, and that it was on

 

” While both Respondent and Gavins testified that Gavins and Hicks did not like each another, there is no
credible evidence in the record that their interactions on January 7, 2011 concerned anything other than
Gavins’ relationship with Respondent.

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Respondent’s behest, that Hicks fired the five shots into
Gavins’ front door. There is no other plausible
explanation.??

As found above, Respondent also demonstrated her
involvement in Hicks’ conduct by contemporaneously telling
Gavins words to the effect of “I told you that you was
dead”. Respondent does not deny being outside 59A Newark
Avenue on the evening of January 7, in the presence of
Hicks, and addressing Gavins. Although Respondent disputed
ever saying those precise words to Gavins at the time,
contending that what she told Gavins was “We’re not
together . . . I’m allowed over here”; that the
relationship was over” (T. at 368, 437), I find to the
contrary. Gavins, in essence, confirmed that Respondent did
tell Gavins that he was dead. Gavins testified that he
exchanged words with Respondent the night of January 7,
2011, outside his premises at 59A Newark Avenue, and that
“When I was like, oh, is this seriously how it’s going to
go down between us. And she was like, what can I tell you,

we're dead. Like, that’s it, it’s over” (T. at 238).74

 

"3 1 do not credit Respondent’s testimony that she did not know that Hicks was armed that night. While I do
not credit Hicks’ testimony that Respondent had arranged with him to commit a contract killing of Gavins,
I do find that Respondent knew of Hick’s background, particularly as a gang member, and it was for those
reasons that she sought out Hicks to threaten and/or intimidate Gavins on her behalf.

4 While Gavins, in his testimony, attempted to change his choice of words in describing what Respondent
had said to him that evening, and denied he took Respondent’s words as a threat, I do not find his testimony
in this regard to be credible. I had the opportunity to observe his demeanor during his testimony and it

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Furthermore, the record is uncontroverted that after
the shooting, Respondent drove her car, with Hicks and
Hernandez in it, to Jonesy’s Bar on Holland Avenue where
they all got out of the car, went inside, and Respondent
remained there for about 40 minutes before leaving with
Alston. At no time did Respondent ever contact 911 or call
the police about the events which had transpired. Despite
the fact that Respondent had a cell phone with her, she
made no telephone calls after she went into Jonesy’s Bar
although clearly she had the ability and opportunity to do
so. Furthermore, Respondent never told Wade Alston there
was any reason why she wanted him to drive her home other
than that she was intoxicated. When stopped by the police
officers after leaving Jonesy’s Bar, Respondent did not
convey any concerns to them and refused to speak except to
ask for a lawyer. This course of conduct is certainly more
consistent with being an active participant in the night’s
horrific events rather than being simply an innocent

observer.?°

 

supports my conclusion that Gavins was being untruthful in how he now was describing the nature of

- Respondent’s involvement in the events of January 7, 2011. Rather, I credit his contemporaneous
statements to the police as more accurately reflecting what he saw and heard on the night in question.

15 Although Respondent testified that Hicks put a gun to her head after he got in her car at 59A Newark
Avenue and told her to “drive”, and that she felt threatened as a result, the overwhelming credible evidence
belies her contention in this regard. For example, Respondent could provide no reasonable explanation for
why, if this were true, she made the choice to drive to Jonesy’s Bar, or why she would go inside with Hicks
and Hemandez and remain inside for an extensive period of time.

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For the reasons set forth above, based on a thorough
review of the entire record in this matter, and having had
the opportunity to observe and assess the demeanor of the _
witnesses, and consider their potential motivations to
fabricate, exaggerate, or collude, and after considering
what is more reasonable or likely to have occurred under
the circumstances, I conclude that the Department has met
its burden of proof with respect to the allegations set
forth in Specification 1 in this matter. I further find
that by engaging in the conduct set forth in Specification
1, Respondent engaged in conduct unbecoming her profession
as a teacher. Accordingly, Specification 1 of the first set
of Charges in this matter is sustained’®.

I also find that the Department has proven, by the
requisite preponderance of the evidence, the allegations in
Specification 2 of the initial set of Charges. There can
be no serious dispute that there was significant negative
publicity concerning the events of January 7, 2011
involving Respondent and Shawn Hicks, Respondent’s arrest

as a result, and the fact that Respondent was a teacher in

 

'® The Department also charged Respondent with having engaged in criminal conduct as a result of the
events charged in Specification 1. While I have found that Respondent engaged in the acts alleged in
Specification land that this constituted conduct unbecoming her profession, I decline to also find that she
engaged in criminal conduct as a result. That conclusion is one for the criminal courts, not a §3020-a
arbitrator. However, the fact that Respondent was not indicted or convicted of criminal conduct in this
matter does not mean that the underlying conduct did not occur, or that it is not properly at issue in this
proceeding. The legal standard of proof beyond a reasonable doubt applied in a criminal proceeding is more
stringent than the legal standard of proof by a preponderance of the evidence applied in this proceeding.

24
the New York City school system. Respondent does not deny
the negative media coverage or the humiliation it caused
the Department (T. at 404). Most of the news articles
emphasized the fact that this was not Respondent’s first
involvement in criminal conduct and referred, as well, to
her previous conviction for manslaughter.

Respondent argues that it is unfair to charge her
based on negative publicity which refers back to a prior
matter which has been adjudicated both in the courts and in
a separate §3020-a proceeding. However, but for
Respondent’s involvement in the events of January 7, 2011,
there would have been no reason for the press to refer back
to the prior matter of her manslaughter conviction. The net
result is that it was the Respondent’s conduct which caused
the negative publicity again in this case and cast the New
York City Department of Education in a negative light.
Therefore, I find that the Department has proved the
allegations set forth in Specification 2, and accordingly,
Specification 2 of the initial set of Charges is sustained.

On August 17, 2011 the Department moved to dismiss
Specification 3 of the initial set of charges (T. at 484).
Accordingly, Specification 3 is dismissed.

The second set of Charges, as detailed above, address

Respondent’s prior conviction for manslaughter, and the

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conditions imposed on her as part of her sentence to five
years’ probation. The Department contends that the evidence
in this matter establishes that Respondent disregarded the
terms of her probation by consorting with disreputable
people and convicted felons, and by failing to lead a law
abiding life and refrain from possessing a firearm.

The record before me establishes that Respondent was,
on January 7, 2011, on probation as a result of her
Manslaughter conviction. The court imposed probation,
although initially subject to revocation because of
Respondent’s arrest, was reinstated as of September 13,
2011 when Respondent was restored to probation. I am
unpersuaded that I have jurisdiction to determine that
Respondent violated her probation. I find such a
determination to be within the exclusive jurisdiction of
the court which sentenced Respondent to probation. To the
extent that Specifications 1 and 2 of the second set of
Charges allege other than a violation of probation, I find
such allegations to be duplicative of the allegations set
forth in Specification 1 of the initial set of charges.
Accordingly, I dismiss Specifications 1 and 2 of the second
set of Charges.

Having found that Respondent engaged in conduct

unbecoming her profession as a teacher as a result of her

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involvement in the events of January 7, 2011, I next turn
to consideration of the appropriate penalty to be imposed.

Respondent contends that even if I were to find that
she engaged in the conduct alleged in Specification 1, this
does not constitute grounds for disciplinary action because
the conduct at issue occurred off-duty and there is no
demonstrated nexus to Respondent’s ability to perform her
duties as a teacher. The Department alleges otherwise; that
Respondent’s conduct was so egregious that it undermines
her capacity to act as a role model for students and thus
adversely impacts on her fitness to return to the
classroom. The Department further contends that the
negative publicity concerning Respondent’ s conduct has so
compromised the credibility of the Department that, again,
termination is the appropriate penalty to be imposed.

After thoroughly weighing all the evidence,
considering the arguments advanced by both parties, and
reviewing the case law each submitted in support of their
respective positions, I conclude that termination is the
appropriate penalty to be imposed in this matter.

As has been held in other cases, the fact that the
conduct at issue occurred outside of school and did not
involve students, school personnel, or school property does

not end the inquiry as to whether there is a nexus between

27
the conduct and the performance of a Respondent’s duties as
a teacher.

I find that the Department has proven such a nexus
here. A significant part of a teacher’s responsibility is
to be a role model to her students. I am convinced that
Respondent has demonstrated by her conduct in this case
that she lacks this requisite quality. While certain
aspects of Respondent’s private life may be of no
legitimate concern to the Department, in this case the fact
that Respondent engaged in the type of behavior at issue is
a matter of legitimate concern to the Department.

This case is not about Respondent having questionable
taste in men as she contends. Rather, it is about the
conduct which Respondent engaged in on January 7, 2011 and
its impact on her fitness to teach. Respondent involved
herself in a criminal endeavor to advance her personal
interests. The fact that Respondent was neither indicted
nor convicted of a crime as a result is not dispositive of
this matter. The fact that the District Attorney
ultimately chose not to pursue the matter does not mean the
conduct did not occur.

While I agree that there is no evidence in this record
that Respondent was not a satisfactory teacher as of

January 7, 2011, that does not conclude the inguiry into

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whether she continues to be fit to teach. Based on my
findings in this case I conclude that Respondent cannot be
a role model for impressionable students, and particularly
special education students who have particular needs and
limitations, when she addresses adversity and conflict in
her personal life by resorting to physical violence that
puts innocent persons’ lives in jeopardy. Respondent has
also shown such an astounding lack of good judgment by her
involvement in the events of January 7, 2011 that I find
she can no longer be trusted to exercise the type of
judgment required of teachers working with students in New
York City schools. Her behavior was such that I cannot
require the Department of Education to assume the risk
that, in the future, Respondent could engage in conduct
which would jeopardize the well being of students entrusted
to her care.

In this regard, I take into consideration the fact
that this is not the first documented instance where
Respondent has demonstrated a lack of judgment which inured
to the harm of others. As discussed above, on January 7,
2011 Respondent was on probation as a result of her
manslaughter conviction. She had also been the subject of a
§3020-a proceeding as a result and by decision dated

November 7, 2009 was found guilty of engaging in criminal

29
conduct and conduct unbecoming a teacher and suspended
without pay for three months. Certainly this should have
been sufficient to place Respondent on notice that her
continued employment as a teacher would be in significant
jeopardy if there was a further incidence of the same or
similar type behavior. However, just 2 months after the
decision in her prior §3020-a proceeding, Respondent again
involved herself in criminal behavior that placed innocent
lives in danger and, again, the Department of Education was
subjected to hostile press concerning Respondent’s
continued employment as a teacher.

In arriving at an appropriate penalty in this matter,
I have also taken into consideration Respondent’s failure
to accept responsibility for her conduct on January 7,
2011. While Respondent expressed remorse for having made
“bad judgments” in associating with Shawn Hicks, I have
found her testimony about the actual events which occurred
on January 7, 2011 to be less than credible. Respondent
Still seeks to play the innocent victim in the face of
overwhelming evidence to the contrary. This pattern of
denial and inability to accept responsibility or face
reality, only exacerbates the risk in placing her back in a

classroom.

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This is Respondent’s third 3020-a proceeding and the
second one involving criminal behavior. To the extent that
the Department would have any obligation to remediate, or
Respondent would have any right to progressive discipline,
under these circumstances, I find both have been satisfied.

Finally, I am not persuaded that there are any
mitigating circumstances which might favor a penalty less
than termination. Given the circumstances of this matter, I
cannot find Respondent’s years of service to be a
mitigating factor. Respondent’s conduct at issue in this
case is simply too serious and outweighs whatever
mitigating effect her years of service might have, under
different circumstances, on an appropriate penalty. I can
find no basis to afford Respondent yet another opportunity

to return to the classroom.

CONCLUSION
For the reasons set forth above, and in accordance
with the findings set forth above, I conclude that the
Department has met its burden of proving, by a
preponderance of the evidence, that Respondent engaged in
conduct unbecoming her profession as charged in
Specification 1 of the initial set of Charges and that this

conduct resulted in negative publicity, ridicule and

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notoriety to the New York City Department of Education as
charged in Specification 2 of the initial set of Charges.
Clearly Respondent’s conduct constitutes just cause for
disciplinary action. Furthermore, for the reasons set
forth above, I am persuaded that it constitutes just cause
for termination. There is simply no evidence in this record

to support a lesser penalty.

AWARD

 

With respect to the initial set of Charges and
Specifications before me in these proceedings, I find as
follows:

(1) Specification 1 is sustained.

(2) Specification 2 is sustained.

(3) Specification 3 is dismissed.

With respect to the second set of Charges and
Specifications before me in these proceedings, I find as
foliows:

(1) Specification 1 is dismissed.

(2) Specification 2 is dismissed.

Based on the Charges and Specifications, and for the

reasons previously set forth, there is just cause for

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disciplinary action. The appropriate penalty to be imposed

ean b.

Mary L.' Crangle
Hearing Officer

on Respondent is termination.

Dated: fifi 1 (

State of New York:
County of Albany : SS:

On this |{21Tu day of November, 2011, before me
personally came and appeared MARY L. CRANGLE, known to me
to be the individual described herein and who executed the
foregoing instrument in my presence.

A, a
“Notary Ptblic
SCOTT MICHAEL SALVAGNI
NOTARY PUBLIC IN THE STATE OF NEW YORK

QUALIFIED IN ALBANY COUNTY NO. O1SA8237949
MY COMMISSION EXPIRES MARCH 28, 2015

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CRIMINAL COURT OF THE CITY OF NEW YORK

COUNTY OF RICHMOND PART AP-1
Ren ne en x
THE PEOPLE OF THE STATE OF NEW YORK

~against- DOCKET #2011RT000257
KIM DEPRIMA |
We x

67 Targee Street
Staten Island, New York
August 30, 2011

BEFORE:

HONORABLE ALAN MEYER,
Criminal Court Judge

APPEARANCES:

DANIEL M. DONOVAN, JR., ESQ.
District Attorney, Richmond County
BY: GUY TARDANICO, ESQ.
Assistant District Attorney
for the People

MICHABL RYAN, ESQ.
for the Defendant

KATHLEEN SAVAGE
OFFICIAL COURT REPORTER
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COURT OFFICER: Kim DePrima, 2011 257.

-THE COURT: Defendant on ROR status and present.

People? .

MR. TARDANICO: Your Honor, I understand that it's
on for Grand Jury today and final marking. I would like --

THE COURT: It's not the final marking. It had
been final marking for April 11th and adjourned to May 25th,
stayed warrant and then adjourned again for today's date,
chargeable time. Arraignment date of January 9th. |

MR. TARDANICO: Well, Judge, I just have a brief
record to make, before dismissing the case against -the
defendant, if I can. |

| THE COURT: Go ahead.

MR. TARDANICO: . Your Honor, Kim DePrima was

arrested after the complainant in this case implicated taking

part in a shooting directed at him in front of his residence.

Specifically, the complainant and family allege DePrima told

the complainant he was dead, but Shawn Hicks, who was
separately charged, pulled out a gun and shot the
complainant's front door, shot at the complainant's front
door. Based on allegations, this case was presented to the
Grand Jury, which-resulted in an indictment against Hicks and
vote of no action against Kim DePrima.

THE COURT: No action or no true bill?

MR. TARDANICO: No action, Your Honor.
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THE PROCEEDINGS AS REPORTED BY ME.

THE COURT: Okay.

MR. TARDANICO: Hicks has since pled guilty to this
incident, and did not implicate DePrima during his -- .
DePrima's role during his allocution.

Since initially presenting this case to the Grand
Jury, the complainant has gone from claiming he did not wish
to testify against Kim DePrima to recanting positions of his

original allegations against DePrima. Therefore, it is the

People's position that although DePrima's original arrest was

supported by probable cause, it is now our contention
complainant's subsequent arrest resulted in insufficient
evidence to move: forward against this defendant. Therefore,
the People move to dismiss the charges against Kim DePrima,
as there is insufficient evidence to meet our statutory
burden.

THE COURT: So it's not 180.10 dismissal, dismissal
with prejudice. Sealed 160.50, as well.

You may step out.

MR. RYAN: Thank you very much, Your Honor.

CERTIFIED TO BE A TRUE AND ACCURATE TRANSCRIPT OF

  
   

KATHLEEN SAVAGE
Official Court Reporter
SUPREME COURT OF THE STATE OF NEW YORK NO FEE

RICHMOND COUNTY
COUNTY COURT HOUSE
18 RICHMOND TERRACE
STATEN ISLAND, NY 10301

\w | CERTIFICATE OF DISPOSITION INDICTMENT

DATE: 09/26/2011 CERTIFICATE OF DISPOSITION NUMBER: 3082

PEOPLE OF THE STATE OF NEW YORK CASE NUMBER: 00298-2008
LOWER COURT NUMBER(S):

vs.
DATE OF ARREST: 07/16/2008
ARREST #: . S08608472
DATE OF BIRTH: 01/15/1971
DEPRIMA, KIM DATE PILED: 09/26/2008
DIPRIMA, KIM (AKA)
DEFENDANT

I HEREBY CERTIFY THAT IT APPEARS FROM AN EXAMINATION OF THE RECORDS
ON FILE IN THIS OFFICE THAT ON 02/25/2009 THE ABOVE NAMED DEFENDANT WAS

CONVICTED OF THE CRIME(S) BELOW BEFORE JUSTICE COLLINI,R THEN A
JUSTICE OF THIS COURT.

MANSLAUGHTER 2nd DEGREE PL 125.15 01 CF

THAT ON 04/16/2009, UPON THE AFORESAID CONVICTION BY PLEA THE HONORABLE
COLLINI,R THEN A JUDGE OF THIS COURT, SENTENCED THE DEFENDANT

TO

MANSLAUGHTER 2nd DBGREE PL 125.15 01 CF
ORDER OF PROTECTION = 8 YEAR{S}
i PROBATION = 5 YEAR{S)

CVAF $25 (PAID)
DNA $50 (PAID)
SURCHARGE = $300 {PAID)

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ADDITIONAL COMMENTS : THAT ON 9/13/11, VIOLATION WITHDRAWN, RESTORED TO

PROBATION.

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IN WITNESS WHEREOF,I HAVE HEREUNTO SET MY HAND
OFFICIAL SEAL ON THIS DATE 09/26/2011.

 

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RICHMOND COUNTY
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18 RICHMOND TERRACE
STATEN ISLAND, NY 10301

 

we CERTIFICATE OF DISPOSITION INDICTMENT
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DATE FILED: 09/26/2008

DEPRIMA, KIM
DIPRIMA, KIM (AKA)

 

DEPENDANT

I HEREBY CERTIFY THAT IT APPEARS FROM AN EXAMINATION OF THE RECORDS
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. CONIGATTI & RYAN, LLP ye
. Attorneys at Law
67 New Dorp Piaza
Staten Island, New York 10306
Tel. (718) 351-1111
Fax. (718) 351-8616
Thomas R. Conigatti*
Michael J. Ryan*
*Also admitted in NJ.
February 4, 2011
Via Fax (212) 228-9253 and Mail
Keith J. Gross, Esq.
Associate Counsel
NYSUT th
52 Broadway, 9 Floor
New York, NY 10004
Re: DePRIMA, KiM
SS#: 099660382
PRP# 83519
Ne Dear Mr. Gross:

Re the above individual, please be advised that Ms. DePrima appeared in
Richmond County Supreme Court, before the Hon. Robert Collini, J.S.C. on the above
date. A Violation of Probation was filed with the Court and the sole specification was the
new arrest. No other allegations of misconduct were made. I have attached a copy of the
Violation of Probation for your records.

Ms. DePrima pled not guilty and bail was set in the amount of $1,000.00. Ms.
DePrima’s brother Steven posted bail and she was released. The matter has been
adjourned until March 4, 2011 for an update on the open case.

I have attached additional reports based upon the accounts of Lakeisha Dennis
and Wade Alton for your information.

Should you have any questions or require any additional information, please do
not hesitate to contact me.

 

MGJR:df
Encls.
Upon your review of the attached documents, I urge you to conclude that Ms.
DePrima was in fact the victim of a crime committed by Shawn Hicks. Ms. DePrima is
not a co-perpetrator as initially alleged by the Richmond County District Attorney. I
further urge you make the necessary arrangements to dismiss the Civil Forfeiture

proceedings against Ms. DePrima.

If you have any questions or require additional information, please do not hesitate

to contact me.

Yours yery truly,

    

MJR:df
Encls.
C: Kim DePrima
eee

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TRI STATE, INC.
“ Investigatiors
Phone: 718-384-7927 .
Foo 718-987-4061
P.O. Box 61712
Staten blarc!, N¥ 10306
January 27, 2651
Interview:
Jermaine Gavins
76 Grave Ave
taten(bslaad NY 10302
1)... 4/23/86
Phroues 947-336-2109 ;
_ Fie Tithe: == Kis Deprima
. Page t of 2.
— 4
1. On January 27, 2011 the undersigned responded to 8 Van Name Ave and
comducted an interview with Jermaine Gavins conoerming an incident
thet occurred on January 7.2011 at approximately 10:05 pm at 59A
Newark Ave, Staten Island N.Y:
2  Unebersigned asied Jermaine if he was im the vicinity of $94 Newark Ave

on January 7, 2011 at approximately 10:05 pm am if se weeld he comvey
to the undersigned the events that took plaee. Jermaine stated, “On Jan 7,
2011 at 594 Newark Ave I was awaken by kmocking on way deor. I went
outside were E ran into Hicks. We exchanged seme words focltug
unewsfortable at my house I called police, they arrived aad told me if you
toweh ber you go to jail. As they were leaving Hicks comes out of next
doer and pulls a black pistol out of his left hoody poeleet. We start
exchange words again and Kim comes outside. [ ask was she serious and

| she said something dead, I thought she said I was dead, but what was said

was ‘were dead’ incaning our relationship is over. I am net afraid of Kim,
net do I wish to press any charges against ker, I don’t believe she lanew of
the gun aed J don’t think sho’s looking to burt me or sty family. I believe

. that Flicks acted on his own and should be belil sonly responsible for the

incident. (Signed statement attached)
 

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TRI STATE, INC.

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RO, Box 67712
Starten Islan. NY 10506

Phone: 718-364-7927
Fax: 718-987-d067

Page 2 of 2

Undersigned asked Jermaine if he had beard Kim and Hicks planning to
de anything at the party. Jermaine stated, “No, I did not.” Undersigned
aeked Jermaine how long ke aud Kim went out together, Jermnine stated,
“We went out for 2 4 years before we breke up.” Undersigned asked
Jermaine are you afraid of Kim? Jermaine stated, “No, 1 am net afraid of
her.” Undersigned asked Jermsine dees he want te get an order of
protection aguinst Kin Jermaine stated, “No, there is no need fer an.
order of protection.”

- Undersigned asked Jermaine is he going to press charges against Kim.

Jermaine stated, “I am vot going ta press charges, [ told the D.A. and the
officer who arrested her that I wasn’t going to preas charges.”

 

 
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TRE STATE, INC.
; * Investigations
P.O. Box 712 -
Staten Bland, NY 10806 Prove 718-964-792.
Janttary 31, 2011
lhaterview:
Wade Alston
2923 Richmond Terrace
States Island NY 16303
DOWN: 1224/63
Phone 646-107-3205
Vie Title: Kia Deprima
I
| Page 1 of

On January 31, 2011 the undersigned responded te 2928 Richmond
Terrace and conducted an interview with Wade Alston concerning an
ineident that occurred on January 7. 2011 at appronimately 10:30 pr at

Joes Bar Staten Istand N.Y.

Undersigned asked Wade if he was in the vieinity of Jones Bar on

| Jemewary 7, 2011 at approximately 10:30 pas an if'se would be comvey to
- the undersigned the evenis that teck place. Wade stated, “On Jan 7, 2011

at. approximately 10:30pm I was at Joney’s Tavern seating foed from

‘Wondy’s whon Miss Deprima entered the bar with twa men scsonds

behted her. She walled past ne aad stood at the one chair away from:me
and was saying something. I wasn’t saying or listening to what she was
saying. The she says Wade they jnst sbep np nry house. I looked at ber
and she looked horrified and the two guys behind her one wearizig a
heedie and the. other wearing at bat. I looked. wt ber and she si] looked
horsiffed. A few minutes tater she askee if I could drive her bome. 1
lowked at her and she’s shaking, I told as s00n as J fiuish enting, The guy
with the hoodie on is leaded back in the chair with-the top of Gre heed.
covertng his face, the other guy is at the Jakebox., [ continued cating. She
asked again aud soon went to the bathroom. The 2 guys left the bar while
she wee.in the bathroom. She conte from tee bathroom and selsed aguin if
I woul take her home. I finished eating and oxited the bar with Kiu.
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TRI STATE, INC.

 

P.O. Box 61712
Stoten Bland, N¥ 10806

 

* investigations -
Phone: 718-360-792
Fon 718-987-406
Page 2 of 2

I opened the doors and started her car, nat even 20 houses from the bur

the Police stopped us and pulled es off the car. I was questioned nad let
ge. I retrrned to the bar and gaticed the guy with the hat come back into
the bar. He brought a drink and left. I watched the officers question him
aad walk away, 5 minutes later he coames in the bar again then feaves.”

(Signed statement attached).

Uudersigned asked Wade did he see a gan on either of the two men'who
feowed Kim into the bar. Wade stated, “Na, I did mot.” Underaigued
seked Wade did Kim say which one of the two mon had the guc and did
tise sheeting at her house. Wale stated, “No, she was shaking and you
could see how scared she was. She wanded me to teuke herkeme.”

Undersigned asked Wade if he wooki testify in court. Wade stated, “Yes,
I weil.” : :

 
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BY ANY PERSON OR PERSONS.

 

 

 

 

 

 

 
     
  

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8-8-1 1 In the Matter of Ms. DePrima

THE STATE EDUCATION DEPARTMENT
THE UNIVERSITY OF THE STATE OF NEW YORK

In the Matter of

NEW YORK CITY DEPARTMENT OF EDUCATION

v.
KIM DEPRIMA

Section 3020-a Education Law Proceeding {File

#17,502/#17,698)

DATE: August 8, 2011
TIME: 10:00 a.m. to 1:00 p.m.
LOCATION: NYC Department of Education

Office of Legal Services
49-51 Chambers Street
New York, NY 10007

BEFORE: _ MARY CRANGLE, ESQ.
HEARING OFFICER

Ubiqus Reporting, Inc. 8-8-1] In the Matter of Ms. DePrima
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Ubiqus Reporting, Inc.

KIM DEPRIMA - 08/08/11

(The hearing commenced at 10:00am.)

THE HEARING OFFICER: This is the fifth day
of hearing in the matter of the 3020-a proceeding
brought by the New York City Department of Education
against Kim DePrima. There are two SED file numbers
in this matter: 17,502 and 17,698.

My name is Mary Crangle. I'm the Hearing
Officer in this matter, May I have the appearances
please?

MS, JORDANA SHENKMAN: Jordana Shenkman for
the Department of Education.

MR. JUSTIN DICKMAN: Justin Dickman, law
clerk.

MR. CHRIS CALLAGY: Chris Callagy, here for
Respondent and my boss, Richard E. Casagrande.

THE HEARING OFFICER: Let the record reflect
please that the Respondent is also present in the
hearing room. We're ready to begin the Respondent's
case. Mr. Callagy, before you call your first
witness, do }ou wish to make an opening?

MR. CALLAGY: Very briefly, yes.

THE HEARING OFFICER: Okay.

MR. CALLAGY: Hello, everybody. Ms.
Crangle, as often happens in cases that go through

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KIM DEPRIMA - 08/08/11

this forum, it's not a very complex case. It's fairly
simple; very serious in its allegations, but fairly
simple. You will hear in our presentation of the
defense that Kim DePrima was present at a party at a
former neighbor's house, and stil! friend of hers,
Lakisha Deunis [phonetic].

She went there because they had been, over
the prior couple of years, in the habit of celebrating
each other's birthdays. The wrinkle for this
particular celebration was that Ms. DePrima had only
recently left the residence next door, where she had
been Living with, among other people, Jermaine Gavins.

Ms. DePrima was asked if she could pick up a
couple of people. Well, at least-one—I'm sorry, two
individuals to the party, She was asked by Ms. Dennis
to do so and she said okay, I'l pick them up. She
had a passing acquaintance with one of them, Shawn
Hicks [plioneiic]. And when I say passing, you will
hear that there was never any romantic relationship of
any kind that Hicks had been helpful a couple of
occasions in the past, doing things like helping move
boxes and stuff ike that, but she did not know him

well
She did not know his criminal history, which

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‘ SHEET 3

KIM DEPRIMA - 08/08/11
in fact, ae fi23. She knew that he had been in
trouble. She knew that because a girlfriend of hers,
who had been seeing him, told her. But she didn't
know the nature of the trouble, nor did she know
whether or not Mr. Hicks was classified in a
particular way, as in being 2 felon, for purposes of
the criminal justice system. She didn't know that.
Now, Mr. Jermaine Gavins, who you'll hear
from, also has a cuminal history. Indeed, so does
Ms. DePrima, because as you have heard, in a prior
3020-a, the 3020-a dealt with underlying facts in a
criminal proceeding involving a maul and killing of a
neighbor at that time, because a pit bull had gotten
loose and kiiled a neighbor. It wasn't her pit bull,
but she did live there. And that was the subject of a
prior 3020-a, and hence, the nature of her criminal
history. So she also had that criminal history,
Jenmaine Gavins will tel] you that he never
told Kim DePrima about his criminal past, other than
he had one. Never mentioned that he was a felon,
never mentioned anything about the nature of it.
Now, the nature of the charges that I know
there have been consolidated, but I think it's fair to
say that the nature of the charge is that somehow Kim

KIM DEPRIMA - 08/08/11
DePrima was involved in a criminal act or acts on that
given night when Shawn Hicks, at that party, fired
rounds into the Gavins' residence where Kim DePrima
had recently been living.

What you will learn from Kim and Jermaine
and Ms. Foster and Lakisha Dennis, that Kim DePrima
bad nothing whatsoever to do with that, other than
having brought this guy Hicks to a party because she
was asked to do so on her way there.

Now, the night in question, you'll hear from
the witnesses that, indeed, as you've heard already
from certain witnesses for the Department, Ms. DePrima
was implicated that night in what happened, by,
principally, Jermaine Gavins. Subsequent to his one
or two meetings with detectives, all in the span of
about 24 hours, Mr. Gavins contacted the police and
said, "I retract mv statement.” | was angry when |
made it. I saw nothing of Kim DePrima that night. J
didn't speak to Kim DePrima. | didn't see her
mvolved in any way, She made no threats. That's
what he tells the police.

Now, eventually Kim DePrima testifies at a
grand jury that, among other things, is looking into
the allegations against Hicks and herself. She is

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KIM DEPRIMA - 08/08/11

never incicted. As she sits here toaay, she has a
court appearance later this month which she has every
reason to believe, from what she has been told that
the charges against her will be dropped.

Now, Kim DePrima is a teacher of a number of
years, seven or so, within the city system and no
one's ever questioned her ability to teach.
Obviously, the issue before vou will be to determine
whether or not she possesses the sort of fitness
necessary to continue as a teacher. And] think after
you hear all of our evidence, you'll see that she's
not guilty of what she was charged with. And she's
already paid a price for what she had been charged
with in the prior proceeding.

So, on that basis, I'm confident, you know, __
that you will recognize that she's not guilty, With
that, we would call our first witness.

THE HEARING OFFICER: Thank you. And who is
your first witness?

MR. CALLAGY: Jermaine Gavins.

THE HEARING OFFICER: Okay, can we go off
the record please?

[Off the record]

[On the record]

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KIM DEPRIMA - 08/08/11

THE HEARING OFFICER: Mr. Gavins, would you
raise your right hand please? Do you swear or affirm
that the testimony you're about to give in this matter
will be the truth, the whole truth and nothing but the
truth?

MR. JERMAINE GAVINS: Yes, ma'am.

THE HEARING OFFICER: Okay. Please be
seated. Would you please spell your name for the
court reporter?

MR. GAVINS: Name is Jermaine Gavins. First
name J-E-R-M-A-I-N-E, last name G-A-V--N-S.

THE HEARING OFFICER: Okay. Mr. Gavins, as
Vim sure Mr. Callagy has explained to you, this
proceeding is being recorded, so it's extremely
important that you keep your voice up so that we all
can hear evervthing vou say. And also, please make
sure al] vour responses are verbal, since obviously a
tape recorder can't pick up when you nod your head.

MR. GAVINS: Yes, ma'am.

THE HEARING OFFICER: Okay. Mr. Callagy?

MR CALLAGY: Thank you very much. *

DIRECT EXAMINATION

BY MR. CALLAGY

Q. Good moming, Mr. Gavin.

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8-8-11 In the Matter of Ms. DePrima

SHEET 4

GAVINS - DIRECT - CALLAGY

A. Good nioming, sir.

Q. Would vou please tell us where you
live presently?

A. [live at 76 Grove, Staten Isiand, New
York, 10302.

THE HEARING OFFICER: Pardon me?

MR. GAVINS: 72 Grove, Staten Island, New
York, 10302.

THE HEARING OFFICER: Thank you.

Q. And how long have you lived there?

A. For the better part of this year.
Well, a vear, in full, almost.

Q. Okay. Where did you live prior to
that?

A. Iiived at 59-A Newark Avenue.

Q. And when you lived at 59-A Newark
Avenue, who did you live with?

A. Fora while, me and Ms. DePrima lived
together.

Q. Okay. Was there anyone else living
there?

A. Besides the kids. not really.

Q. Okay. When you say for a while you
and Ms. DePrima lived there, what was the nature of

eo

GAVINS - DIRECT - CALLAGY

your relationship at that tume?

A. We were ina relationship and living
together.

Q. When you say relationship, do vou mean
romantic relationstup?

A. Yes, sir.

Q. Okay.. For how long had you been
involved with each other?

A. From say maybe December to December,
November, about a year.

Q. A year, did you say?

A. About a year or $0.

Q. Okay. How did you meet, if you know?

A. | think I was doing a painting job at
her house.

Q. Now, do vou have a criminal record?

A. Yes, sir. } do.

Q. Do xou know what it is?

A. I know that it was mavbe burglary in
the third. robbery in the third, in 1999. Outside of

“that, probably a misdémeanor here and there, vou know.

Q. Did vou eser speak to Kim DePrima
about vour criminal past?
A. No. I didn't really find a reason to,

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* justice system? ©

GAVINS - DIRECT - CALLAGY

You don‘ teli someone you just met, like, how are
you, I'm a felon. You know, like, it wasn't the way--
it's not the way I do things with people, Like, it
takes a certain amount of time to trust somebody
enough to let them into my personal life, because some
people are judgmental.

Q. Well, did you ever find the
appropriate point to share that kind of information
with Ms, DePrima?

A. To be perfectly honest, our
relationship was pretty short, You know, so, I don't
know, it wasn't like pillow talk. And during the day,
Thad things to do. When I came home at night, it
wasn't really like, well, ob I forgot to remind you,
I've been locked up a couple of years ago. So, you
know like.

Q. Are you working night now?

A. Yeah, | just recently started PCC
Calling Center on Bradley Avenue in Staten Island.

Q. What is that?

A. That is telemarketing.

Q. And what is your position?

A. I'm justa regular customer service
agent. You know, your name, your number, vour address

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GAVINS - DIRECT - CALLAGY

pops up on the screen. And I say, good moming, thts
is Jermaine Gavins from PCC Calling Center, calling to
offer vou a special promotion or whatever they might
have me do that day,

Q. Did you know a person by the name of
Shawn Hicks back then?

A. Yeah, I do know Shawn Hicks.

Q. And how did you know Shawn Hicks?

A. He came to, like, some events that I
was at. Like, it wasn't really oh well, who's that,
who's that? It was more like, well this is such and
such a person, and this is Ang [phonetic], this is~
you [is.ow, it was like a whole group meeting for the
people who happened to be a barbecue or whatever, and
we didn't know each other, so...

Q. Other than that, did vou ever hang out
with Shawn Hicks?

A. Never,

Q. Now, did Ms. DePrima ever share with
vou anything about her past in terms of the criminal

A. No,

Q. Did vou ever meet any official
associated with the criminal justice system and Ms.

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“SHEET 5

GAVINS - DIRECT - C: ALLAGY
“DPrima? -

A. I've seen people come to the house
before, like while I was doing babysitting or
whatever, Like, there would be a specific lady or
whatever, but I never knew what the nature of her
being there was for. She would just come knock on the
door. She'd ask for Kim. If Kim was at work, I'd
tell her Kim's at work. If Kim was upstairs, Fd be
hike, Kim's upstairs. Their conversation was never
open to me like that, so. And never asked, I
thought that was prying. You know what I mean?

Q. Did vou ever come to learn who that
individual person was?

A. J did come to learn who that was.

Q. Who was it? ;

A. That was her probation officer.

Q. Okay. Did that cause you to do
anything when you learned that she had a probation
officer?

A. Not really, because at the time we
were going in separate directions. So, you know, it
was like, okay, you got a probation officer. Well
you're living in Willowbrook and I'm moving to Port
Richmond. You know what I mean, so I really--

GAVINS - DIRECT - CALLAGY
Q. Earlier~sory. Mr. Gavins, you
mentioned kids, what kids lived with you when you were
at Newark Avenue?
A. There's Tommy, her 12 year old, and
Poppa--well James, the baby,
Q. Okay. How old is the baby, or how old
was the baby then?
A. The baby was months old. And now he
is around three. His birthday was recent, ifT'm
correct still on that.
Q. I want to draw your attention, Mr.
Gavins, to a winter night when there was a party next
door at Lakisha Dennis’.
A. Okay,
Q. When vou were living at 59 Newark
Avenue.
Okay.
Do vou remember that night?
Yes, I do.
What do you remember about it?
The night of the next dodr neighbor's
party, well Kim n0 longer lived there, She had been
gone for a little while. “And I was only living there
because my apartment wasn't ready in Port Richmond at

POPO>

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GAVINS - DIRECT - CALLAGY
the ime. Well i was upstaisasleep. The noise of -
whatever have you, [ woke up. I went downstairs, The
two guys were already outside.

Q. When you say two guys, who are you
talking about?

A. I'm talking about Hicks and Wise -
[phonetic}. Like, I don't know their real names. I'm
guessing Hicks’ real name is Hicks, but Wise, I don't
know his rea! name. | just know him as Wise. They
were already outside. I guess my step-father and my
brother were already outside. So I went outside
because I did know that due to something prior, me and
Hicks didn't like each other already anyway. We
already had tension between us. So I didn't know what
he was discussing with my step-father or what the
situation was. I took a walk outside. Of course, two
people who have tension, the tension is still there.

We never soived nothing, we just pretty much parted
ways with each other for a while. And-

Q. Where did you go?

A. Who me?

Q. Yeah.

A. I stayed at 59 Newark. He went his
way. Like we met in different places, like the same

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GAVINS - DIRECT - CALLAGY

circle of friends I guess you'll call it, So if you
invite me to a barbecue, you can invite him too
because you know us both, but you don't know we got
that tension between us. So that's~

Q. Okay. Just looking to that night in
particular, Mr. Gavins, what happened after you first
went outside?

A. When first went outside, it was him
and my step-father, I guess discussing something. I
went downstairs. I looked around. | seen her car.
Now, | didn't know--

Q. You see her car?

A. I seen her car but it was parked at
the next door

Q. Who's car?

A. Kum's car.

Q. Okay.

A. Butit was parked next door, like in
the driveway, So! go outside. Wise ts at the top of
the stairs, Hicks is at the bottom of the stairs—

~ Q Now, when vou sav stairs, can vou

describe those stairs?

A. Well, vou know what a duplex, four-
plex looks like. The middie houses’ stairs are higher

8-8-1 1 In the Matter of Ms. DePrima
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8-8-1] In the Matter of Ms. DePrima

SHEET 6

GAVINS - DIRECT - CALLAGY

"> dy sfight'y than the end houses. Solwasatthéaid °°

house, and Wise was af the inner house with the stairs
going :hghily higner up. I went down the stairs that
T cane out the front door. Wise was still all the wav
up the stairs. Hicks was at the bottom of, I guess,
the next cocr neighbor's stairs I'd have to say. I
dou't know what they was discussing, because when I
walked into the conversation, it was kind of like:
what up? You know, what's up? Like, is there a
problem or something? And that's how me and his
conversation started. Like, what's up? Like, is
there some sort of problem, anytliing like that? Of
course, things are said. You could tell he drunk
because he got a real arrogance to him like, I don't
know, but--

Q. When you say he, who are you referring
io?

A. Hicks. You know what I mean, you
could tell he was drunk because he's speaking now
like, | don't know, like he wants to be assertive,
somehow in charge, I guess. Whatever, you know what
mean, like—but I alreadv knew we had that tension, so
J really didn't expect anything less out of him. So
I'm sitting there, we having our little back and

GAVINS - DIRECT - CALLAGY

forth. I said. you know what, ] know how to deal with
this. because J also, you know, live in the same
neighbarhood, so vou hear about a person. You hear
what a person's tendencies are like, especially when

- there's tension. So I said, you know what, instead of
getting into an all-out fight, whatever may have vou,
because my mother is here, my step-father is here,
like TJ try to deal with it responsibly. I'm
waking up the stairs, and I guess Lakisha or whoever
opened the door to her apartment at the time. and |
seen Kim and the front door. So | tried to sav
something to her. T don't know if she heard me, what
have you, but ¥cu know, she looked and then closed the
front door. So J went ia the house, picked up my
phone. dialed 911 end was like, yeah, listen, my
girlfriend and her friends are here harassing me. You
know what I mean? Like. [ don't know what else vou
want me tu tell vou. Figuring that if] had an
officer intervene, like it would alleviate from what I
Know is \ery much likely to happen, because I've been
their sitvations like “his before.

Q. Mu. Gavins. what would make you
believe at that point in time that Ms, DePrima was
harassing vou?
Ubiqus Reporting, Inc.

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| jy GAVINS - DIRECT - CALLAGY
aK "AD Well, that’s kind of Where the bad ©
3 A partkicks in. She never satd nothing to me. She was
4+ inthe house. But figured if they came with her,
5 you know what I mean, her responsibility, straight
6 off.
7 Q. Did she say anything to you at all
8 through the course of that entire evening?
9 A. Through the course of that entire
10 —_ evening, we probably exchanged words once, when I was
11 like ob, is this seriously how it’s going to go down
12 between us. And she was like, what can] tell you,
13. we're dead. Like, that's it, it's over.
14 Q. What did that mean to you?
15 A. What did it mean to me or what did she
16 mean by it?
7 Q. What did you take it to mean?
18 A. Oh, I took it as, you know, whatever's
19 going to happen is going to happen. Like, you got to
20 mind me; I'm already beefing with him. And now
21 _ there's a bunch of other people outside. So, you
22 _ know, plus it’s an emotional thing. You know, like we
23 really didn't have it bad when we was together and the
24 breakup | felt was unnecessary. We could have dealt
25 with whatever we needed to deal with differently, You
239
I GAVINS - DIRECT - CALLAGY
2 know, I haven't heard from her since we separated
3 war's, so I didn't know how to take a lot of things
4 when it came down fo certain things. But on that
5 particular might, you know what I mean, like, there
6 — wasa little bit ofemotion involved. J won't even
7 lie. Like- .
8 Q. Did anything she say threaten you in
9 way)
10 A. No. She never threatened me, Though,

11} Imight have felt emotional enough that she wasn't
controlling her friends. You know what I mean? So--

13 Q. What did that lead vou to do, if

14}{ anvthing? That you felt emotional.

15 A. It pissed me off. Like, at the time —

t6 | being was mad enough to do just about anvthing.
17 Q. Did you meet with any person of the

18 | NYPD that night?

19 A. Yeah, like the first time J called the

201 — cops, it was the harassment. I was like, vo, they're

214 harassing me, Well, mv girlfriend and her friends are
22} harassing me, My ex-girlfriend, excuse me, See what
23} Emean? Like, but at the time it was like the cops

24) — came and they come to my house and they’re like, well,
23) — if-vou touch her, you're going to jail. And I'm like,

8-8-11 Ih the Matter of Ms. DePrima
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8-8-11 In the Matter of Ms. DePrima

‘ SHEET 7

GAVINS - DIRECT - CALLAGY

great, Like | already know that, check my history,
But what I am telling vou is there's @ potential for
something even worse to happen. Cops never went next
door, never intervened with anything, just threatened
to send me to jail. So, after the cops left, I don't
know what they were doing next door. I know that, I'm
guessing, that somebody told Hicks to come inside, or
he just went inside when he seen the cops pull up.
But I know when the cops was leaving. he wasn't
outside, When they got in the car, he walked outside.
And with the car still sitting there—

Q. How do you know that?

A. Because] was the one who held the
door open while the cops left.

Q. What happened?

A. When they got in the car, didn't even
leave yet, he walks down the stairs, pulls out his gun
and cocks it, So I'm like, okay, a lot of fiurcking~
excuse my language--but that's how I was feeling at
the time. A lot of good they did for me. Like, I'm
tring to deal with this problem as without as much
trouble as I know can happen.

Q. What'd you do, Mr. Gavins, after he
cocked the gun?

GAVINS - DIRECT - CALLAGY

A. He went down the stairs and tuned to
come back up my stairs. He went down their stairs and
tumed to come back up my stairs, So I stood there, I
warted until he got to the door and J told him, shoot,
But he didn't want to shoot me. So he was just like,
oh, what's the problem now and blab-blah-blah, cops in
here now. I'm like, and? But then by then my
mother's walking up behind me because now she's
hearing me and him beefing with each other. So I see
my mother. I'm like, you know what, we'll deal with
each other later. I closed the door. Now,
everybody's inside and [sound effect] through the
door. By the time I opened the door back up, the car
is gone, everybody's gone.

Q. What'd you do? -

A. I called the cops,

Q. What happened?

A. They came over; thev're asking all
types of questions. I'm like, well, you know, I used
a whole bunch of profanity because I'm feeling like
when I first called you and vou could have stopped
this problem from happening, vou didn't, So now, vou
know, just in not to get myself or nobody else m
trouble, | got to call vou again, but this time with

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GAVINS - DIRECT - CALLAGY

bullets through my, door. Like, it was a problem.
They took me to--where'd they take me to? First, they
took me to Holland Avenue. And she was walking—I
watched them arrest her and everything, it was like—

Q. When you say she, who are you
referring to?

A. Kim. Kim was walking, like I'm
guessing, I don't know where she was going. I was in
the car. But she was walking and they arrested her.
Then we went back to the precinct and they asked me
for my statement, stuck me in a room—

Q. You gave a statement?

A. Yeah, gave them a statement. But]
was hell bent on destroying her. I later on retracted‘
that statement because it wasn't the truth. Like, |
don't know what to tell them. At the time, I felt
like burying her, because I felt like it was her fault
for bringing those people there and not controlling
them. You know what] mean? So, like I said, it was
an emotional thing... I told the district attomey and
everybody else, I'm not pressing charges on her
because she has a good rapport with my little brother,
has a good rapport with my mother. Like, I don't
think she could truly control what he did, because me

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GAVINS - DIRECT - CALLAGY

and him did have prior tension with each other, and
sometimes that's just how we get stuff out. Like, I
don't know.

Q. Mz. Gavins, how did you even know that
Kim DePrima had anything to do with Shawn Hicks that
night?

A. Because her car was parked there. And
I know Shawn won't come around where he knows I'm at
too much unless there's a reason for it You know
what I mean? Like if you're going to a party, we live
ina small neighborhood. If you're hanging out with
the neighbor next door, getting a puppy, a whele lot
of things will bring people into each other's
vicinities, even when we don't like each other.

Q. Mr. Gavins, who did you contact to
take back vour statement?

A. Some detective came by. I'm not sure
of his name, He came by and I told him, like, veah, i
don't want to press charges. Then I believe Jennifer
Cecilia [phonetic] called me, and I told her dont
want to press charges.

Q. Who was she?

A. Huh?

Q. Who was she?

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GAVINS - DIRECT - CALLAGY

“A. Jennifer Cecilia, she works with ~~
Wane. I don't--the district attamev's office I'm
guessing. She works with Wanda though, that's about
the vist of it.

Q. Aliright’ Were you ever called to
testif’ in a arand jury proceeding?

A. Was I? 1 don't think J was, not for
any criminal case. Because like I said, shortly after
they took the statement and everything else, maybe two
of three days, even before she first went to court, I
told them, +eah, listen, I'm not going to press
charves. Like. I'm sorry, I may have said some things
that wasn't completely trie. And { told them, like,
yo listen, ] may have said some things that wasn't
completely true.. So they was like. well, either which
way. we're going fo proceed. I was like, all right,
proceed, by all means. But I knew I had a prior beef
with Shan. So] can't say that--vou know what I'n
saying, I never heard her say anything. I didn't
really see her except for ance on the porch, and J
don't know if that was leaving or coming or gning, 1
really don't, because I was I was going back in mv
house, So-

Q. Do vou have anvthing against Kim

GAVINS - DIRECT - CALLAGY

DePrima, as vou sit here today?

A. No. Like! said, | see her from time
to tine. Like. she'll come through: she'll drop off
the baby. Because, you know, we had the baby since it
was vounger; we love the kid to death. She takes my
little brothers and them, Like, I have a
developmentally disabled little brother who adores
Kim. She does math with him, all the rest of that.
Like, when they come back from their little day trips,
thev'l! tell us about it. Like, veah, I was in the
pool. We did this; we did that. So her rapport with
my family ts still good, We're just-we're cordial J
guess you would sav.

Q. Did you speak with Ms. DePrima about
your testimony ‘today?

A. No, I haven't spoke to Kim ina couple
of day's or so.

Q. Did vou speak with anyone about your
testimony today?

A. No.

Q. Did you speak with me?

A. Thad a little tike five-minute
session with Vou just 2 minute ago.

Q. Nothing further.

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GAVINS - DIRECT - CALLAGY

THE HEARING Oi FICza: Are you going to cross
examine of do you need a minute?

MS. SHENKMAN: A few minutes please.

THE HEARING OFFICER: Okay. Go off the
record for a minute or two. Just sit still.

MR. GAVINS: Okay.

THE HEARING OFFICER: Okay.

[Off the record]

[On the record]

THE HEARING OFFICER: We're back on the
record p'ease. Ms. Shenkman is going to ask you some
questions. So please, again, keep your voice up and
answer the questions. Okay?

MR. GAVINS: Yes, ma'am.

THE HEARING OFFICER: Thank you.

CROSS-EXAMINATION .
BY MS. SHENKMAN

Q. Good aftemoon, Mr. Gavins.

A. Good afternoon.

(2. I'm going to be asking-you some
questions on cross examination, okay?

A. Okay.

Q. Allright. You told us that you were
involved previously in a romantic relationship with

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GAVINS - CROSS - SHENKMAN

kim DePrima, correct?

A. Yes, ma'am.

Q. Okay. And you told us that that
Jasted about a year?

A. Somewhere in there, veah, give or
take, around a year or so.

Q. Okay. So, around a year before the
incident of the shooting happened. Is that right?

A. Before that incident of the shooting?
As specific months, like yeah, but I can't tell give
or take a month, two months, you know because, like 1
said, | have things that] did in my life during the
day or whatever. She had her own life already set
Gut, So veah, like give or take a year around the
time this happened.

Q. Okay. Because the day of the shooting
that we talked about was on January 7th of 2011,
Tigat?

A. Okay,

Q. And at the time of the shooting vou
gus were already broken up?

A. Yeah, we were separated for a little
while at that time.

Q. Okay. I think you told us at that

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GAVINS - CROSS - SHENKMAN

time you juad been separaied for around two months,

MR. CALLAGY: Objection - -

THE HEARING OFFICER: Well, why don't you
rephrase the question?

Q. believe your testimony was that you
hadn't been living together for about two months at
the time that the shooting happened?

MR. CALLAGY: Objection.

THE HEARING OFFICER: Ask him a question
would you please, instead of...

Q. At the time that the shooting happened
on January 7th, 2011, were you still together with Kim
DePrima?

A. No. We were separated.

Q. Okay. How long had you been
separated?

A. Fora while. Like, i guess since the
letter came. Like, we got.a letter. There was really
no discussion, it was more like, you know, this isn't
working too much, we're going to have fo po our
separate ways. I don't know-

{Crosstalk]

Q. I'm going to interrupt you for a
second because I'm not sure what letter you're talking

GAVINS - CROSS - SHENKMAN

about,

A. The eviction letter. I guess the bank
was taking over the houses or whatever, because the
landlord wasn't answering calls, wasn't making
fepairs, wasn't showing up period.

Q. So you got a letter of eviction?

A. Yeah, the whole complex did.

Q. At that point were you still in a
romantic relationslup with Kim DePrima or you were
broken up already?

A. No. At that point we were still
pretty much around each other, but it was, like, right
after that letter, she left and I was stil] there,
because my apartment wasn't ready. |, like, started
doing the apartment hunting then, so...

Q. Okay. So, is it fair to say that this
whole thing happening with the eviction contributed to
vour breakup?

A. Yes, very much so.

Q. And it's something that you guys

~ argued about, You must have, right?

A. There wasn't really an argument.
Like, T have to be honest, we really didn't argue. It
was more like a real short discussion with no closure.

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GAVINS - CROSS - SHENKMAN
But it wastic'an argument. We weren't like well what
the~who's this, blah-blah-biah that. It was neither
one of our faults that the eviction ever came through.
The landlord abandoned his own property. But it put
us in a position because we're going from a couple
living together, working on building trust or
whatever, to, you know, I know you have a lot of male
frends in your life, you know I have a lot of female
frends in my life and now it’s a trust issue.
Because now it's not like, well, you're coming home to
me or I'm coming home to you. You know, now it's
different circles, different places, different things,
50...

Q. Okay. So the fact that there was an
eviction out there contributed to the breakup for a
lot of different reasons,

A. Yes.

Q. And also there were trust issues in
your relationship.

A. Okay, yeah, there was,

Q. And you suspected that she was with
other men and she suspected that you were with other
women. Is that your testimony? =

A. I suspected that she could be. She'd

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GAVINS - CROSS - SHENKMAN
have more time to. I knew there were guys around her
that were interested in her. Like, I already was
aware of that, so I figured, you know, without us
living together there's no real--I guess you would say
like I would have to totally rely on her word as
opposed to what I can see myself. And maybe that
caused issues for me. I don't know how she felt about
it. But that was my primary argument that we
shouldn't go in separate ways. We should probably get
aone-bedroom, maybe a two-bedroom together and try to
work it out from there. But, you know, she wasn't in
total agreeance with that, so...

Q. Okay. And well legally you both owed
money on the place, night?

A. No. When we went to court they said
there's no judgment against us, nothing, Just have to
be vacated before February some time,

Q. Okay. Well you're rent was 1,550 a
month, correct?

A. Correct.

Q. And it hadn't been paid for the month
of January. Isn't that right?

A. No, I don't think--vweil, wait,

January, February, I think I went to court, to the

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| GAVINS - CROSS - SHENKMAN
2 civ court in January. And when I spoke to the -

3 fawyer he let us all know, because everybody, the

4 whole complex was being evicted, that there would be
5 no judgment held azainst us because the Jandlord

6 wasn't coming through, wasn't answering calls,

7 nothing, So there was no lien and there was no

8 judgment. I asked for the extended time, up until

9 February, because like I said, I was still apartment

10 hwoting. | didn't have an apartment at the me. ]

1] was still living at 59- Newark.

Q. Isn't it true that the rent of 1,550

13 wasn't paid in January for that extra month that vou

14 were there?

15 A. No, the rent was not paid in January.
16 Q. Okay. Is it fair to say that that

17 _ also caused some stress at this time?

18 A. No.

19 Q. I would like to show the witness what

20 has been marked as--yes, thank vou-I guess that's D-
11 5 inevidence.

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22 THE HEARING OFFICER: Okay. The witness has
23 __ the document,
a4 Q. Looking at the first page of this
25 document, where it says filing information and then it
GAVINS - CROSS - SHENKMAN
say filing date: January 5, 2011. And it says
eviction: yes. Do vou see that part?
A. Yes, right here in my...
Q. That eviction notice happened two days
before the shooting incident, correct?
A. I'm not entirely sure, I can't say
which date this was because the entire complex as a
collective was going fo civil court on like the same
day. That's how I pretty much found out about it
I] Q. Okay. Weil according to this ~
12 document, the filing date reads January 5th, 2011.
13 Correct?
i4 A. Okay,
15 Q. And both your name and Kim DePrima's
16 name are listed as debtors on this document, correct?
7 A. Okay, Yes, ma'am. -
18 Q. Okav. And take a look at the second
1) page. Do vou recognize this?
2 A. Yes, Ido.
21 Q. And both your name and Kim DePrima’s
22° name are listed a: respoadents in this document,
23° correct?
A. Correct.

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Q. And in the third paragraph of this
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GAVINS - CROSS - SHENKMAN

aceument, it lists yout rel a5 1,550 for we monta of
January 2011. Correct?

A. Okay.

Q. Is that correct?

A. Yes, ma'am.

Q. So this was a stressful time for you?

A. It wasn't the easiest time, so yeah,
there was a little stress.

Q. And your new apartment, you told us,
wasnt even ready yet. Correct?

A. No, ma'am, it wasn't

Q. Okay. So you had some anxiety maybe
about where you were going to be living.

A. Right, yeah.

Q. And isn't it true that this is one of
the things that you and Kim fought about on that day
of the shooting?

A: No.

Q. Okay.

A. I didn't even speak to Kim on the day
of the shooting. And it says I'm responsible for it
if fm no vacated by February. I told you that they
told me I had no judgment against me, nothing, as long
as I was out by February. | asked for the extended

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GAVINS - CROSS - SHENKMAN

time until February,

Q. Okay. So is it your testimony today
that when you spoke to Detective Guariano [phonetic]
from NYPD, who interviewed you about the shooting on
January 8th. 2031, and you told him that you and Kim
were fighting that day about this eviction notice, are
you saying that that’s not the truth, that you never
told him thet?

A. No. What I'm saying is the truth is
that whatever detective or officer I did speak to, I
told them that I didn't feel like she had penmission
to he there due to the fact that she gave up the
apartment and I went to civil court and they gave me
aextension. It had nothing to do with the payment.

Q. Okay.

A. It had nothing to do with anything
more than her being at the premises, knowing that
she'd already given it up and that I was still
residing there.

Q. Okay. So there was some tension on
the day of the shooting between vou and Kim regarding
you believing that she didn't have a right to be
there. Is that night?

A. That's correct. But I never discussed

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GAVINS - CROSS - SHENKMAN
that with her. That's ‘ust re, my personal tension
towards her. I believe that she shouldn’t have been
over there knowing she gave the apartment up. She
went off to wherever she was going to. I was stil] at
the apartment until my new apartment was ready. So,
yeah, I felt like maybe she shouldn't have came around
and brought her rowdy friends or whatever, because she
already knew that I was still poing to be there.
Q. Okay, So that's one of the things
that you guys were disagreeing over on that day,
right?
A: On that day, I didn't speak to her.
Q. Okay. So when you told Detective
Guariano that you were fighting with her about this
issue on that day, is it your testimony that Detective
Guariano was lying about that?

MR. CALLAGY: Objection. The form of the
question, "when you told,” he just said he didn't say
that to Detective Guariano.

THE HEARING OFFICER: Would you rephrase
your question please?

Q. So if Detective Guariano testified
that you told him that on the day of the shooting
incident, would you say the detective was lying about

GAVINS - CROSS --SHENKMAN

that?

MR. CALLAGY: Objection. It's
argumentative.

THE HEARING OFFICER: I'm going to allow.
I'm-

MR. CALLAGY: [interposing] Obviously, if
someone says something different that it's not true.

THE HEARING OFFICER: I'm going to allow
this.

A. What] am going to say is ifT did
speak to a detective on the day of the shooting as in
regards to her being anywhere near there, I didn't say
that me and her argued about the eviction, anything,
What I said was I don't feel like she should have been
there, because she had already left. We already had
the eviction notice and J already had the extension
from a judge at civil court, . So I didn't feel like
she belonged even over there, like, just like that.

Q. Okay. And isn't it true that also
there was tension between vou mand Kim about her
Laoki:2 up with other men?

A. There were tension when was in a
relationship because Kim had a lot of male friends,
ves, there was.

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GAVINS - CROSS - SHENKMAN

Q. And on the actual day of the shooting,.
that’s another thing that you guys argued about,
correct?

A. Who argued about?

Q. That you and Kim DePrima argued about
on the day of the shooting.

A. I didn't speak to Kim on the day of
the shooting. I'm trying to tell you. The most I had
with Kim on this day, I spoke to Wise, I spoke to
Hicks, I spoke to the police officers, everything.
Kim was next door and the only time I really got to
say anything is when the door got opened, she stepped
out onto the porch and I said "yo, this is how things
are going to be?” And she looked at me and she was
like, we're dead. What can I tell you we're dead.
And then Lakisha started up with her mouth, getting
involved in people's business, which she shouldn’t be,
and Kim went back inside, Outside of that, me and Kim
didn't have any discussion whatsoever. She was in the
house upstairs, Hicks came outside. Wise came
outside, Me and Hicks passed some words between each
other. There was already tension. I felt like Kim
could have intervened with that at any given time but
she didn't. She was upstairs in the house, and ] only

GAVINS - CROSS - SHENKMAN

seen her one time that night, and that’s when she came
out to the porch, when I was going back in my house.
And those words were exchanged, Like] said, yes, |
was upset. | don't think she should have came over
there, regardless to whose party it was because, you
know, we never brought closure really to how our
relationship ended, and then to see you with a dude
who, you know I knew you had a lot of male friends,
but I just didn’t like Shawn. I felt like-

Q. Okay, so~-

A. --Shawn was backstabbing 1 me during our
relationship.

Q. So Shawn Hicks was one of the guys
that you suspected that Kim DePrima had hooked up with
or had some sort of relationship with, correct?

A. Yes, I did suspect that,

Q. Okay, And vou told the detective
that, correct?

A. Yeah, I told the detective that I
suspected Kim of hooking up with Hicks, probably other
people like maybe she wanted he, separation from the
relationship. ! don't know what it was.

Q. So vou testified that it was emotional
between the two of vou on that day.

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GAVINS - CROSS - SHENKMAN
A. Yes, itwas.
Q. And you just testified to me now that
there were many issues going ou ‘iat caused tension
betw cen VOU, comect?

MS, SHENKMAN: Objection, as to many.
THE HEARING OFFICER: There were issues.

MR. GAVINS: There were issues.

Q. But you want us to bebeve that on
that day vou didn't talk about any of those things?
With al) this tension, you and Kim never exchanged
words about any of those issues, That's what you want
us to believe?

MR. CALLAGY: Objection. --.

THE HEARING OFFICER: Why don't you ask your

- hext question?

Q. So is it your testimony sitting here
today under oath that the only thing that Kim DePrima
saix! to you on the day of the shooting was "our
relationship is dead"? Is that your testimony under —
oath? .

“A. My testimony under oath is that the
only time me aud Kin spoke to each other during that
day was when she was standing on the top porch at
Lakisha's house and I turned around and I said to her,

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GAVINS - CROSS - SHENKMAN
is this how vou want things to go? And she said,
we're dead.

Q. ‘She said, we're dead?

A. Yeah.

Q. And vou took that to mean our
relationship is dead?

A. Not at the moment in time, no, !
didn't, because dealing with the people I'm dealing
with and me knowing a little something about the
people of my neighborhood, I took it at the time as a
threat. It wasn't a threat until somebody else put me
onto vo, listen she said we're dead, not you're dead
We're dead. Like, listen to what she's saving. But
I'm trving to listen to her, they're arguing, these
people are loud. Lakisha got a mouth that can be
heard in Manhattan from my block. You know what I
mean? So there was a lot of things going on, a lot of
tension Was in the air.

Q. But it's your testimony that the words
"we're dead" are the only things that she said to you
on the dav of the shooting?

MR CALLAGY: Objection, I don't know wiv
we're velling “we're dead."

THE HEARING OFFICER: I'm going to allow the

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GAVINS - CROSS - SHENKMAN
question.
Q. Is that your testimony? Is that the
only thing she said?

MR. CALLAGY: Objection. Asked and answered
about four times.

THE HEARING OFFICER: I'm going to allow the
question.
MR. CALLAGY: That night we're talking.

A. That night? Pretty much, yeah. With
my recollection that is the only time I spoke to Kim
period. I spoke to a whole array of other people
though.

Q. Okay. I'd like to show the witness
what's been marked as D-16.

THE HEARING OFFICER: I'm giving this to
hin.

MR. GAVINS: This is D-15.

[background noise}

Q. Does your signature appear at the
bottom of this document?

A. Yes, ma'am, it does.

Q. And what date does it say?

A. This says 8/2/11. Ob no, wait,

L/8/11.

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GAVINS - CROSS - SHENKMAN

THE HEARING OFFICER: Okay, that’s mine.
That's my notation.

MR. GAVINS: My apologies.

Q. At the top right hand comer ! believe
there's a date, What does it say?

A. It's January 8th of 2011.

Q. So that's the day after the shooting
incident, correct?

MR. CALLAGY: Objection.

THE HEARING OFFICER: What's the nature of
the objection?

MR. CALLAGY: Well, it's 0200 hows.

MR. GAVINS: I believe it was the same day.

MR. CALLAGY: Maybe it's the evening of the
meident. It's the next dav after midnight. But it's
not...

Q. Okay, so it's 2 in the morning of
technically the same day as the shooting incident,

A. Okay.

Q. Correct?

A. Yes, ma'am.

Q. Okay. And this is a statement that
you wrote, right?

A. Yes, ma'am.

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SHEET 13

GAVINS - CROSS - SHENKMAN

Q. This is your handwriting?

A. Yes, ma'am, it is.

Q. You signed it to be the truth?

A. Yes, ma‘am, I did.

Q. You wrote this inside the detective
squadin the police precinct?

A. Yes, ma'am, I did

Q. Okay. And you wrote this for
Detective Guartano?

A.. T'm not sure who I wrote this for.

Q. Okay. One of the NYPD detectives—

A. Anofficer.

Q. —in the case.

A. Yes.

Q. Correct? Allright And I'd like to
bring your attention to about the middle of your
statement where it says “Kim comes out of the next
door apartment.” Do you see that part?

A. What say, the middle?

Q. Somewhere around the middle.

A. Yep, that was the lying part. But]
retracted that, so...

Q. Okay. So my question is] want you to
look at the part that I'm bringing your attention to

GAVINS - CROSS - SHENKMAN
that states: Kim comes out of the next door apartment,
leans over the rail and states I told you, you are
dead motherfucker. .Do you see that part?
A. Yes, ma'am, I do.
Q. Did you write that? _
A. -T wrote that

Q. Okay. Show me where in this statement
you say that the only thing Kim said to you is we are
dead. Show me where it say's that.

A. Well that statement that you just
wrote, the exact same statement--

Q. I didn't write that statement,

A. Well, that you just read, right. That
exact same statement ts what I was referring to,
because if you notice, there's nowhere else in here
where I speak to Kim at all.

Q. Okay, but my question is-

A. Like I told you, I had—

Q. My question, Mr. Gavins is show me in
this statement that vou wrote--

A. Okay.

Q. --where vou said that Kim DePrima said
we are dead.

A, Kim comes out over there. Kim comes

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GAVINS - CROSS - SHENKMAN

out of the next dour aparbment, leaus over the rat]
and states: I told you we are dead. My mother hears
this and comes to the door, so I push my mother away
from the door, close it and call 911, as I'm on the
phone with them, blah-blah-blah. That would be the
same statement; it's just that, I'm sorry, at that
time, I was asleep when the whole thing happened. I'm
still groggy. I'm going through my emotion. Like,
I'm looking for her to help me alleviate the
situation. It didn't go that way. Like I said, she
did say we were dead, but I took it as you're dead,
because your friend is acting all unruly and drunk.
You brought them here. So at the time I took it as
your intention.

Q. Okay. So my question is what you just
told us today, that the only thing she ever said to
you is "we are dead". You didn't write that in this
statement, did you?

A. No, I didn't

Q.. Okay. I would like to show the
witness--[ don't believe this is in evidence, but it
was in discovery.

THE HEARING OFFICER: Okay.

MS. SHENKMAN: I would like it to be marked

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GAVINS - CROSS - SHENKMAN
for identification.

THE HEARING OFFICER: That is--just a
second, let me see, I think we're up to~I'll mark it
as D-20. Okay, it's a two-page document without a
heading. Pass that to the witness. We need to get --

{Background noise}

A. Okay.

Q. Okay, so in addition to talking to the
detectives, on the day of the shooting, you also
talked to Police Officer Ann Deloney [phonetic],
correct?

A. Okay.

Q. Police Officer Ann Deloney was the
officer that actuaily arrested Kim DePrima. Do you
remember that?

A. I'm not sure which officer arrested
Kim,

Q. Okay. But vou were actually there
when Kim DePrima was arrested on Holland Avenue,
right?

A. ¥es, I was. I was in the--

Q. You actually watched them put--

A. ~back of the police car.

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8-8-1 1 In the Matter of Ms. DePrima

SHEET 14

GAVINS - CROSS - SHENKMAN

Q: ~the curls ou her and asrest hei?

A. Yes, ma'ari.

Q. So vou were in the back of 2 police
vehicle at thai time?

A. Yes, ma'am, I was.

_Q. You were directing the police to Kim
DePrima, correct?

A. No, ma'am. They already knew who she
was. They was asking me is that definitely her.

Q. So vou identified Kim DePrima as Kim
DePrima—

A. Yeah.

Q. for ihe police?

A. I said that's Kim.

Q. And you gave them her name from the
beginring, correct?

A. Yeah.

Q. Okay. And then later, when this
paperwork was being processed that you see here, you
know that Kirs DePr:ma was arest=d for acting in
concert with Shawn Hicks for the shooting, correct?

A. Correct.

Q. Okay. And in this document under the
investigation section, on the first page.

GAVINS - CROSS - SHENKMAN

A. [see it

Q. It states: at TPO complainant states
ex-gitlfriend acting in concert with wn-apprehended
named perp. did fire munerous shots with firearm into
compluinant's residence. Tiat's what Kim DePrima was
being arrested for, cotieet?

A. I'm believing so.

Q. And vou simned the second page of this
document, right?

A. Did! sign the second? Yeah, I sioned
the second page of this Cocument.

Q. Okay. So vou kae what was going on
that night, nghr?

A. A whole bunch of things--

MR. CALLAGY: Objection

A. —were going on-

MR. CALLAGY: —what that means.

THE HEARING OFFICER: You want to rephrase
that question.

Q. You knew what Kim DePrima was being
airesied for that night,

A. For the incident that just happened at
the house.

Q. Right. So at the time, vou were

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1 GAVINS - CROSS - SHENKMAN
2 couperaug with the police in apprehending her for
3 the crime, nght?
4 A. Ofcourse.
5 Q. And now you're not
6 A. Well, ! was helping the police to
7 apprehend her because I knew that if they apprehended
8 . her they'd catch everybody else involved. See, I
9 don't now where the other guy's go to. I don't know
10 where they hany out at. I just know we all ina small
11 circle, The incident happened. They got in her car.
12 You catch her; vou catch the guy who did the shooting.
13 (). Show me where, on the second page-
14 well, no, let me ask you this. On this might, when
15 you direct the police to Kim DePrima, you identify her
16 and she gets arrested for the crime of acting in
17 concert with Shawn Hicks, you never told the police
18 that night, ob no, she didn’t do anything wrong. She
19 wasn'ta part of it.
20. A. I still felt like she was responsible.
21 ey were with her, She didn't pull a gun. She
dida't threaten me. She didn't go harassing nobody,
if that’s what you're asking, She didn't do none of
e above. I don't think she dictated a drunk
imbecile to shoot at a house when there are people

27)

I GAVINS - CROSS - SHENKMAN
2 __ standing outside to begin with. .
3 Q. Okay. Mr. Gavins, I'm not asking you
4 what you're saying now.
5 A. Okay,
6 Q. Tm asking vou on the night of the
7 incident when you were talking to the police.
8 A. Okay.
9 Q. On the night that the shooting
10 occurred and the night that you wrote this statement
1] that vou just read--
12 A. Yes. ma'am,
13 Q. ~-that said: I told you, you are dead
14 motherfucker. That night, you were telling the police
13 that Kim was a part of this and that she was
16 threatening you, night?
17 A. That night J was telling the police
18 with the statement, with the identifving her and
19 eversthing is that I personally held her responsible,
20 Q. Okay.
21 A. It's not to say that she did anvthing,
22 _ it's just to sav that I felt like if Kim would bave
3 never came there to begin with, none of this would

24 have happensd
23 Q. And vou called 911 twice on the night

8-8-11 In the Matter of Ms. DePrima
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8-8-11 In the Matter of Ms. DePrima

SKEET 15

GAVINS - CROSS - SHENKMAN

of the incident, correct?

A. Yes, ma'am, J did

Q. Okay. Ican take that piece of paper
back.

MS. SHENKMAN: Okay, at this time, ] would
like to move this document into evidence.

MR. CALLAGY: No objection

THE HEARING OFFICER: D-20 is received in
evidence.

[Whereupon Department of Education's Exhibit:
20 is admitted into evidence}

Q. So you called 911 twice that night,
the night of the shooting, right?

A. Yes, ma'am.

Q.. And you repeatedly told the 911

operator that your ex, Kim DePrima, was harassing you,

correct?

A. Yes, ma'am.

Q. You told the $11 operator that Kim
DePrima was threatening you, correct?

A. No, ma'am.

Q. Okay. You told the 911 operator that
you felt you were in danger, correct?

A. Yes, ma'am.

GAVINS - CROSS - SHENK MAN

Q. Okay. And you told the 911 operator
that Kim DePrima had brought the guys over, correct?

A. Yes, ma'am.

Q. Okay. And vou told the 911 operator
more than once that Kim DePrima was harassing you,
correct?

MR. CALLAGY: Objection. You just asked him
that question.

THE HEARING OFFICER: I think this question
was slightly different, so I'm going to allow it.

A. Ido remember telling the 911 operator
that my ex-girlfriend was harassing me.

Q. And is it fair to say that you were
scared at the time that you were calling 911?

A. I was doing what I thought was the
smarter thing to do to avoid a bad situation.

Q. Okay. So you were worried that you
mught be in danger, correct?

A. Twas worned that a bad situation
mught occur.

Q. And vour mom was there, nght?

A. Yes, ma'am.

Q. And vour step-father was there, night?

A. Yes, ma’am.

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~ GAVINS - CROSS - SHENKMAN
Q. cind there were child.on in wae Louse?
A. Yes, ma'am.
Q. So vou were concemed about everyone's
safety, right?
A. Correct.
Q. Okay. So this 911 call happened tn
the heat of the moment. Is that right?
A. .No, not the first one.
Q. The second one?
A. The second one was after everything

happened.
Q. Well, isn't it true that the shooting

actually happened while you were on the phone with
911?

A. Yeah

Q. So that was the heat of the moment,

"wasn't it?

A. I don't know, bullet coming through
the door. | already had 911 on the phone from the
last call I made. So, you know...
Q. Soif was avery tense time when you
were talking to the 911 operator?
A. Yeah, pretty much.
Q. You identified Kim DePrima's red
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GAVINS - CROSS - SHENKMAN

Toyota Corolla to the 911 operator, correct?

A. Yes, ma'am, I did.

Q. Okay. And you told the 911 operator
that Kim DePrima and Shawn Hicks were feaving in that
car, right?

A. Yes, ma'am, I did.

Q. And yougave the 911 operator Kim
DePrima's name, in addition to Shawn Hicks, correct?

A. Yes, ma'am, Idid

Q. You never told anybody from NYPD that
the original statement you made was not true, did you?

A. Yes,I did Two detectives came to my
house when I guess they wanted to subpoenametogo x /
somewhere, and I let them know that I'm not pressing
charges on Kim because I don't believe that she could
control what one gentleman did. I did, indeed, let
them know the other gentleman wasn't at all hostile.
There was really no argument or nothing with him. But
at the time that everything was going on--please
excuse me--I just got up, I walked into a situation
that had the potential to become very, very bad. And”
ves, | totally blamed Kim DePrima for it So
regardless to who was doing what, her name was going

up

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23y,. You can write out whatever vou need to write out. You

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SHEET 16 ~
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GAVINS - CROSS - SHENKMAN

Q. Okay. Isn't it true that the only
time vou ever made a statement retracting what you had
said the first time was to a private investigator, not
NYPD? Isn't that true?

MR. CALLAGY: Other than today as well?

THE HEARING OFFICER: We're talking about a
statement. ] assume you mean in writing?

MS. SHENKMAN: Yes.

THE HEARING OFFICER: Okay.

A. In writing? 1 do remember waiting a
statement for Danny. I did meet Danny. But in verbal -
conversation, I spoke to the detectives that came to
nv house, and I spoke to I don't know who it was when
I went to this place on Stuyvesant, | believe it was.

Q. Okay. The only written statement that
you ever made retracting what you said the first time
was to a private investigator name Daniel Y argos
(phonelic]. correct?

A. Okay, I do remember writing a
statement out for Danny, yes.

Q. Okay. And that's because about a
month after the incident, Danny came to your house to
take a statement from you, correct?

A. Danny didn't come to my house. Danny

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GAVINS - CROSS - SHENKMAN
did come out and meet me though, but it wasn't at my
house.

Q. Okay. So he came and met you. And he
came to meel vou to get a statement from you, correct?
~ A. Yes, ma'am.

Q. Danny Yargos is not NYPD, right?

A. I don't know.

Q. Okay. Danny Yargos, you know, isa
private investigator hired by Kim DePrima, right?

MR. CALLAGY: Objection, the form of the
question,

THE HEARING OFFICER: Do you want to
Tepirase vour question please.

Q. Did you know that Danny Yargos is a
private investigator that was-hired by Kim DePrima's
defense attomey?

A. No, I knew Danny Yargos was an
investigator, Because when he spoke to me, he did
tell me he's coming, he wants to talk to me about the
situation that happened. He asked me what I wanted to

‘do as far as concerned with Kim. And fold bim, I
Just want io correct my statement. So he was like I'm

geing to come through, I'm going to sit down with you.

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GAVINS - CROSS - SHENKMAN

know what I mean? I'm not going to ask vou no
questions, which he really didn’t. He just sat down
and was like, well listen, this is what's going on.
There's a criminal case, blal-blah-blah--

Q. Okay. My question to you, Mr. Gavins,
is did you, Mr. Gavins, is did you know that Danny
Yargos, who took this statement from you, was actually
hired by Kim DePrima? Did you know that?

MR. CALLAGY: Objection. He answered that
question.

THE HEARING OFFICER: I'm going to allow it
one more tinie.

A. What I know is that--

Q. Did you know that or did you not know
that?

A. I didn't know who hired him. } knew
that he came from some investigation. He told me he
Was a private investigator and he was investigating
Kim—

Q. So you knew he was private and you
didn't know who hired him.

A. I knew he was investigating Kim,

though,
Q. Okay.

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GAVINS - CROSS - SHENKMAN

A. Like-

Q. You, in fact, never gave any
statement, any written statement to NYPD retracting
your statement, did you?

A. Not that I know of; but I know] spoke
to them verbally.

Q. Okay. And you have two children you
said?

A. DoT have two children?

Q. Yes,

A. I'm sorry, I don't understand where
that question is going to.

Q. Okay. You gave testimony’ that there
were two children living in the house with you when
vou lived with Kim.

A. Yes,

Q. Were those vour children?

A. Kim has two children.

Q. Okay, Were those vour children?

A. No.

Q. Those were Kim's children?

A. Yeah.

Q. You developed a relationship with
those children?

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SHEET 17 780 82
INS - - SHENKMAN ! GAVINS - CROSS - SHENKMAN .
; oes thn. - whh the bors. 2. . And. I don't know; he has. liking for her. She helps
3 Q. Okay, And vou still havea 3 himout. When she called, she couldn't get in contact
4 relationship with those children? 4 withmy mother. Of course, you cal] the next of kin,
5 A. Well, yeah, when I see them. 3 the one watching them, me.
6 Q. Do you still see them to this day? 6 Q Okay. So is it fair to say that
7 A. Well, yeah. I see one of them. 7 vou've had continuous communication with Kim over the
8 Q. Okay. And you said that Kim DePrima 8 —lastoouple of years?
9 has developed a relationship with members of your 9 _ MR CALLAGY: Objection as to what
10 family, correct? 10 continuous may mean.
1] A. True. I A. Yeab, that was out there,
12 Q. So at this point, you don't want to 12 THE HEARING OFFICER: J think you can answer
13. get her in trouble for anything? 13 _ that question.
14 A. I don't really decide how any of that i4 A. Welt I'm not sure what level of
15 happens. Like, if you want me to give youmy — 15 continuance youmean, From intimate to-cordial,
16 testimony, I can do that If you want me to say 16 _ there's a big open gap.
17 whether I want her to get in trouble or not, she's 17 Q. My question is isn't it true that you
18 going to have to eat whatever comes to her. That was 18 have communication with her by phone, or in person.
19 the ending of our whole thing. 19 You guys speak to each other and have continued to
20 Q. My question to you is, isn't it tue 20 speak to each other at certain points in tume over the
21 that you don't want to get her in trouble for anything 21 —_last two years. Isn't that true?
22 because of her relationship with your family members, 22 A. Partially. Kim will only cal] me if
23 _ her children, et cetera. 23 she can't get in contact with my mother or the old
24 A. That's iffy. I got to be honest. Her 24s man.
25 _telationship, me and Kim are cordial now, which means 25 Q. I'm not asking you what her reasons
~ 281 283
| GAVINS - CROSS - SHENKMAN l GAVINS - CROSS - SHENKMAN
2 we can see each other and say hi and see each other 2 are. I'm asking you simply isn't it true that you
3 and say bye, without all the back fighting and 3 _ have communication with her?
4 nitpicking. We're cordial. But I.do appreciate what 4 A. We have an open line, yes.
5 she does with my little brothers and sisters and stuff 5 @. And you still do today?
6 like that 6 A. Yeah, we can talk to each other if we
7 Q. Soisnttit tue that you don't want 7 choose to yeah,
8 to see her get in 8 Q. Isn't it true that you suspected that
9 A. I don't want to see her unfairly get 9 Kim DePrima had sexual involvement with other men?
10 sin trouble. 10 A. Yes, I suspected.
fT Q. Okay. And you still talk to her, H Q. And one of those men was Shawn Hicks.
12 correct? 12 A. Yes.
13 A. It depends. 13 Q. And then another one of those men was
14 Q. Well, it was just vour testimony her 14 Austin Wade [phonetic].
15 today, vou said that vou hadn't talked to Kim in a 5 A. Notso much Wade. I just dido't like
16 couple of davs, night? 16 Wade.
17 A. Okay. Yeah, it depends. 17 Q. Isn't it true that you told Detective
18 Q. So you talked to her a couple of davs 18 Guariano the night of the shooting that Kim DePrima
19 ago. 19 had performed sexual acts on Shawn Hicks and Austin
20 A. Sure. 20° Wade? Isn't it true that you told the detective that?
21 Q. Okay. That's when she wanted vou to 21 A. No. No, absolutely not.
22. come testify for her inthis hearing, wight? =~ 22 » Q.e-4an't it true that-vou told Detective mo,
\r A. Notat all. What I spoke to Kim about 23° Guariano that Kim DePrima actually had a reputation of
2 a couple of days ago was dealing with my little 24 performing sexual acts with a variety of these men
25 brother. He's, vou know, developmentally disabled. 25. _ that were in vour circle?

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8-8-1 1 In the Matter of Ms. DePrima

SHEET 14

GAVINS - CROSS - SHENKMAN
A. No. The truth is, in private talk,
which is why none of it is written down, I told the
guys a lot of things that I never expected them to
colne out--

[Crosstalk]

Q. Tm asking though about what you told
Detective Guariano.

A. Detective Guariano, was he questioning
me about what? Because there was a lot wf cops, Miss.
It was a late night. I wastired Alotof-

Q. Isn't it true that you told a cop,
even if vou don't remember--

A. Acop.

Q. --which one.

A. Okay.

Q. That Kim DePrima was known for
performing sexual acts on many of the men that were in
your circle?

A. No. What! told the cop that might is
that I think Kim messes with a lot of guys and that's
why I didn't know--

Q. Okav. That's what you believed.

A. A lot of things happening. Yes.

Q. And one of those gus was Shawn Hicks.

GAVINS - CROSS - SHENKMAN

A. Yeah,

Q. Isn't st true that on the day of the
shooting. you believed that Kim DePrima was involved
in vetting these guvs to threaten you?

A. A belief?

Q. Yeah, is that what you believed on the
day of the shooting?

A. On the dav of the shooting, I believed
that Kim had no regard to me being there and therefore
was responsible for anything her friends did. That's
what I bzuieved that night. I don't believe she
should have been there. So 1 believe that anything
that happened should have been placed on her.

Q. Now, you testified that vou do have a
cominal history, correct?

A. Yes, ma'am, I do.

Q. Okay. And vou said one of the things
you remembered was a burglary and robbery conviction
from 1999. correct?

A. Yes, ma'am, I do.

“Q. Okay. But vou've had many more

convictions besides that, night?

A. remember those because those were
the life changing F's on my [ife's report card.

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GAVINS - CROSS - SHENKMAN
*~  Q. Okay. My question is you've had many
other convictions besides those in 99, correct?

A. Sure,

Q. You had a resisting arrest in 2004,
right?

A. Okay.

Q. And an obstructing governmental
administration in 2005, correct?

A. Okay.

Q. A possession of a forged instrument,
also in 2005, correct? Does this sound familiar to
you?
A. To be perfectly honest, you're reading
a paper and asking me about times that came and gone.
The whole resisting arrest was a misdemeanor. | was
out the next day. I didn't pay itmind. You're gomg
to see smoking pot, open container. Like, there's
been a whole bunch of things I've done in my life. I
just can't keep track of each and every single one of
them.

Q. Okay, So when I'm talking about prior
convictions, ] just want to know if you recognize them
or remember them.

A. I'm pretty sure they're there.

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GAVINS - CROSS - SHENKMAN

Q. Okay. And do you remember an arrest
for endangering the welfare of a child in 2007?

A. Was Tin Monticello, New York or was I
down here?

Q. Well, you've had several arrests in
Monticello and in Staten Island, so I'm not sure which
one this was from.

A. Me neither.

Q. Okay. And isn't it true that im 2005
you were charged with a violation of your probation
for the burglary and robbery in '99, and you were re-
sentenced 1¢ a one to three-year sentence in jail?

A. Yes--

Q. Do vouremember that? So you served
time?

A. A little bit.

Q. Okay. And in more recent history, in
2010, vou were arrested for marijuana possession and
the possession of a scalpel, correct?

A. Yes,maam

Q Okay. And that was recently, in March
of 20:0, right?

A. Yes, ma'am.

Q. And that was a big case that you

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8-8-1 1 In the Matter of Ms. DePrima

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SHEET 19
288 20
1 GAVINS - CROSS - SHENKMAN | GAVINS - CROSS - SHENKMAN
2 obably remember where it was written up in the news 2 about this 200 arest, night?
3 because there was. another individual aanenl 3 A. Yeah fi gured she should have known
"4° they were you in the court and escaned. Do you 4 about it. _ .
\w 5 remember that? 5 Q. Okay. So you did discuss with her
6 A. Lrememtber that. Yes, J do. 6 your criminal convictions, night?
7 Q. That was in March of 2010, correct? 7 A. No, I prabably discussed with her that
8 A. Yes, ma'am. It inconvenienced me 8 case. 7
9 tremendously. I remember that 9 Q So she knew you had criminal
1G Q. Okay. So that was during the time 10 convictions then?
tl when you were in an intimate relationship with Kim i] A. I would say she knew I got convicted
12 DePrima, night? 12 for that.
13 A. Was]? 3 Q. She came to your court appearances,
16 {Crosstal 4 right?
5 Q. That was during the tine when you were 5 A. No.
16 living with ber at Newark Avenue, right, i in March 16 Q. She came to visit you when you were
17-2010? - 17 arrested?
18 A. I'm thinking we were probably on the 18 A. No.
19 outs. I'm not too certain, because I was looking at a 19 THE HEARING OFFICER: No, there's no
20 house over in Stapleton at that time. That's actually 20 = question pending.
21 ‘how that whole incident came about. I was walking to 2i MS. SHENKMAN: Just one moment. I'm sory.
22 Stapleton to look at a new house. So] don't think we 22 If I could just have one moment, | think I'm almost
23 were too much around each other like that. 23° done but--
24 Q. Okay. Well, it was your testimony 24 THE HEARING OFFICER: finterposing} Okay.
25 here today that you were together with Kim DePrima for 25 MS. SHENKMAN: ~I just have confidence in-
289 291
| GAVINS - CROSS - SHENKMAN ! GAVINS - CROSS - SHENKMAN
‘eer 2 ~— about a year before the shooting incident happened. 2 THE HEARING OFFICER: finterposing} Sure
3 A. Okay-- 3 _ let's just go off the record please.
4 MR. CALLAGY: Give or take a month, 1 think 4 [Off the record}
5 he said. 5 [On the record}
6 THE HEARING OFFICER: This is cross 6 THE HEARING OFFICER: Back on the record
7 examination, Mr. Callagy. 7 please. Any other questions?
8 Q. So are you sitting here and testifying 8 MS. SHENKMAN: We have no further questions.
9 today that on March 11th of 2010 you weren't living 9 THE HEARING OFFICER: Okay. Do you have any
10. with Kim DePrima at 59-A Newark Avenue? 10 re-direct?
i A. I probably still did reside at 59-A ll MR. CALLAGY: I think I'm going to have a
12. Newark Avenue, J didn't leave that residence until 12 htttle bi. But can] have two minutes more to speak
13 February. Kim, on the other hand, took off earlier 13. withMs, DePrima?
14 thant did . 14 THE HEARING OFFICER: Two minutes. Okay,
{5 THE HEARING OFFICER: Could we repeat the 15 off the record please.
16 question? Please listen fo the question and answer 16 (Off the record]
17 the question, 17 {On the record}
18 MR. GAVINS: Okay, 18 THE HEARING OFFICER: Back on the record
19 Q. The question is isn't it true that in 19 please. Mr. Callagy, do vou have any more questions?
20° March 2010, both you and Kim DePrima were on the lease 20 MR. CALLAGY: Thank you, Ms. Crangle.
2) and Living together at 59-A Newark Avenue? 2] REDIRECT EXAMINATION
22 A. Just give me a second to run months 22. BYMR. CALLAGY
23 through my head real quick. All right, veah, I'd sav’. 23 - ~Q. Mr. Gavins; did anyone offer you
24°- around then we were both still cohabiting. 24 agything to retract the statements you made to the
25 Q. Okay. So Kim DePrima must have known 25 police?
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8-8-11 In the Matter of Ms. DePrima

SHEST 29

GAVINS - REDIRECT - CALLAGY

A. Ne, Sif.

Q. Fm sory?

A. No, I'm sorry.

Q. Why did you retract them?

A. Honestly, I spoke to my mother and she
said be fair. So I was being fair. I retracted my
statement because, you know, it would have went
differently had I not been angry enough to like, you
know, seally just want fo see destruction happen at
that point in time. But] do have a good upbring:ag,
as bad as my’ record micht make it lock. I was just
doing the fair thing and giving her, her fair and
square shot. I wouldn't want cbodv to like drown me
just because they could

Q. Mr. Gavins, counsel asked you some
questions on cross examination about an arrest in
March of 2010 involving marijuana. Do you remember
that?

A. Yes, sir. J do.

Q. Do vou know what happened with that
case?

A. A cop pulled me over~

Q. No, mean what happened in terms of
the disposition of the case?

GAVINS - REDIRECT - CALLAGY
A. Oh, everything was dismissed.
Q. Where were you living. if you can
remember, at the time of the artest involving
marijuana?
A. At the tune of the arrest invelying
the marijuana? Let me see... It was 59 ewark, because
mind me, there was an array of addresses that~-there
was 39 Newark, which I'm believing that, you know, we
was probably having our tension at the time. My mom
lived at--where did my mom live at the tme? She
lived I think on Grove Avenue, 46 Grove. And that is
primarily where I was at for most of that rime,
because whenever we argued, I would go to mommy's
house. Which is why I'm saving. on that day I don't
think she even knew I was out in Stapleton because J
wasn't speaking to her, I was going to look at the new
house with my brother. And that's how I wounded up
aresied for having that marijuana in my pocket
MR. CALLAGY: Nothing further.
THE HEARING OFFICER: Do vou have anvthing
further?
MS, SHENKMAN: Nothing further.
THE HEARING OFFICER: Okay, thank you
You're excused.
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GAVINS - REDIRECT - CALLAGY

MR. GAVINS: Thank vou. --

THE HEARING OFFICER: Please don't discuss
your testimony with anybody, Okay?

’ MR. GAVINS: Nobody.

THE HEARING OFFICER: Okay.

MR. GAVINS: Please don't tell anybody I was
here,

[Laughter]
THE HEARING OFFICER: We'll go off the

record please.

[Cif the record]

(On the record}

THE HEARING OFFICER: We'll go back on the
record please. Okay, Mr. Callagy, who is your next
witness?

MR. CALLAGY: Respondent calls Mr. Willie
Foster.

THE HEARING OFFICER: Mr. Foster, will you
raise-your right hand please? Do you swear or affirm
that the testimony you're about to give in this matter
will be the truth, the whole truth and nothing but the
truth?

MR. WILLIE FOSTER: Yes, ma'am.

THE HEARING OFFICER: Okay. Please be

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KIM DEPRIMA - 08/08/11

seated. Would you spell your name please for the
record?

MR. FOSTER: Willie, W-I-L-L-1-E, Foster, F-
0-5-T-E-R.

THE HEARING OFFICER: Okay. Mr. Foster, as
I'm sure Mr. Callagy has explained to you, this
proceeding is being tape recorded. So it's extremely
unportant that you keep your voice up so we can all
hear you, and also make sure all your responses are
verbal, since obviously a tape recorded can't tell if
youlre nodding vour head.

MR. FOSTER: Yes, ma'am.

THE HEARING OFFICER: Okay. Thank you.
Okav. Mr. Callagy?

MR. CALLAGY: Thank you.

DIRECT EXAMINATION

BY MR. CALLAGY

(Q. ifr. Foster, where do you live?

A. 76 Grove Ave., Staten Island, New
York.

Q. Where did vou live before that?

A. 46 Grove Ave.

(). And how about before then, if vou
remember?

8-8-11 In the Matter of Ms. DePrima
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8-8-11 In the Matter of Ms. DePrima

SHEET 21

FOSTER - DIRECT - CALLAGY

‘A. 37 Gordon.

Q. Did you ever live at Newark Avenue?

A. I stayed there like a month or so.

Q. Okay. When was that?

A. In December, last year.

Q. Why would have occasion last year to
be there at all?

A. We hada problem with our housing with
the landlord, so we had to move at the spur of the
moment. SoI called my son Angel to talk to Kim. She
said we could stay there until we had our apartment
get ready in January.

Q. Why'd you have Angel speak to Kim?

A. Because! didn't have her number at
the time.

Q. Who was Kim to you at that time?

A. She's Jermaine's fiancée. A frend of
mine's as well,

THE HEARING OFFICER: Pardon me?

MR. FOSTER: A friend of mine's as well.

Q. And who is Jermaine to you!

A. My stepson.

Q. I'll draw your attention to the night
of January 7th of this year. Were you at 59 Newark

FOSTER - DIRECT - CALLAGY
Avenue that evening?
A. Yes,
Q. Do you recall occasion for the police
to come to the premises?
A. Yes, [remember.
Q. What happened?
A. As far as my knowledge, Tcame home
from work and I was speaking with a few gentlemen that
was standing outside. Then I went inside the house,
closed the door and a few shots rang out.
Q. Okay. What'd you do?
A. Well, my son had called 911. Then
when the cops came, thev looked around the house and I
just left with my son.
Q. Where'd you go?
A, We went by some darkened street where
they had wind up locking Ms. DePrima up.
Q. Okay. Mr. Foster, did you make any
statement to the police?
"A. [made one because I was made, just t¢
Support my son. But it wasn't true.
Q. Well, what was vour statement? What
did it sav?
A. I really don't remember. I know I
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FOSTER - DIRECT - CALLAGY.

made a statement but I don't know what I wrote.

Q. Why do vou say it wasn't true?

A. Because] didn’t see anything.

Q. When you say you didn't see anything,
what are you referring to?

A. I did't see, I didn't even see Kim
leave, I didn't see anybody. I just know when I came
in from work, I spoke to the guys and that was it.
And Jermaine was on the phone, J heard the shots.
That's it

Q. Did you continue to know Kim DePrima
beyond that night?

A. Yes, Ihave.

Q. Okay. How so?

A. Actually, me and her older son are .
like-best friends.

THE HEARING OFFICER: Pardon me. I can't
hear you. What?

MR. FOSTER: I said me and her oldest son
Corey [phonetic], we're like best friends,

Q. Has Ms. DePrima had any other
involvement with your family, other than Jermaine?

A. Yes, ma'am. I mean, yes, sir. She
takes care of my 6-year-old son. He's~

FOSTER - DIRECT - CALLAGY

Q. How so?

A. He's special needy disability. And
she helps work with him and he has improved a lot
since she's been around. She picks him up, spends
nights out with him. She takes him away on trips. So
she's doing fine with him.

Q. How long has that been going on?

A. Its been going on for three years.

Q. Tell us again why did you make a
statement to the police that night that was not true?

A. To support my son.

Q. Did anybody ask you to come here today
to change vour story?

A. No, sir.

Q. Were you offered any sort of reward?

A. No, sir.

Q. Why are vou here today?

A. To help Ms, DePrima tell the truth.

MR. CALLAGY: Nothing further.

THE HEARING OFFICER: Okay. Ms. Shenkman is
going to ask vou some questions now. Okav?

MR. FOSTER: Yes, ma'am.

MS. SHENKMAN: One moment.

THE HEARING OFFICER: Sure.

8-8-1] In the Matter of Ms. DePrima
8-8-1] In the Matter of Ms. DePrima

SHEET 22
HEET 22 302
FOSTER - CROSS - SHENKMAN | FOSTER - CROSS - SHENKMAN
i CROSS ExAhiesATION 2 trving to tum himself around? r
3. BY MS. SHENKMAN 3 A. He's been tured around. He's 360.
4 . Guod afternoon, Mr. Foster. 4 He hasn't been in trouble or anything like that.
3 4A. Good aftermoon, ma'am. 5 Q. Okay. So Kim DePrima, as his
6 Q. [just have a few questions for you on 6 girlfriend, she kriew that he had a troubled past,
7 cross examination, Okay? 7 correct?
8 A. Yes, ma'am. 8 A. Not that] know off no.
9 Q. Okay, You said you're here today to 9 Q. Okay. She knew about his arrest in
10 help Kim DePrima, correct? 10 2010, correct?
il A. Yes. I! MR. CALLAGY: Objection as to what Ms.
3 Q. Okay. You have a positive 12 DePrima knows about from this witness?
13 relationship with her? 13 THE HEARING OFFICER: Well, she can ask him,
Id A. Yes, ! do. 14 if he knows?
15 Q. And your relationship with her 15 A. [don't know. Me and Jermaine don't
16 continues even to the. present day? 16 speak his relationship and what goes on with them, per
7 A. Yes, it does. 17 se, When we get together it's like a cookout or she
18 Q. And your relationship with Kim DePrma 18 comes to pick up his little brother and they go. As
19 has continued even tough she’s not together with your 19 far DePrima, my wife has more interaction speaking
20 son anvmore, correct? 20 with her about things. Things like that I don't know.
Z A. Yes, that's right. 21 Q. You don't know what--
2? Q. Okay. And your son, Jermaine Gavins, 22 A. No.
23 is that--he's your stepson? 23 Q. --what she knows about his criminal
4 A. Yes, ma'am. 24 —_spast?
Q. Okay. And you had said that Kim 25 A. No, I don't.
301 303
FOSTER - CROSS - SHENKMAN ] FOSTER - CROSS - SHENKMAN
DePrima was Jenname's fancée? 2 Q. Okay. He doesn't keep his criminal
A. Yeah, that's what] always call it. 3 past a secret does he?
You know, it's like girlfriend/boyfriend, but when 4 A. Yes, he does.
thev get clder vou just say Gancé or stuff like that. 3 THE HEARING OFFICER: Pardon me?
Q. You just call it fiancée? 6 MR. CALLAGY: How would he know how to
A. Yes, 7 answer that?
Q. Okay. Were they actually engaged to 8 THE HEARING OFFICER: If he knows how to
be married uf— 9 answer. I mean I think he can answer the question. 1
A. Not that I know of, no. 10 don't know whether he knows or not because--
Q. Not that vou know of. Okay. But they IN MR. CALLAGY: [interposing] Secret from
Were in a serrous relaticnship? 12 whom? J mean the worid, is that the question?
A. Yes, they was at the time. 13 THE HEARING OFFICER: Do you understand the
Q. Do you remember how long they were 14 question?
together? 15 MR.-FOSTER: Ifhe tells people about his
A. That I don't know. [6 criminal record, no, we don't. He doesn't say that.
Q. But you know that they were living 17 — We meet people on the street, you know, we don't just
together for a period cf time-- 18 say, hev, I got a criminal record. Is it okay I hang
A. Yes. 19 out with vou? We're not going to say that. So...
Q. ~-at 59-A Newark Avenue, correct? 20 Q. Okav, well vou as his step-father, vou
A. Yes, ma'am. 2{ know about his past criminal record--
Q. Ckav. So your son Jermaine, he has 22 A. Yes, Ido.
> = -Sotten inte troubse with tie law in the past, correct? 23 Q. Correct? And his family members know
4 A. Yes. 24 about it, neht?
23 Q. Okay. And would you sav now that he's 23 A. Yes, but--

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8-8-11 In the Matter of Ms. DePrima

SHEET 23

FOSTER - CROSS - SHENKMAN

{Crosstalk}

Q. Those close to him know about it?

A. Yes, we do.

Q. Okay. Now you said you also had a
relationship with Kim DePrima's older son Corey?

A. Yes.

Q. How ald is her older son?

A. Corey's like 24-24, yeah.

Q. And he has a criminal history himself,
correct?

A. Idontt know.

Q. You don't know about his gun
convictions?

MR. CALLAGY: Objection.

THE HEARING OFFICER: It's cross
examination, Mr, Callagy.

[Crosstalk]

MR. CALLAGY: --.

THE HEARING OFFICER: She asked him if he
knew about Respondent's oldest son's gun conviction.
Do you know or don't you know?

MR. CALLAGY: The relevance of that is what?

MR. FOSTER: I don't know,

THE HEARING OFFICER: I'm going to allow it.

FOSTER - CROSS - SHENKMAN

MR. FOSTER: No, ma'am.

Q. But you described yourself as being
best fiends with him?

A. Yes.

Q. The date of the shooting incident, you
were inside the house at 59-A Newark Avenue?

A. When the shots were done, yes ma'am, I
was.

Q. And your wife was there?

A. Yes, ma'am, she was. She was in the
basement,

Q. And were there children in the house?

A. Yes, my three tle ones. They was
in the basement sleeping.

Q. So that must have been a frightening
expenence for vou when someone was shooting through
the door.

A. I didn't pay itno mind. mean, 'm
from Brooklyn, that's what you hear all the time.

Q. Were vou scared for the safety of your
children and vour wife?

A. They was in the basement. I was
scared, veah.

Q. Okay. So vou were alarmed when vou

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FOSTER - CROSS - SHENKMAN

caited 9] 1, correct?

A. Inever called 911.

Q. You spoke to 911 on that day. Isn't
that true?

A. No, I didn't,

Q. Okay. Is it possible that you spoke
to911 and you :dontt recall? Or are you 100 percent
sure you didn't speak to them?

. A. The only one that I possibly spoke to

was the detective from the precinct when they came or
when the cops came to the house. That was it. I
never made a phone call to the operator, no.

MS. SHENKMAN; Just one moment. I'd like to
show the witness at this time what has been marked D-
17 in evidence.

THE HEARING OFFICER: Pass that please.
Pass that down please.

Q. Do you recognize this document?

A. Yes,Ido.

Q. Did you sign this document?

A. Yes, ma'am, I did.

_ Q. Did you write this?
A. Yes, ma'am, I did
Q. Is this the statement you were

307

FOSTER - CROSS - SHENKMAN
refering to before, that you gave to the police later
that night of the shooting?
A. Yes.
Q. Okay, And this is the statement that
you said in your testimony you made up?
A. Yes, ma'am.
Q. Okay. So this is the statement that
you said is not true at all?
A. ifs not true, no.
Q. And your reason for writing it at the
time was to support your son?
A. Yes, ma'am, it was.
Q, And now you've changed your mind about
that? j
A. Yeah. Might as well tell the truth,-
I'm not going to let nobody get in trouble for
something I didn't see,
Q. So in this statement, the second to
last sentence when you say "then I saw Kim make them
get in the car and pull off."
A. I never saw Kam.
Q. That's a pretty specific statement,
isn't it?
A. Yes, maam. | never saw--

8-8-1] In the Matter of Ms. DePrima
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8-8-1] In the Matter of Ms. DePrima

ShREET 24

FOSTER - CROSS - SHENKMAN

Q.” So voulte just saviig that You made it~
up completely that you saw Kim make them get in the
car and puli off? That never happened?

A. Never happened. I diun't sve her pull "
off.

Q. Okay. Now you have some criminal
convictions in your past as well, correct?

A. Yes, ma'am, I do.

Q. You're a convicted felon?

A. Yes, ma'am.

Q. Okav. You have an attempted robbery
from 1989, correct?

A. Yes.

Q. And then another attempted robbery in
1992, correct? .

MR. CALLAGY: Objection to the relevance of
this

A. Yes.

MR. CALLAGY: --the man has said he's a
convicted feion.

THE HEARING OFFICER: I'm going to allow it.

Q. So two attempted robberies, possession
of a controlled substance in 2002, is that right?

AL Yes.

FOSTER - CROSS - SHENKMAN

Q. You also bad weapons charges in
Monmouth, New Jersey, ts that right?

A. Yes, ma‘am.

Q. You were convicted of possession of a
weapun aod: ou served three years probation for that.

A. Yes, ma'am,

Q. Okay. I would just like one moment.

I'm just checking out the #11 tape and then I'll wrap
up shortly.

THE HEARING OFFICER: Okay. Let's go off
ihe record for « minute.

[Off ihe record]

{On the record]

THE HEARING OFFICER: Back on the record
please. Okay. Ms. Shenkman?

MS. SHENKMAN: I'd like to play an excerpt
from the 91} tape that has been marked in evidence as
D-10.

THE HEARING OFFICER: Okay. All right,

MS. SHENKMAN: Yes.

{914 Tape playing}

MR. FOSTER: I didn't remember calling.

Q. So, Mr. Foster, is it still vour
testimony that you never called 911 the day of the

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FOSTER- CROSS-SHENKMAN

*Shugung?

A. I didn't remember calling.

Q. Well that was your voice that we just
heard, correct?

A. [just heard it I was shocked I
heard it.

Q. That was you, nght?

A. Yeah, I guess so, Yeah.

Q. Okay. And at the time you said you
knew who did the shooting, right? That's what you
told the 911 operator?

A. Yes.

Q. You told the 911 operator that they
ran back info the house next door, right?

A. Yes.

Q. So you told the 911 operator at the
time that you saw who did it, right?

A. Yes.

Q. Okay. And at that time, you hadn't
had time to make up a story, had you?

A. No. I'saw who shot in the house.

Q. Your testimony today was that you
didn't see anything.

A. I didn't see her, I said.

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FOSTER - CROSS - SHENKMAN

Q. So you saw Shawn Hicks?

A. At the time that’s how I found out his
name, veah. J didn't even know his name at the time.

Q. And you saw them, Kim DePrima and
Shawn Hicks, pulling away together in the red Toyota,
correct?

A. No. I didn't even know the car left.

MS. SHENKMAN: Okay, one moment. Okay, no
further. One moment. Thank you, no further
questions.

THE HEARING OFFICER: Anything further?

MR. CALLAGY: No.

THE HEARING OFFICER: Okay, thank you Mr.
Foster. You're excused.

MR. FOSTER: Thank you. Yes, ma'am.

THE HEARING OFFICER: Please don't discuss
your testimony.

MR. FOSTER: Yes, ma'am.

THE HEARING OFFICER: Okay. Off the record.

[Off the record]

[On the record}

THE HEARING OFFICER: Okay. Can we go back
on the record please? Mr. Callagy, do vou have
another witness?

8-8-1] In the Matter of Ms. DePrima
SEEET 25

8-8-1] In the Matter of Ms. DePrima

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KIM DEPRIMA - 08/08/11 .
MR. CALLAGY: we had hoped to have Mr. Wade None.
Avstin, but he has not appeared. So we do not have
another witness for today. We do intend fo call
Lakisha Dennis and Ms, DePrima and perhaps the
probation officer and then if we can get Mr. Austin,
i's a very short witness, but he hasn't shown today.
So] don't know. That's our plan for the next day.
THE HEARING OFFICER: Okay. All right, so
we'te concluded for today. Our next day of hearing is
next Wednesday, August 17th at 10:00, So we'll see
you all there.
MR CALLAGY: Thank you.
THE HEARING OFFICER: Thank you.
(The hearing adjoumed at 1:00 p.m.)

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CERTIFICATE
I, Donna Hintze do hereby certify that the foregoing
typewritten transcript of proceedings in the matter of New
York City Department of Education v. Kim DePrima, File No.

17,502/17,698 was prepared using the required

transcription equipment and is a true and accurate record
of the proceedings.

Signature:
Date: August 15, 2011

 

Student Index

Ubiqus Reporting, Inc. 8-8-1] In the Matter of Ms. DePrima

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THE CITY OF NEW YORK

DEPARTMENT OF PROBATION
340 BAY STREET

STATEN ISLAND, NEW YORK 103@1

Tel: (718) 876-7459 Fax: (718) 876-8799

Lisa D’ Ambrosio

Director
Staten Island Adult Services

Vincent Schiraldi

Commissioner

 

6/29/11
NYS Dept of Education
49-51 Chambers Street
New York, NY 10007
Re: Deprima, Kim

Probationer Kim Deprima was placed on Five Years probation by Judge J Collini on 4/16/2009 in
Richmond Supreme Court. The probationer completed her DNA Testing on 4/16/2009. A Violation of
Probation was submitted on 1/18/2011. The Violation Report was submitted based upon her re arrest
that occurred on 1/7/2011. She is now aware that she can not be with disreputable people while on
probation. The violation of probation is based upon her re arrest and nothing further. The probationcr
bas been compliant with all aspects of her probation obligations. She has reported regularly to our
Automated Kiosk System. Based opun my experience if the re arrest is terminated on 8/30/2011, the
Judge more likely will restored the probationer back to probation. She will no longer be on violation
status. This letter should not be an endorsement of the probationer’s criminal past behaviour.

 

Tel. 718 876-8159

Reminder: On all Supreme Court cases,probation officers should send a Copy of this letter to the
sentencing judge.

1081-96

 

Creative solutions for a safer city: protecting lives, changing lives, saving lives,
er ry

Michael J. Ryan*
*Also admitted in NeJ.

 

 

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CONIGATTI & RVAN, LLP E
Attorneys at Law
67 New Dorp Plaza
Staten Island, New York 10306 ,
Thomas R. Conigatti* Tel. (718) 351-1111
Fax. (718) 351-8616

January [2, 2011

Via Fax (718) 442-3584 and Mail
ADA Jennifer Cilia

District Attorney

Richmond County

130 Stuyvesant Place

Staten Island, New York 10301

Re: DEPRIMA, Kin
Dkt, # 20110RI000257
Part API
Next Court Date: 01-13-2011

Dear ADA Cilia,

Re the above matter, this correspondence shall confirm our January 11” telephone
conversation. As we discussed, the complaining witness Jermaine Gavins was present in
Court at Ms. DePrima’s arraignment on January 9". Mr. Gavins has asserted that Ms.
DePrima was not respotisible for the shooting incident; rather it was the sole
responsibility of Shawn Hicks.

As I advised you I made a record of the foregoing at the arraignment. Given the

significance of Mr. Gavins’ presence at the arraignment, I was dismayed to learn that you.
were not apprised of same and were learning of it for the first time from me two (2) days

later. Under the circumstances and before your proceed any further with respect to Ms.
DePrima, it is imperative that you contact Mr. Gavins at (347) 336-2109 to discuss this

matter further.

I need not remind you of your obligation to pursue potentially exculpatory
information and your further obligation to advise the defendant of same should you learn
of such information. In any event, I trust that you will take the necessary steps to

investigate this matter further.

If you have any questions or require additional information, please do not hesitate

Yours very traly;
Michael J.

to contact me.

MIJR:df
C: Kim DePrima
SOUTH BEACH PSYCHIATRIC CENTER
777 Seaview Avenue
Staten Island, New York 10305-3409
Telephone (718) 667-2300 Fax (718) 667-2344

 

ROSANNE GAYLOR, M.D. ‘ TITUS MATHEW, BE

Executive Director (Acting); Director Clinical Services : : Deputy Director Administration
ALFREDO GRANADOS, Psy.D KARIN WAGNER, Ph.D.

Deputy Director Inpatient Operations Deputy Director Community Services
DOREEN PIAZZA,R.N.C..M.S. : NATALIE TOOMEY, LCSW, R.N.
Director of Nursing ; Director Quality Management

wi . INTIKHAB AHMAD, M.D
RE: Kim Deprima Director Psychiatry

Date of Birth: 1/15/1971
. Consecutive Number 214665

July 20, 2012

To Whom It May Concern,
Ms. Kim Deprima was admitted to South Beach Psychiatric Center’s South Richmond Outpatient Clinic on

2/28/12. Ms. Deprima stated on admission that her Chief Complaint and reason for seeking treatment was “To help
with depression and anxiety. My guilt (regarding incident with dogs attacking elderly man) and self worth.”

Ms. Deprima reports that since termination of her position with the Board Of Education she had become extremely
depressed and sought psychiatric treatment for depression.

Ms. Deprima’s admission diagnosis are as follows:
Axis I- Depressive Disorder Not otherwise specified
Bipolar Disorder Not otherwise specified
Adjustment Disorder with Depressed Mood
Axis II — No Diagnosis
Axis IV — Stressors- Economic Problems, Occupational Problems, Problems related to interaction with the legal
system, Problems with primary support group.
Axis V — Global Assessment Functioning — Current 50.

Ms. Deprima is treated with individual psychotherapy sessions with primary therapist, Steven DiDonato Community
Mental Health Nurse, sessions scheduled bi-weekly. Ms. Deprima is also treated with medications as prescribed by
Dr. Prabhakaran, Rangaswamy, Primary Psychiatrist. Medications prescribed to alleviate feelings of depression,
stabilization of mood and assist with sleep.

Present Medications:

Zoloft 50mg | tablet daily (anti-depressant)

Trazadone 50mg 1 tablet before sleep (to assist with sleep)
Klonopin 0.5mg as needed | tablet before sleep (anti-anxiety)
Lamictal 25mg daily (mood stabilizer)

If there are any further questions please contact me at 718-667-2855.
Sincerely,

Mal Uf

Steven DiDonato R.N.
Community Mental Health Nurse

“People Make the Difference”
State of New York - Office of Menta! Health
